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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
    CONCORD MANAGEMENT AND
    CONSULTING LLC

         Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S MOTION FOR
             A SUPPLEMENTAL BILL OF PARTICULARS

        Pursuant to Federal Rule of Criminal Procedure 7(f), Defendant Concord Management and

Consulting LLC (“Concord” or “Defendant”), through counsel, respectfully moves for a

supplemental Bill of Particulars. In support of its Motion, Concord states as follows:

        I.     INTRODUCTION

        In sum and substance the Indictment contains generally described allegations against

Concord that it funded and oversaw the operations of co-defendant Internet Research Agency,

LLC (“IRA”). See Indictment ¶¶ 3, 11, 12, ECF No. 1. The Indictment identifies only one

individual associated with Concord, co-defendant Yevgeniy Prigozhin. Id. ¶ 12. The Bill of

Particulars provided by the government names one unindicted co-conspirator named “SP,” who

may have worked for Concord. See Gov’t’s Bill of Particulars (Redacted) ¶ 1, ECF No. 176 (the

“BOP”).1




1
 The Bill of Particulars also names five unindicted co-conspirators who do not appear to be real
people, but rather names associated with email addresses; as well as one “unindicted co-
conspirator” who is actually an indicted defendant.


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       In this one of a kind, never before brought case, the Court ordered the government to

provide a bill of particulars to identify: (1) the statutory and regulatory requirements that the

defendants allegedly conspired to impair; (2) each category of expenditures the government

intends to establish required disclosure to the Federal Election Commission (“FEC”); and (3) each

category of activities that the government intends to establish triggered a duty to register under the

Foreign Agents Registration Act (“FARA”). See Mem. Op. & Order at 12, May 24, 2019, ECF

No. 136 (“May 24 Opinion”). The Court denied Concord’s request that the government identify

any conspirators who were required to report expenditures to the FEC or register as a foreign agent

with DOJ, reframing the request as seeking identification of which entities or individuals allegedly

violated FECA and FARA. See id. at 13.2 The Court equated that request to one seeking the

identity of which conspirator committed each act alleged in the Indictment, which the Court denied

based on its conclusion that “[t]he detailed allegations in the indictment, combined with the list of

co-conspirators the government plans to introduce at trial and the additional relief the Court orders

[in its Memorandum Opinion and Order], provide Concord with more than enough information to

conduct its own investigation of the charges against it.” Id. at 8.

       For the reasons set forth below, the government’s Bill of Particulars is deficient because it

does not identify which defendant(s) failed to make the allegedly required filings with the FEC

and DOJ. This is not the normal case involving a defendant who engaged in proscribed conduct

where the government can argue that a bill of particulars is not necessary because each defendant

knows what he or she did, such that defense counsel could determine whether that conduct was

illegal. In contrast, here the Court has determined that the Indictment alleged violations of FECA


2
 This portion of the Court’s Opinion cites in error to section II.B, which should have been III.B,
wherein the Court denied Concord’s request that the government identify which defendant
committed each act alleged in the Indictment.


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and FARA’s disclosure requirements, which are alleged failures to act. See id. at 11 (noting that

“the Court held that while the government was not necessarily required to allege FECA and FARA

violations to establish a defraud-clause conspiracy, the indictment did allege such violations as

one of several forms of deceptive conduct aimed at the United States”) (emphasis in original); id.

(“it will be difficult to tie the deceptive acts alleged in this case to FEC’s and DOJ’s administration

of FECA’s and FARA’s disclosure requirements if those requirements did not actually apply to

the conspirators”). The Bill of Particulars confirms that these alleged violations involve a failure

to report or register. See BOP ¶ 2 (identifying FECA reporting requirement and FARA registration

requirement); ¶ 3 (identifying FECA “registration requirement”); ¶ 4 (identifying FARA

“reporting requirement”).3 As discussed below, there is no possibility from the Indictment, the

cited statutes or regulations, or the Bill of Particulars that Concord can determine who allegedly

failed to act.

        Given the fact that the alleged failures to act are an essential element of the conspiracy

charge, the government must prove who specifically failed to act. In these circumstances it is not

possible for Concord to adequately prepare for trial without knowing that information, and

withholding that information from Concord until trial will result in prejudicial surprise. See United

States v. U.S. Gypsum Co., 37 F. Supp. 398, 402 (D.D.C. 1941) (“The proper office of a bill of

particulars in criminal cases is to furnish to the defendant further information respecting the charge

stated in the indictment when necessary to the preparation of his defense, and to avoid prejudicial


3
  In the Bill of Particulars, the government refers to a “registration requirement” in FECA, BOP ¶
3, and to “FARA’s reporting requirement.” BOP ¶ 4. FECA does not use the term “register” and
the statutory section cited by the government is titled “Reporting Requirements.” 52 U.S.C. §
30104. Similarly, FARA does not use the term “report” and the statutory section cited by the
government is titled “Registration statement.” 22 U.S.C. § 612. Despite the confusing language
used by the government in the BOP, Concord will refer to FECA’s reporting requirement and to
FARA’s registration requirement.



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surprise at the trial.”). Moreover, depending upon who the government identifies as having failed

to act, the Indictment may fail as a matter of law, or may form the basis of a pre-trial motion in

limine limiting the government’s ability to present certain theories of liability to the jury. See

United States v. Schiff, 602 F.3d 152, 159, 161 (3d Cir. 2010).

               A.     The Court’s Previous Findings and the Government’s Changed Theory
                      of Liability

       The Special Counsel initially advised the Court that the Indictment did not allege that any

defendant was required to file a report with the FEC or to register with the Department of Justice

(“DOJ”) under FARA. See Gov’t’s Resp. Def’s Mot. In Camera Review of Grand Jury Materials

3, ECF No. 20 (“The Indictment does not allege any violation, or even cite to specific statutory

provisions, of FECA, FARA, or the substantive offense of visa fraud.”). See also June 15, 2018

Hr’g Tr. 8:5-7 (“the elements of [FECA and FARA] are not an ingredient in this case); 8:14-19

(stating that a § 371 defraud clause conspiracy is “a different crime because it’s not saying that

they necessarily were required to file with the FEC or that they were required to register with the

Department of Justice”); 12:1-2 (explaining that the allegations involving fraud on the State

Department are not different from the allegations of fraud on the FEC or DOJ because “it’s not a

question of whether the defendant was violating the substantive offense”). Instead the Special

Counsel argued that it was enough to prove its case if use of deceptive acts by the Defendants

impeded the regulatory functions of the FEC or DOJ. See id. at 9:11-13. The Special Counsel

repeated this position in its Opposition to Defendant’s Motion to Dismiss. Opp’n Def.’s Mot.

Dismiss 11, ECF No. 56 (arguing that “the government will not have to ultimately prove that any

particular defendant’s conduct violated, for example, FECA or FARA. Rather, the government

will only have to prove that the defendants knowingly and intentionally engaged in deceptive acts




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that interfered with the regulatory functions of the FEC or DOJ in a way that precluded those

entities from ascertaining whether those substantive statues were violated.”) (emphasis in original).

        Later however, in response to questioning by the Court, the Special Counsel conceded that

“when the only deceptive acts the government has alleged are a failure to disclose or a failure to

report, well, then, you are going to have to show a duty to disclose or a duty to report.” Oct. 15,

2018 Hr’g Tr. 47:23-48:2. The Special Counsel, then assisted by the United States Attorney for

the District of Columbia and the United States Department of Justice, reframed this new theory by

claiming that the indictment did allege that defendants had a legal duty to register and file reports

with the FEC and DOJ. See Gov’t’s Suppl. Br. Opp’n Def.’s Mot. Dismiss 3-4, ECF No. 69.

Throughout this back and forth, the Special Counsel never identified which defendant(s) allegedly

failed to file and/or register.

        The Court was correctly skeptical of these positions from the outset. See June 15, 2018

Hr’g Tr. 8:20-9:1. In fact, in denying the Motion to Dismiss the Court stated, “. . . it is difficult to

see how the defendant’s deception would impair agencies’ ability to ‘administer’ disclosure

requirements if those requirements did not apply to the defendants’ conduct.” Mem. Op. at 15,

Nov. 15, 2018, ECF No. 74 (“Nov. 15 Opinion”). And in ordering the government to provide a

bill of particulars the Court again stated, “it will be difficult for the government to establish that

the defendants intended to use deceptive tactics to conceal their Russian identities and affiliations

from the United States if the defendants had no duty to disclose that information to the United

States in the first place.” May 24 Opinion at 12.

        Importantly, the Court has interpreted the Indictment as alleging a failure to report as

opposed to making prohibited expenditures. See Nov. 15 Opinion at 5 (“Although [paragraph 25]

also mentions FECA’s ban on foreign expenditures, it focuses on FEC’s administration of FECA’s




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‘reporting requirements’ . . .”); id. (paragraph 9 of the indictment—“the heart of the conspiracy

charge”—“alleges that the defendants conspired to impair the functions of the FEC, DOJ, and DOS

‘in administering federal requirements for disclosure of foreign involvement in certain domestic

activities”) (emphasis in original); id. 6 (“In sum, the text and structure of the indictment reveal

that the government functions targeted by the conspiracy are alleged solely to be the

‘administration’ of ‘federal requirements for disclosure’”) (alterations omitted).4 Moreover, the

Court has determined that “a failure to disclose information can only be deceptive—and thus serve

as the basis for a § 371 violation—if there is a legal duty to disclose the information in the first

place.” Id. 10. And the Court has emphasized that because the Indictment alleges a conspiracy to

impair the FEC and DOJ’s functions of “administering federal requirements for disclosure,” “the

government may ultimately have to prove that the defendants agreed to a course of conduct that,

if carried out, would require disclosure to the FEC or DOJ.” See May 24 Opinion at 11 (citing

Nov. 15 Opinion at 15-16).

               B.      The Bill of Particulars

       With respect to the FEC, the government now maintains that funds spent for independent

expenditures for internet advertisements and to promote political rallies in the United States, (1)

triggered a requirement that unidentified conspirators submit reports under 52 U.S.C. § 30104(c);

and (2) violated the foreign national expenditure ban in 52 U.S.C. § 30121. See BOP ¶ 2. With

respect to the FARA, the government now maintains that the travel by certain conspirators to the

United States and the use of the internet triggered a requirement that unidentified conspirators

register under FARA. Id. The Bill of Particulars is not consistent with what the Special Counsel


4
 The Court noted that if alleged independent expenditures violated FECA then those expenditures
could be relevant to establishing “defendants’ motive for failing to submit reports as required.”
Nov. 15 Opinion at 12 n.4.



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told the Court with respect to Concord’s Motion to Dismiss the Indictment, and as such appears to

be “a game of musical chairs with their pursuit of changing legal theories . . . .” Schiff, 602 F.3d

at 161.5

           The Bill of Particulars severely limited the scope of the alleged unlawful conduct from

what originally was alleged in the Indictment by the Special Counsel. The government now

concedes that only independent expenditures—which by their definition and through case law are

those that expressly advocate the election or defeat of a specific candidate—could have triggered

reporting to the FEC. BOP ¶ 3.6 The government leaves unsaid specifically which conspirator

was required to file a report with the FEC and what that report was supposed to contain. And as

to FARA, the government concedes that the only conduct that would have required FARA

registration was certain conspirators’ travel to the United States and unspecified social media

activity. Id. ¶ 4. Again the government leaves unsaid which conspirator failed to register under

FARA and, crucially for FARA purposes, on behalf of what foreign principal such defendant was

allegedly acting. Depending on who the government now claims was required to register under

FARA and file under FECA, the Indictment may fail as a matter of law. For that reason, the Court

should compel the government to supplement the Bill of Particulars and identify the conspirators



5
  Given the fact that the Special Counsel’s prosecutors who indicted the case have withdrawn and
new prosecutors from the United States Attorney’s Office and the Department of Justice have
appeared, there is a serious question whether these new prosecutors have changed the theory of
liability from what was presented to the Grand Jury.
6
  In the allegations relating to actual conduct by the Defendants, the Indictment refers only to
“expenditures,” not independent expenditures. See, e.g., Indictment ¶ 6 (“Defendants made
various expenditures to carry out those activities”); ¶ 7 (“including by making expenditures in
connection with the 2106 U.S. presidential election without proper regulatory disclosure”); ¶ 48
(“Defendants and their co-conspirators did not report their expenditures to the Federal Election
Commission”). The only reference in the Indictment to “independent expenditures” are in those
paragraphs that describe the regulatory scheme. See id. ¶ 25.



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the government intends to establish were required to report information to the FEC and register as

a foreign agent under FARA, and on behalf of which foreign person or entity they acted.

       II.     LAW & ARGUMENT

               A.      A Supplemental Bill of Particulars is Required for This Alleged Crime
                       of Omission

       Crimes of omission are unique because they punish based upon the absence of conduct,

rather than the presence of affirmative criminal activity. See, e.g., Lambert v. California, 355 U.S.

225, 228 (1957) (reversing conviction for violation of registration law, noting that “conduct that

is wholly passive—mere failure to register” . . . “is unlike the commission of acts, or the failure

to act under circumstances that should alert the doer to the consequences of his deed”). As such,

defendants who violate such laws may be completely “unaware of any wrongdoing” and may

properly claim that they had no knowledge of a violation. Id. (recognizing an exception to the rule

that ignorance of the law is not an excuse for criminal conduct where the violation consists of

“wholly passive” conduct by a person who is “unaware of any wrongdoing”). A lack of notice

regarding potential criminal penalties for doing nothing implicates fundamental due process rights.

Lambert, 355 U.S. at 228. Put another way, crimes of omission often leave defendants in the dark

about the nature of their alleged criminal conduct and deprive them of due process rights.

       As this Court recognized and the government confirmed in its Bill of Particulars, the

Indictment alleges, and the government intends to prove at trial, failures to act under FECA’s

reporting and FARA’s registration requirements as part of the “deceptive conduct” underlying the

§ 371 defraud-clause conspiracy. See May 24 Opinion at 11; BOP ¶¶ 2-4. These alleged violations

are prime examples of the “wholly passive conduct” addressed in Lambert, involving only

omissions, not affirmative conduct. As such, the special due process considerations recognized in

Lambert and subsequent cases—notice and a recognition that the defendant may be ignorant of the



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law—underscore why a supplemental Bill of Particulars identifying precisely who is alleged to

have been subject to these duties and failed to act is needed. Specifically, where, as here, the co-

conspirators themselves may be “unaware of any wrongdoing,” Lambert, 355 U.S. at 228, simply

identifying the disclosure requirements and categories of expenditures or activities that allegedly

triggered them does not provide Concord with sufficient information to conduct its own

investigation of the charges against it and to prepare a defense. See May 24 Opinion at 8.

       This request is not seeking a preview of the government’s evidence, as the Court warned

against. Id. Rather, Concord is seeking clarification of the Indictment and the Bill of Particulars

so it can understand the charges against it and prepare a defense. Id. 3 (citing United States v.

Butler, 822 F.2d 1191, 1193 (D.C. Cir. 1987) and United States v. Lorenzana-Cordon, 130 F.

Supp. 3d 172, 174 (D.D.C. 2015)).

               B.      It is Not Possible for Concord to Determine Who Was Required to File
                       Any Report with the FEC

                       1.     The Arguably Independent Expenditures

       The relevant statute states that it is unlawful for foreign nationals to make “an expenditure,

independent expenditure, or disbursement for an electioneering communication.” 52 U.S.C.

§ 30121(a)(1)(C).7   However, this Court has limited the application of this statute only to


7
  The FEC has interpreted “electioneering communication” to only modify “disbursement.” 67
Fed. Reg. 69928, 69944 (Nov. 19, 2002); see also 11 C.F.R. § 110.20 (2019). This interpretation
is critical because if “electioneering communication” modifies “expenditure” and “independent
expenditure,” then only broadcast, cable or satellite communications within sixty days of a
presidential election would be covered. See 11 C.F.R. § 100.29 (defining electioneering
communication). The FEC is wrong for two reasons. First, in 11 C.F.R. § 110.20 (e) and (f), the
FEC has broadened the scope of the statute by creating two prohibitions with respect to
disbursements instead of the one contained in the statute. Second, while the rule of the last
antecedent would normally support the FEC’s interpretation, the rule is not absolute and can be
overcome by other indicia of meaning. See Lockhart v. United States, 136 S.Ct. 958, 962 (2016).
Here, the FEC’s own website defines “disbursement” as a “broader term that covers both
expenditures and other kinds of payments (those not made to influence a federal election).”
https://www.fec.gov/help-candidates-and-committees/making-disbursements/ Since by definition


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expenditures or independent expenditures that expressly advocate the election or defeat of a

specific candidate. See Bluman v. F.E.C., 800 F. Supp. 2d 281, 284 (D.D.C. 2011). Expenditures

or independent expenditures by foreign nationals for issue advocacy are not prohibited. See id;

FEC’s Motion to Dismiss or Affirm 21, 23, Bluman v. FEC, No. 11-275 (Nov. 14, 2011), available

at https://www.justice.gov/sites/default/files/osg/briefs/2011/01/01/2011-0275.resp.pdf.8

       A person who makes an independent expenditure is only required to file reports with the

FEC listing contributors if the aggregate amount of the value of the independent expenditures is in

excess of $250 in a calendar year. See 52 U.S.C. § 30104(c)(1). As recently as 2018, the FEC

maintained and argued in this Court that § 30104(c)(1) was “ambiguous,” “could be read in

multiple ways,” and “caused confusion” about whether it required disclosure of donors where the

donation was not expressly linked to the independent expenditure. See Citizens for Responsibility

& Ethics in Washington v. FEC, 316 F. Supp. 3d 349, 395, 396, 403 (D.D.C. 2018) (holding that

FEC regulation interpreting the statute was invalid because it improperly required an express link

between the independent expenditure and the donation for reporting purposes).9

       To qualify as an “independent expenditure” for either reporting purposes or the foreign

national prohibition it must expressly advocate the election or defeat of a clearly identified

candidate. See 52 U.S.C. § 30101(17). “Clearly identified” means that the candidate’s name or




an “electioneering communication” contains the name of a specifically identified candidate for
federal office, 11 C.F.R. § 100.29(a), a “disbursement for an electioneering communication”
results in a modifier that contracts the noun, rendering the phrase meaningless.
8
 Foreign nationals are also permitted to provide volunteer services to a campaign. See Ex. A,
FEC, Advisory Op. 2014-20 (Mar. 19, 2015).
9
  The instructions in the FEC regulations are even more confusing, containing seemingly
conflicting instructions for various levels of expenditures. See 11 C.F.R. § 109.10, How do
political committees and other persons report independent expenditures?



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photograph appears or the identity is apparent by unambiguous reference. See id § 30101(18).

“Expressly advocating” means that certain key words such as “vote for,” “re-elect,” “vote against,”

appear, and/or when taken as a whole, the words could only be interpreted by a reasonable person

as containing advocacy for or against a clearly identified candidate. See 11 C.F.R. § 100.22 (2019).

The Supreme Court has recognized that the distinction between campaign advocacy and issue

advocacy “may often dissolve in practical application.” FEC v. Wis. Right to Life, Inc., 551 U.S.

449, 456-457 (2007).

       Here, from what can be determined from the discovery produced by the government, the

aggregate amount spent on social media advertisements that even arguably meet the definition of

independent expenditures was $2,930.10 Specifically, the discovery provided by the government

contains 104 paid advertisements on Facebook and Instagram that mention or depict a clearly

identified candidate through the date of the 2016 presidential election.11 Only thirteen of these




10
   Each advertisement was paid for by an individual purchaser in Russian rubles. See Ex. B,
Testimony of Colin Stretch, General Counsel, Facebook at 5, Hr’g Before the United States Senate
Committee on the Judiciary Subcommittee on Crime and Terrorism, 115th Cong. (Oct. 31, 2017).
Facebook and Instagram utilized technology that made them aware that the payments were coming
from accounts located in Russia. Id. As such, if these independent expenditures were contrary to
law, Facebook and Instagram are equally liable. See 11 C.F.R. § 110.20(h)(2) (prohibiting any
person from knowingly providing substantial assistance in the making of a prohibited independent
expenditure). For purposes of this motion, undersigned counsel has converted the amount paid in
rubles to U.S. dollars according to the exchange rate in effect as of the start date of the ad.
11
  The date of the election is the last day any of the alleged advertisements could constitute an
independent expenditure that expressly advocates the election or defeat of a clearly identified
candidate. FEC regulations define when an individual becomes a candidate for federal office based
on the amount of contributions the individual has received or expenditures made on his or her
behalf, which must be “aggregated on an election cycle basis” and “[t]he election cycle shall end
on the date on which the general election for the office or seat the individual seeks is held.” 11
C.F.R. § 100.3.



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advertisements are specifically alleged in the Indictment. See Indictment ¶ 50.12 Based on the

information provided by the government in discovery, the total amount allegedly spent for these

thirteen advertisements was the ruble equivalent of $454.55.

       The analysis required by FEC to determine whether an advertisement expressly advocates

the election or defeat of a clearly identified federal candidate under FECA is highly fact specific.

See, e.g., Ex. C, FEC, Advisory Op. 2012-27 (Aug. 24, 2012). To qualify as express advocacy the

advertisement      must      contain      Federal      electoral     references.          See      Ex.

D, FEC, Advisory Op. 2012-11 (May 8, 2012) (concluding that Facebook advertisement relating

to gun control that referenced President Obama by name with no Federal electoral references was

not express advocacy under 11 C.F.R. § 100.22).            For example, the FEC determined that

advertisements mentioning a candidate’s name and criticizing that candidate were not express

advocacy where they did not explicitly encourage or discourage a person to vote for that candidate.

See Ex. C, Advisory Op. 2012-27 at 2-4 (“Nydia Velazquez. Ethically challenged” and “Don’t

Trust Harry Reid” are not express advocacy).

       The FEC had the opportunity to make determinations whether the advertisements allegedly

posted by IRA constituted express advocacy, and apparently declined to do so. In particular,

Common Cause filed a complaint with the FEC in September 2017 alleging that prohibited

political advertisements were posted to Facebook by accounts operating out of Russia and

constituted violations of FECA.13 See Ex. E, Common Cause Complaint. The FEC has taken no


12
  The Indictment also refers to certain advertisements used to promote political rallies, some of
which relate to a clearly identified candidate. Indictment ¶¶ 51-56, 60, 63, 66, 71, 75, 85. As
explained further below, those advertisements are included in this analysis.
13
    52 U.S.C. § 30109(a)(2) (2018) provides that “[i]f the Commission, upon receiving a complaint
. . . or on the basis of information ascertained in the normal course of carrying out its supervisory
responsibilities, determines, by an affirmative vote of 4 of its members, that it has reason to believe
that a person has committed, or is about to commit, a violation of this Act . . ., the Commission


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action on this complaint. See FEC Matters Under Review Database (“MUR”) (last checked on

Aug. 19, 2019). So while it is clear that the Special Counsel, the Department of Justice, and the

Grand Jury have no authority to determine whether any particular advertisement constitutes

express advocacy, it remains entirely unclear who will make that determination in this case.

Concord’s Sixth Amendment right to a jury trial gives it the right to demand that a jury find it

guilty of all elements of the crime with which it is charged. See United States v. Gaudin, 515 U.S.

506, 511 (1995). There has been no discovery provided to date regarding the FEC’s position on

any of the advertisements alleged in the Indictment or otherwise identified in the discovery.14

       Moreover, putting aside whether any of the foreign defendants were even aware of the FEC

statute and regulations, and the government has provided no discovery that they were, not even

the FEC is capable of determining whether some advertisements constitute express advocacy. See,



shall . . . notify the person of the alleged violation. . . . The Commission shall make an investigation
of such alleged violation . . . .” Id.
14
   Some backers of new election security legislation have already concluded that advertisements
alleged to have been made by defendant Internet Research Agency were in compliance with FECA.
Michigan Congresswoman Elissa Slotkin, the author of the PAID AD bill, recently told
constituents “[i]f you haven’t seen it, you should see some of the fake, Russian-produced social
media ads that were targeted at Michigan. They are groups pretending to be Muslim-American
groups, saying terrible things to ramp up hatred and discord. There are groups pretending to be
African-American groups, sowing absolute racial war and discrimination, they are horrible. They
have ads that show Hillary Clinton along with the devil, and Donald Trump along with Jesus[.]
And I want to be honestly clear about this: that is totally legal in our current political environment.”
See Rep. Elissa Slotkin, Live Facebook feed from town hall at Sexton High School, Lansing,
Mich.,                 Facebook.com                     (June                  6,                 2019),
www.facebook.com/RepElissaSlotkin/videos/vb.2202052983148029/301447767398161. In an
op-ed endorsing the PAID AD bill, the Editorial Board of The Washington Post wrote last month
that “Russia’s Internet Research Agency purchased more than 3,500 [advertisements] on Facebook
ahead of the 2016 election, the platform says — and, according to researchers, most were legal.”
See Editorial Board, Americans deserve to know who pays for political ads. But is that enough?,
The Washington Post (Jul. 2, 2019), www.washingtonpost.com/opinions/is-disclosure-enough-to-
keep-foreign-interference-out-of-political-ads/2019/07/02/863a533e-9852-11e9-8d0a-
5edd7e2025b1_story.html.



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e.g., Ex. C, FEC, Advisory Op. 2012-27 at 4-5 (the FEC could not determine whether certain

advertisements were express advocacy: an advertisement naming Nancy Pelosi and President

Obama and attacking “ObamaCare;” an advertisement mentioning Nancy Pelosi and her alleged

failure to support express delivery of overseas military ballots). See also Ex. D, FEC, Advisory

Op. 2012-11 at 7-8 (the FEC could not determine whether certain advertisements were express

advocacy: an advertisement naming President Obama and attacking his position on environmental

policy and gun rights). See also Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 52 (1st Cir. 2001)

(recognizing that “[t]he division between pure ‘issue discussion’ and ‘express advocacy’ of a

candidate’s election or defeat is a conceptual distinction that has played an important, and at times

confounding, role in a certain set of modern Supreme Court election law precedents”).15

       Despite the nuanced analysis the FEC routinely engages in to determine whether an

advertisement constitutes express advocacy, it is clear that many of the advertisements listed in

¶ 50 of the Indictment are not express advocacy and as such are not independent expenditures. For

example, the advertisements alleged to have been posted on April 19, 2016, June 7, 2016, July 20,

2016, and August 10, 2016 are not express advocacy because they contain no reference to an

election or voting. According to the discovery produced to date, the arguably express advocacy

advertisements alleged in ¶ 50 cost as follows: April 6, 2016 ($27.83); April 7, 2016 ($44.02);




15
  Congress has declined to take action on a bill explicitly prohibiting foreign nationals from paying
for internet advertising. See Ex. F, PAID AD Act, H.R. 2135, 116th Cong. (2019). The FEC has
similarly declined to issue a final rule regarding required disclaimers for internet advertising. See
Ex. G, https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-
communication-2018/. See also Ex. H, Mem. from FEC Chair Ellen L. Weintraub to Commission
Secretary (June 13, 2019).



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May 10, 2016 ($10.57); May 19, 2016 ($2.47); May 24, 2017 ($213.01); June 30, 2016 ($23.40);

August 4, 2016 ($7.58); October 14, 2016 ($7.93); and October 19, 2016 ($0.00).16

       Further, the FEC has declined to take action even on direct contributions by foreign persons

to a presidential campaign in the 2016 election cycle where the amounts in question were de

minimis. See, e.g., Ex. I, FEC First General Counsel’s Report, MUR 7205, at 7. According to the

discovery in this case, only seven advertisements cost in excess of U.S. dollar equivalent $100,

and those advertisements accounted for U.S. dollar equivalent $1,585; that is, over half of the

entire amount of the arguably independent expenditures for advertisements. None of these seven

advertisements contain any of the magic words regarding voting required by the FEC. The

allegation in the Indictment at ¶ 35 claiming that IRA spent thousands of dollars each month to

purchase advertisements is at best misleading and at worse demonstrably false because the

discovery indicates that the many of the advertisements took place after the 2016 presidential

election or did not involve any clearly identifiable candidate.17

       The Indictment further alleges that the defendants purchased advertisements on Facebook

and Instagram to promote rallies in the United States. Indictment ¶¶ 51-56, 60, 63, 66, 71, 75, 85.

According to the government, this conduct also required reporting to the FEC. BOP ¶ 3. The 104

candidate-specific advertisements referred to above include a total of 25 advertisements to promote

rallies, costing approximately $1,677.30, more than half of the $2,930 spent on candidate-specific

advertisements.



16
   Notably, for most of these advertisements it is not the text cited in ¶ 50 of the indictment that
could arguably constitute express advocacy, but some other portion of the advertisement, again
raising a question about legal instructions provided to the Grand Jury.
17
  The Court relied on this allegation in denying Defendant’s Motion to Dismiss the Indictment.
See Nov. 15 Opinion at 13.



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       Finally, with respect to rally-related payments that could arguably constitute independent

expenditures, the Indictment alleges that the defendants paid U.S. persons to participate in or

perform certain tasks at rallies held in the U.S. See Indictment ¶¶ 54-56, 62, 64, 72, 73, 77, 82,

84.18 The amount of money allegedly spent for political rallies where it can be determined from

the discovery that some payment was actually made is approximately $1,833.00.

                       2.      It is Not Possible for Concord to Determine Who Was Required to
                               File Any Report with the FEC

       The BOP now requires Concord to determine on its own who was required to file a FEC

Form 5.19 It cannot be Concord because the Indictment does not allege that Concord paid directly

for any of the advertisements or rallies, but instead funded IRA. As such, it could only be IRA or

the individuals allegedly working at IRA who allegedly purchased the advertisements and spent

money on rallies. It is clear that any such filing would not have required the filer to include any

information about Concord because at most Concord would be considered under FECA to be a

donor to IRA, and there is no allegation that the alleged payments from Concord to IRA were for

specific independent expenditures. See Citizens, 316 F. Supp. 3d at 394 (FEC maintained as late

as 2018 that filers were not required to identify specific donors unless the donation was earmarked

for a specific independent expenditure).

       Further, as a matter of law, failure to file a Form 5 would constitute a violation of FECA

only if IRA or an individual allegedly employed by IRA knew that a Form 5 was required and



18
   The Bill of Particulars references only “payments to promote political rallies in the United
States.” BOP ¶ 3. It is unclear whether the government considers these payments to individuals
to participate in or perform certain tasks in connection with the rallies to be for “promotion” of the
rallies, but for the sake of argument Concord is including information about these payments.
19
  See Ex. J, FEC Form 5 and Instructions, and note that the form contains no field for the filer to
indicate she or he lives in a foreign country.



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willfully failed to file it. See 52 U.S.C. § 30109(d). This means that the responsible conspirator

would have had to know that of the millions of rubles equating to hundreds of thousands of dollars

of Concord’s money allegedly spent by IRA, at worst approximately $2,900 were spent for

advertisements and $1,800 were spent for rallies that the FEC could possibly conclude were

independent expenditures for express advocacy. Without knowing precisely who the government

intends to establish was required to report to the FEC, it is impossible for Concord to conduct its

own investigation of the conspiracy charge against it. See May 24, 2019 at 8.

                       3.      No Defendant Was Obligated To Self-Incriminate

       To the extent the government can establish that any individual actually had a duty to report

to the FEC, Concord is entitled to the identity now— before trial—in order to determine whether

there is a defense available under the Fifth Amendment. “Whenever the Court is confronted with

the question of a compelled disclosure that has an incriminating potential, the judicial scrutiny is

invariably a close one.” California v. Byers, 402 U.S. 424, 427 (1971). The Supreme Court has

established certain criteria for determining when the threat of self-incrimination from a disclosure

statute is so offensive to the mandate of the Fifth Amendment as to render the statute

unconstitutional. In Albertson v. Subversive Activities Control Bd., 382 U.S. 70, 86 (1965), the

Supreme Court held unconstitutional a statute which required Communist Party members to

register, thereby subjecting themselves to prosecution for being members of the Communist Party.

This holding was based on the fact that registration would involve an admission of a crucial

element of a crime. Later Supreme Court cases used this standard in striking down various

disclosure statutes. See Leary v. United States, 395 U.S. 6 (1969) (statute requiring registration of

persons who deal in marijuana); Marchetti v. United States, 390 U.S. 39 (1968) and Grosso v.

United States, 390 U.S. 62 (1968) (statutes requiring registration by gamblers); Haynes v. United




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States, 390 U.S. 85 (1968) (statute requiring registration of certain firearms). See also Communist

Party v. United States, 331 F.2d 807 (D.C. Cir. 1963) (holding that criminal punishment may not

be imposed for failure of organization’s officers to make a required disclosure on the

organization’s behalf). In sum, where disclosures are required of a select group that is inherently

suspect of engaging in criminal activity, and those disclosures would necessarily provide the basis

for a criminal prosecution, then any such required disclosure is unconstitutional. See United States

v. Dichne, 612 F.2d 632, 640 (2d Cir. 1980).

          This principle applies here. If a foreign national reported independent expenditures

advocating for or against a candidate such disclosure would be an admission to, and form all of

the elements of, a crime under FECA. See 52 U.S.C. § 30121(a)(1)(C). Much like the cases above,

the reporting requirement advocated by the government here is, in essence, a compelled disclosure

that violates the Fifth Amendment protections, see Albertson, 382 U.S. at 86, and should be found

to be unconstitutional. Dichne, 612 F.2d at 640.

          If it is IRA that the government alleges was required to file a Form 5,20 it may attempt to

argue that a legal entity does not have a Fifth Amendment privilege against self-incrimination.

Any such argument would be wrong. In this specific context courts have held that “Fifth

Amendment concerns . . . ‘buttress[]’” the proposition that there is no duty to disclose uncharged

criminal conduct. See United States v. Crop Growers Corp., 954 F. Supp. 335, 345-348 (D.D.C.

1997) (citing United States v. Matthews, 787 F.2d 38 (2d Cir. 1986)); see also Roeder v. Alpha

Indus., Inc., 814 F.2d 22, 26 (1st Cir. 1987) (recognizing the “[F]ifth [A]mendment concerns . . .

present in Matthews”); cf. Whiteside & Co. v. S.E.C., 883 F.2d 7, 10 (5th Cir. 1989) (implicitly

recognizing principle that corporate petitioner had rights against self-incrimination when rejecting


20
     For the reasons set forth above, it is clear that Concord did not have any reporting requirement.



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argument that SEC capital deficiency reporting requirement violated those rights). The D.C.

Circuit in Crop Growers dismissed a 18 U.S.C. §§ 1001 charge and two other charges against a

corporate defendant where the defendant had no duty to disclose uncharged criminal conduct

related to alleged violations of FECA by making illegal campaign contributions. Id. at 344-48. In

reaching that conclusion, the court relied on the Second Circuit’s decision in Matthews, which

involved an appeal of a conviction for violation of securities laws in which the defendant failed to

disclose on a proxy statement that he had engaged in conspiracy. Matthews, 787 F.2d at 44.

Similarly, in Communist Party of U.S. v. United States, 384 F.2d 957, 959 (D.C. Cir. 1967), the

D.C. Circuit reversed convictions against a legal entity—the Communist Party—for failing to

register under the Subversive Activities Control Act because convictions were “hopelessly at odds

with the protections afforded by the Fifth Amendment.”

               B.      It is Not Possible for Concord to Determine Who Was Required to
                       Register Under FARA or the Identity of the Foreign Principal

       With respect to FARA registration, the government first claims that travel to the United

States by certain conspirators triggered a FARA reporting requirement pursuant to 22 U.S.C.

§§ 612(a), 611(c)(1)(ii) and 611(g), (h), (p). BOP ¶ 4. The government fails to indicate who was

supposed to register or the name of the foreign principal to be disclosed, and the citations in the

Bill of Particulars offer no guidance. Section 612(a) simply requires the “agent” of a “foreign

principal” to register under FARA. Section 611(c)(1)(ii) defines “agent” as a person who “acts

within the United States as a public relations counsel, publicity agent, information-service

employee or political consultant for a foreign principal.” Section 611(g) defines a “public-

relations counsel” as a person “who engages directly or indirectly in informing, advising, or in any

way representing a principal in any public relations matter pertaining to political or public interests,

policies, or relations of such principal.” Section 611(h) defines a “publicity agent” as a person



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who engages directly or indirectly in the publication or dissemination of oral, visual, graphic,

written, or pictorial information or matter of any kind, including publication by means of

advertising, books, periodicals, newspapers, lectures, broadcasts, motion pictures, or otherwise.”

Section 611(p) defines a “political consultant” as a person “who engages in informing or advising

any other person with reference to the domestic or foreign policies of the United States or the

political or public interest, policies, or relations of a foreign country or of a foreign political party.”

        The sub-provisions of FARA now relied upon by the government were not identified in the

Indictment, nor were they cited by the government in its Opposition to the Motion to Dismiss. See

ECF 56 at 6-7 (citing 22 U.S.C. § 611(b), (c), and (o) for the definition of foreign principal). Nor

were any of these sub-provisions relied upon by the Court in denying the Motion to Dismiss. See

Nov. 15 Opinion at 12-13. These omissions are unsurprising, as there is exactly one reported case

in the history of FARA dealing with any of the definitions cited by the government. In RM Broad.

v. United States Dep’t of Justice, 379 F. Supp. 3d 1256 (S.D. Fla. 2019), the court held that a U.S.

broadcasting company who contracted to broadcast transmissions from a Russian government-

owned news agency was a “publicity agent” and required to register under FARA.21

        Concord is left to deduce who was required to register under FARA and who are the agents

and principals because, as noted above, the Bill of Particulars fails to provide that information.

The agent cannot be Concord because the Indictment does not allege that Concord actually

engaged in any of the travel to the United States or social media postings, but only controlled

funding, recommended personnel, and oversaw activities of IRA. See Indictment ¶¶ 3, 11, 12.


21
  Further, until the Special Counsel started flinging FARA indictments around, for 50 years, from
1966 to 2015, the Department of Justice brought only seven criminal FARA cases. See Ex. K,
Office of the Inspector General, U.S. Department of Justice Audit Report Audit of the National
Security Division’s Enforcement and Administration of the Foreign Agents Registration Act at 8
(September 2016).



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Further, if Concord was the agent required to register, the identity of the principal remains an utter

mystery because, as the Court has noted and the government has agreed, the Indictment contains

no allegation that the conspirators were acting as agents of the Russian government. See Mem.

Op. & Order 6, July 1, 2019, ECF No. 148; Gov’t’s Suppl. Brief Regarding Def.’s Mot. to Show

Cause 4, June 5, 2019, ECF No. 139.

       Nor can Concord be the principal for the individuals who traveled to the United States or

the individuals who posted content on the internet because the Indictment contains no allegation

that Concord had an agency relationship with any of those individuals. So if Concord is neither

the agent nor the principal, that leaves only the possibility that the individual conspirators were

acting as foreign agents of IRA and were required to register as such. But that does not create

FARA liability for IRA or Concord; the only possible theory of liability would be as to the

individuals who worked for IRA and their failure to register as agents of IRA under FARA. See

22 U.S.C. § 612(a) (2018) (requiring agents of foreign principals to file registration statement) and

22 U.S.C. § 618 (2018) (setting for the punishment for willful violations of FARA).

       Because there is no case law regarding whether or not the conduct of the individuals

working for IRA were required to file under FARA, once again in this case we are dealing with a

legal issue of first impression. That is, while the government alleges that there was a duty to

register, we only have the government’s word for it. Worse yet, we have no independent

government agency making this determination, instead we have the Department of Justice both

making the determination and prosecuting the case.

       So we are left with relying on the plain language of the statute. The government claims

that the three individuals working for IRA who apparently traveled to the United States were public

relations counsel, publicity agents, and/or political consultants. BOP ¶ 4 (citing 22 U.S.C. §§




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611(g), (h), and (p)). Of course, there is no such allegation in the Indictment. Moreover, even if

these individuals did what the government claims, they did nothing falling within the definitions

contained in the statute. Further, if their conduct did require registration, which it did not, any

foreign person working for a foreign country or foreign company who traveled to the United States

and reported back on what they did, saw, or observed would be required to register under FARA.

There is no precedent to apply FARA in this way.

        Similarly, with respect to the alleged internet activity to allegedly influence public opinion

on political matters, the government suggests without any legal support that unidentified

“conspirators” were required to register under FARA. BOP ¶ 4. This despite the fact that the

Indictment contains no allegations that any individual was within the United States when they

engaged in the alleged conduct that, according to the government, triggered the registration

requirement under FARA. The government has not presented, nor is the undersigned aware of,

any authority that supports the notion that a foreign national who resides in and engages in conduct

from a foreign country is subject to the FARA registration requirements. To the contrary, the plain

language of the statute and the legislative history suggest otherwise. FARA defines “agent of a

foreign principal” as “any person who . . . (i) engages within the United States in political activities

. . . (ii) acts within the United States as a public relations counsel . . . (iii) within the United States

solicits . . . contributions, loans, money, or other things of value . . . or (iv) within the United States

represents the interests of such foreign principal before any agency or official of the Government

of the United States.” 22 U.S.C. § 611(c)(1)(i), (ii), (iii) and (iv). Similarly, 22 U.S.C. § 614,

which restricts the dissemination of propaganda materials, expressly applies to “person[s] within

the United States.” (The government failed to disclose this provision in its citation to § 614(a).

BOP ¶ 2.) Had Congress intended for these definitions and restrictions to apply to conduct




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occurring abroad, it certainly would have omitted the phrase “within the United States.” FARA

also provides that “[a]ny alien who shall be convicted of a violation . . . shall be subject to removal

pursuant to chapter 4 of title II of the Immigration and Nationality Act.” 22 U.S.C. § 618(c) (2018).

An alien, of course, cannot be removed from the United States unless he or she is already present

within its borders.

       The legislative history of FARA also demonstrates an intent that the statute apply only to

conduct occurring within the United States. During a floor debate leading up to the original

passage of the law in 1938, Representative Celler stated that the purpose of the bill was “to require

all persons who are in the United States for political propaganda purposes . . . to register with the

State Department and to supply information about their political propaganda activities, their

employers, and the terms of their contracts.” Ex. L, House Agreement to Conference Report, June

2, 1938, pp. 8021-22 Debate: 75th Congress, 2nd Session [Vol. 82]: Document No. 15.

Representative Celler added that the law “will publicize the nature of subversive or other similar

activities of such foreign propagandists, so that the American people may know those who are

engaged in this country by foreign agencies to spread doctrines alien to our democratic form of

government . . . .” Id. Finally, Representative Celler noted that the bill would not require a “foreign

corporation engaged in honorable trade relations with this country” to register, but that “whenever

representatives are sent here to spread by word of mouth, or by the written word, the ideology, the

principle, and the practices of other forms of government and the things for which they stand, then

registry must be made.” Id. Clearly, Congress intended for the registration requirements of FARA

to apply only where the foreign agent is operating within the borders of the United States.

       There has been no allegation or evidence produced in discovery to suggest that the conduct

identified in the second bullet of ¶ 4 of the BOP was carried out by any individual located within




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the United States. As such, it remains a mystery who the government contends, and intends to

establish at trial, was required to register under FARA and for what purpose. The government

should be required to provide this information before trial so as to avoid prejudicial surprise and

allow Concord to understand the charges against it.

          III.   CONCLUSION

          Concord, a foreign corporation with no past or current presence in the United States, should

not be required to engage in a guessing game in preparing for trial. The government has clearly

shifted its theory of liability post-indictment. If the Court does not require the government to

identify which defendant(s) were required to register under FARA (and on behalf of whom) or file

under FECA it will be impossible for Concord to prepare for trial; and moreover, the Court will

not know until sometime during trial whether or not the Indictment should be dismissed as a matter

of law.

 Dated: August 19, 2019                                Respectfully submitted,

                                                       CONCORD MANAGEMENT AND
                                                       CONSULTING LLC

                                                       By Counsel

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                    Exhibit A
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                      FEDERAL ELECTION COMMISSION
                      Washington, DC 20463




                                                                March 19, 2015
CERTIFIED MAIL
RETURN RECEIPT REQUESTED

ADVISORY OPINION 2014-20


Sai
Make Your Laws PAC, Inc.
c/o Nick Staddon, Secretary
122 Pinecrest Road
Durham, NC 27705


Dear Sai:

        We are responding to the advisory opinion request that you submitted on behalf of Make
Your Laws PAC, Inc. concerning the application of the Federal Election Campaign Act,
52 U.S.C. §§ 30101-30146 (formerly 2 U.S.C. §§ 431-457) (the “Act”), and Commission
regulations to volunteer services provided by foreign nationals. The Commission concludes that
the requestor may accept uncompensated services from foreign national volunteers as proposed.

Background

       The facts presented in this advisory opinion are based on the requestor’s advisory opinion
request (“AOR”) received on November 24, 2014.

        The requestor is a nonconnected political committee. The requestor and two other
entities (collectively, the “MYL Group”) jointly own the rights to the code, design, graphics,
trademarks, and trade dress 1 (collectively, “intellectual property”) of the requestor’s website and
brand. Nearly all of the code is open source 2 and open-source licensed. 3
1
            The requestor describes “trade dress” as including branding and logos. AOR at 2.
2
            The requestor describes “open source” to mean that the code is available online “for anyone to see.” AOR
at 2 n.2.
3
         According to the requestor, “[b]roadly speaking, this [open source license] means a copyright license that
permits anyone to re-use software so long as they give credit and publish any derivative works under the same
terms.” AOR at 2 n.3; see also Open Source License, OPEN SOURCE INITIATIVE, http://opensource.org/licenses (last
visited Dec. 14, 2014).
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        “To date, all services in creating the [intellectual property] have been provided by unpaid
volunteers who are United States citizens.” AOR at 2. The requestor states that when such
services might result in the creation of intellectual property, the MYL Group asks volunteers to
sign an intellectual property assignment to transfer all rights and ownership in the intellectual
property to the MYL Group. The volunteers, however, receive a perpetual license from the
MYL Group to use their work as they see fit, unless the MYL Group determines that there would
be an impact on its trademark or trade dress.

        The requestor would like to accept the same kind of volunteer services from foreign
nationals as the MYL Group currently receives from United States citizens, and under the same
terms. The volunteer services the requestor proposes to accept from foreign nationals are
intended to, and very likely will, result in the creation of website code, logos, and other items.
The requestor states that if it cannot obtain the intellectual property rights in such items, it will be
unable to use those items or even to accept the foreign nationals’ volunteer services. AOR at 4.
Because the requestor’s website code is open source “and constantly available for collaboration,”
the requestor expects to receive these services on an “ad hoc, continuous basis.” Id. (emphasis in
original). The requestor asks the Commission to assume that all requirements of 52 U.S.C.
§ 30101(8)(B) and (9)(B) (formerly 2 U.S.C. § 431(8)(B) and (9)(B)) are met: “E.g. out of
pocket costs such as printing, distribution, web hosting, etc. will be paid for by [the requestor];
volunteers will not be ‘compensated’ by anyone . . . but may use their own equipment (such as a
laptop) in providing such services; [the requestor] will not act as an agent of any foreign national
nor permit any foreign national to participate in its operations, make decisions regarding
contributions or expenditures, etc. . . . .” AOR at 3 n.6.

Question Presented

       May the requestor accept the assignment of any intellectual property in unpaid volunteer
services performed by foreign nationals and provided in accordance with 52 U.S.C.
§ 30101(8)(B)(i) (formerly 2 U.S.C. § 431(8)(B)(i))?

Legal Analysis and Conclusions

       Yes, the requestor may accept uncompensated volunteer services from foreign nationals
as proposed.

        The Act prohibits any foreign national from making “a contribution or donation of money
or other thing of value” in connection with a federal, state, or local election. 4 52 U.S.C.
§ 30121(a)(1)(A) (formerly 2 U.S.C. § 441e(a)(1)(A)); see also 11 C.F.R. § 110.20(b). The Act
also prohibits any person from “solicit[ing], accept[ing], or receiv[ing]” such a contribution or
donation from a foreign national. 52 U.S.C. § 30121(a)(2) (formerly 2 U.S.C. § 441e(a)(2)); see
also 11 C.F.R. § 110.20(g).


4
           A “foreign national” is “an individual who is not a citizen of the United States or a national of the United
States . . . and who is not lawfully admitted for permanent residence.” 52 U.S.C. § 30121(b)(2) (formerly 2 U.S.C.
§ 441e(b)(2)); see also 11 C.F.R. § 110.20(a)(3)(ii).
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         The Act and Commission regulations also provide that the term “contribution” does not
include “the value of services provided without compensation by any individual who volunteers
on behalf of a candidate or political committee.” 52 U.S.C. § 30101(8)(B)(i) (formerly 2 U.S.C.
§ 431(8)(B)(i)); see also 11 C.F.R. § 100.74. Applying this “volunteer services exception” in the
context of foreign nationals, the Commission has concluded that a foreign national entertainer
who performed without compensation at a candidate’s fundraiser did not provide a contribution
to that candidate. See Factual & Legal Analysis at 6, MURs 5987, 5995, and 6015 (Hillary
Clinton For President) (Feb. 30, 2009), http://eqs.fec.gov/eqsdocsMUR/29044230266.pdf.
Similarly, in Advisory Opinion 2004-26 (Weller), the Commission found that a foreign national
would not provide a contribution to a candidate by participating without compensation in certain
of the candidate’s campaign-related activities, including the solicitation of contributions,
attendance at political events, and meeting with the candidate and his campaign committee.
Because the services would not be contributions, they would not be subject to the prohibition on
contributions from foreign nationals. Advisory Opinion 2004-26 (Weller) at 2; see also
Advisory Opinion 2007-22 (Hurysz) at 3 (“[T]he value of volunteer services provided to your
campaign by Canadian nationals would not constitute a prohibited in-kind contribution to your
campaign.”); Advisory Opinion 1987-25 (Otaola) at 1 (concluding that foreign national’s “work
as a volunteer without compensation would not . . . result in a contribution to a candidate because
the value of uncompensated volunteer services is specifically exempted from the definition of
contribution under the Act”). 5

        For the same reasons, to the extent that a foreign national volunteers his or her
uncompensated personal services to the requestor to help design the requestor’s website code,
logos, “trademarks,” and “trade dress,” the value of those services would not constitute an
unlawful foreign national contribution or donation because they are exempt from the definition
of “contribution” under the volunteer services exemption. 6


5
         But see Advisory Opinion 1981-51 (Metzenbaum) (concluding that foreign national artist would be
prohibited from donating uncompensated volunteer services to committee to create original work of art for
committee’s fundraising). The Commission hereby expressly supersedes Advisory Opinion 1981-51 (Metzenbaum).
A statute must be interpreted “as a symmetrical and coherent regulatory scheme.” Food & Drug Admin. v. Brown &
Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (internal citations and quotations omitted). In Advisory
Opinion 1981-51 (Metzenbaum), however, the Commission did not construe the Act’s foreign national contribution
ban and volunteer services exception in conjunction with each other. Furthermore, to the extent that MURs 5987,
5996, and 6015 (Hillary Clinton For President) sought to distinguish Advisory Opinion 1981-51 (Metzenbaum) by
making a distinction between the provision of volunteer services by a foreign national and the creation and donation
of a tangible good, the Commission does not adopt that reasoning.
6
          For purposes of the foreign national prohibition, and consistent with congressional intent, the Commission
interprets the definition of “donation” in 11 C.F.R. § 110.20 as essentially equivalent to the definition of
“contribution.” See, e.g., Contribution Limitations and Prohibitions, 67 Fed. Reg. 69,928, 69,944 (Nov. 19, 2002).
While the Commission has noted that certain exemptions from the definition of “contribution” cannot necessarily be
applied to donations because of differences among states’ laws, see Prohibited and Excessive Contributions: Non-
Federal Funds or Soft Money, 67 Fed. Reg. 49,064, 49,085 (Jul. 29, 2002), the foreign national prohibition is a
nationwide provision that does not vary among the states. Thus, the regulatory exemption for volunteer services
applies uniformly to federal contributions and state and local donations by foreign nationals. The Commission here
does not consider how the terms “contribution” and “donation” may be interpreted elsewhere within the Act or
Commission regulations.
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        The fact that the requestor may obtain rights to intellectual property resulting from the
foreign nationals’ volunteer services does not change the result. As discussed above, the
Commission has consistently interpreted the Act and Commission regulations as permitting
foreign nationals to provide volunteer services to political committees. See Advisory Opinion
2004-26 (Weller) at 2 (finding that foreign nationals’ uncompensated participation in campaign-
related activities are not contributions); Advisory Opinion 2007-22 (Hurysz) at 3 (same);
Advisory Opinion 1987-25 (Otaola) at 2 (“[A]ny individual, including a foreign national, may
volunteer his or her uncompensated services to a candidate without making a contribution to that
candidate.”); Factual & Legal Analysis at 2-6, MURs 5987, 5995, and 6015 (Hillary Clinton For
President).

        As noted, the volunteer services the requestor proposes to accept from foreign nationals
are intended to, and likely will, result in the creation of website code, logos, and other items.
The requestor cautions that if it may not obtain the intellectual property rights in such items, it
will not be able to use those items, or even accept the foreign nationals’ volunteer services.
AOR at 4. But, as explained, the Commission’s prior interpretations of the Act and Commission
regulations have permitted foreign nationals to provide volunteer services, consistent with the
Act’s volunteer services exception. Because the requestor here proposes to receive only benefits
that result directly and exclusively from the provision of volunteer services by foreign nationals,
the Commission concludes that the proposal would not result in a prohibited contribution.

        This response constitutes an advisory opinion concerning the application of the Act and
Commission regulations to the specific transaction or activity set forth in your request. See
52 U.S.C. § 30108 (formerly 2 U.S.C. § 437f). The Commission emphasizes that, if there is a
change in any of the facts or assumptions presented, and such facts or assumptions are material
to a conclusion presented in this advisory opinion, then the requestor may not rely on that
conclusion as support for its proposed activity. Any person involved in any specific transaction
or activity that is indistinguishable in all its material aspects from the transaction or activity with
respect to which this advisory opinion is rendered may rely on this advisory opinion. See
52 U.S.C. § 30108(c)(1)(B) (formerly 2 U.S.C. § 437f(c)(1)(B)). Please note that the analysis or
conclusions in this advisory opinion may be affected by subsequent developments in the law
including, but not limited to, statutes, regulations, advisory opinions, and case law. Any
advisory opinions and enforcement materials cited herein are available on the Commission’s
website.

                                               On behalf of the Commission,


                                               (signed)
                                               Ann M. Ravel
                                               Chair
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                     Exhibit B
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     HEARING BEFORE THE UNITED STATES SENATE COMMITTEE ON THE
          JUDICIARY SUBCOMMITTEE ON CRIME AND TERRORISM

                                        October 31, 2017

                                   Testimony of Colin Stretch
                                   General Counsel, Facebook

I.     INTRODUCTION

Chairman Graham, Ranking Member Whitehouse, and distinguished members of the
Subcommittee, thank you for this opportunity to appear before you today. My name is Colin
Stretch, and since July 2013, I’ve served as the General Counsel of Facebook. We appreciate this
Subcommittee’s hard work as it continues to seek more effective ways to combat crime,
terrorism, and other threats to our national security.

At Facebook, we take all of these threats very seriously. One of our chief commitments is to
create innovative technology that gives people the power to build community and bring the
world closer together. We’re proud that over 2 billion people around the world come to
Facebook every month to share with friends and family, to learn about new products and
services, to volunteer or donate to organizations they care about, or help out in a crisis. The
promise of real connection, of extending the benefits of real world connections online, is at the
heart of what we do and has helped us grow into a global company.

Being at the forefront of new technology also means being at the forefront of new legal, security,
and policy challenges. Our teams work every day to confront these challenges head
on. Thousands of Facebook employees around the world work to make Facebook a place where
both expression and personal safety are protected and respected.

You have asked me to discuss several important issues for our platform and others like it—the
threat of extremist content online, and what we know now about the efforts by foreign actors to
interfere with the 2016 election.

When it comes to the 2016 election, I want to be clear: The foreign interference we saw is
reprehensible and outrageous and opened a new battleground for our company, our industry, and
our society. That foreign actors, hiding behind fake accounts, abused our platform and other
internet services to try to sow division and discord—and to try to undermine our election
process—is an assault on democracy, and it violates all of our values.

At Facebook, we build tools to help people connect, and to be a force for good in the world.
What these actors did goes against everything Facebook stands for. Our goal is to bring people
closer together; what we saw from these actors was an insidious attempt to drive people apart.
And we’re determined to prevent it from happening again.

I’d also like to address some of the challenges we face in fighting terrorism online and what
we’re doing to solve those challenges.
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Keeping our community safe on Facebook is critical to our mission. Our stance is simple:
There’s no place on Facebook for terrorism. We remove terrorists and posts that support
terrorism whenever we become aware of them. When we receive reports of potential terrorism
posts, we urgently scrutinize those reports. And in the rare cases when we uncover evidence of
imminent harm, we promptly inform authorities. Although academic research finds that the
radicalization of members of groups like ISIS and Al Qaeda primarily occurs offline, we know
that the internet does play a role—and we don’t want Facebook to be used for any terrorist
activity whatsoever. While there are challenges to fighting terrorism, we believe technology, and
Facebook, can be part of the solution.

II.    FIGHTING ELECTION INTERFERENCE ON FACEBOOK

Let me turn first to the issue of foreign interference in the 2016 election. I want to share with you
what we know so far about what happened—and what we’re doing about it. At the outset, let me
explain how our service works and why people choose to use it.

       A.      Understanding what you see on Facebook

1. The News Feed Experience: A Personalized Collection of Stories. When people come to
Facebook to share with their friends and discover new things, they see a personalized homepage
we call News Feed. News Feed is a constantly updating, highly personalized list of stories,
including status updates, photos, videos, links, and activity from the people and things you’re
connected to on Facebook. The goal of News Feed is to show people the stories that are most
relevant to them. The average person has thousands of things on any given day that they could
read in their News Feed, so we use personalized ranking to determine the order of stories we
show them. Each person’s News Feed is unique. It’s shaped by the friends they add; the people,
topics, and news sources they follow; the groups they join; and other signals like their past
interactions. On average, a person in the US is served roughly 220 stories in News Feed each
day. Over the time period in question, from 2015 to 2017, Americans using Facebook were
exposed to, or “served,” a total of over 33 trillion stories in their News Feeds.

2. Advertising and Pages as Sources of Stories in News Feed. News Feed is also a place where
people see ads on Facebook. To advertise in News Feed, a person must first set up a Facebook
account—using their real identity—and then create a Facebook Page. Facebook Pages represent
a wide range of people, places, and things, including causes, that people are interested in. Any
user may create a Page to express support for or interest in a topic, but only official
representatives can create a Page on behalf of an organization, business, brand, or public figure.
It is against our terms for Pages to contain false, misleading, fraudulent, or deceptive claims or
content. Facebook marks some official Pages—such as for a public figure, media company, or
brand—with a “verified” badge to let people know they’re authentic. All Pages must comply
with our Community Standards and ensure that all the stories they post or share respect our
policies prohibiting hate speech, violence, and sexual content, among other restrictions. People
can like or follow a Page to get updates, such as posts, photos, or videos, in their News Feed. The
average person in the US likes 178 Pages. People do not necessarily see every update from each
of the Pages they are connected to. Our News Feed ranking determines how relevant we think a
story from a Page will be to each person. We make it easy for people to override our
recommendations by giving them additional controls over whether they see a Page’s updates

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higher in their News Feed or not at all. For context, from 2015 to 2017, people in the United
States saw 11.1 trillion posts from Pages on Facebook.

3. Advertising to Promote Pages. Page administrators can create ads to promote their Page and
show their posts to more people. The vast majority of our advertisers are small- and medium-
sized businesses that use our self-service tools to create ads to reach their customers. Advertisers
choose the audience they want to reach based on demographics, interests, behaviors or contact
information. They can choose from different ad formats, upload images or video, and write the
text they want people to see. Advertisers can serve ads on our platform for as little as $0.50 per
day using a credit card or other payment method. By using these tools, advertisers agree to our
Self-Serve Ad Terms. Before ads appear on Facebook or Instagram, they go through our ad
review process that includes automated checks of an ad’s images, text, targeting and positioning,
in addition to the content on the ad’s landing page. People on Facebook can also report ads, find
more information about why they are being shown a particular ad, and update their ad
preferences to influence the type of ads they see.

       B.      Promoting Authentic Conversation

Our authenticity policy is the cornerstone of how we prevent abuse on our platform, and was the
basis of our internal investigation and what we found.

From the beginning, we have always believed that Facebook is a place for authentic dialogue,
and that the best way to ensure authenticity is to require people to use the names they are known
by. Fake accounts undermine this objective, and are closely related to the creation and spread of
inauthentic communication such as spam—as well as used to carry out disinformation campaigns
like the one associated with the Internet Research Agency (IRA), a Russian company located in
St. Petersburg.

We build and update technical systems every day to better identify and remove inauthentic
accounts, which also helps reduce the distribution of material that can be spread by accounts that
violate our policies. Each day, we block millions of fake accounts at registration. Our systems
examine thousands of account attributes and focus on detecting behaviors that are very difficult
for bad actors to fake, including their connections to others on our platform. By constantly
improving our techniques, we also aim to reduce the incentives for bad actors who rely on
distribution to make their efforts worthwhile.

Protecting authenticity is an ongoing challenge. As our tools and security efforts evolve, so will
the techniques of those who want to evade our authenticity requirements. As in other areas of
cybersecurity, our security and operations teams need to continually adapt.

       C.      Protecting the Security of the 2016 Election and Learning Lessons Quickly

1. The Evolution of Facebook’s Security Protections. From its earliest days, Facebook has
always been focused on security. These efforts are continuous and involve regular contact with
law enforcement authorities in the United States and around the world. Elections are particularly
sensitive events for our security operations, and as the role our service plays in promoting
political dialogue and debate has grown, so has the attention of our security team.

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As your investigation has revealed, our country now faces a new type of national cyber-security
threat—one that will require a new level of investment and cooperation across our society. At
Facebook, we’re prepared to do our part. At each step of this process, we have spoken out about
threats to internet platforms, shared our findings, and provided information to investigators. As
we learn more, we will continue to identify and implement improvements to our security
systems, and work more closely with other technology companies to share information on how to
identify and prevent threats and how to respond faster and more effectively.

2. Security Leading Up to the 2016 Election.

a. Fighting Hacking and Malware. For years, we had been aware of other types of activity that
appeared to come from Russian sources—largely traditional security threats such as attacking
people’s accounts or using social media platforms to spread stolen information. What we saw
early in the 2016 campaign cycle followed this pattern. Our security team that focuses on threat
intelligence—which investigates advanced security threats as part of our overall information
security organization—was, from the outset, alert to the possibility of Russian activity. In several
instances before November 8, 2016, this team detected and mitigated threats from actors with
ties to Russia and reported them to US law enforcement officials. This included activity from a
cluster of accounts we had assessed to belong to a group (APT28) that the US government has
publicly linked to Russian military intelligence services. This activity, which was aimed at
employees of major US political parties, fell into the normal categories of offensive cyber
activities we monitor for. We warned the targets who were at highest risk, and were later in
contact with law enforcement authorities about this activity.

Later in the summer we also started to see a new kind of behavior from APT28-related
accounts—namely, the creation of fake personas that were then used to seed stolen information
to journalists. These fake personas were organized under the banner of an organization that
called itself DC Leaks. This activity violated our policies, and we removed the DC Leaks
accounts.

b. Understanding Fake Accounts and Fake News. After the election, when the public
discussion of “fake news” rapidly accelerated, we continued to investigate and learn more about
the new threat of using fake accounts to amplify divisive material and deceptively influence civic
discourse. We shared what we learned with government officials and others in the tech industry.
And in April 2017, we shared our findings with the public by publishing a white paper that
described the activity we detected and the initial techniques we used to combat it.

As with all security threats, we have also been applying what we learned in order to do better in
the future. We use a variety of technologies and techniques to detect and shut down fake
accounts, and in October 2016, for example, we disabled about 5.8 million fake accounts in the
United States. At the time, our automated tooling did not yet reflect our knowledge of fake
accounts focused on social or political issues. But we incorporated what we learned from the
2016 elections into our detection systems, and as a result of these improvements, we disabled
more than 30,000 accounts in advance of the French election. This same technology helped us
disable tens of thousands more accounts before the German elections in September. In other
words, we believe that we’re already doing better at detecting these forms of abuse, although we
know that people who want to abuse our platform will get better too and so we must stay

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vigilant.

3. Investigating the Role of Ads and Foreign Interference. After the 2016 election, we learned
from press accounts and statements by congressional leaders that Russian actors might have tried
to interfere in the election by exploiting Facebook’s ad tools. This is not something we had seen
before, and so we started an investigation that continues to this day. We found that fake accounts
associated with the IRA spent approximately $100,000 on more than 3,000 Facebook and
Instagram ads between June 2015 and August 2017. Our analysis also showed that these
accounts used these ads to promote the roughly 120 Facebook Pages they had set up, which in
turn posted more than 80,000 pieces of content between January 2015 and August 2017. The
Facebook accounts that appeared tied to the IRA violated our policies because they came from a
set of coordinated, inauthentic accounts. We shut these accounts down and began trying to
understand how they misused our platform.

a. Advertising by Accounts Associated with the IRA. Below is an overview of what we’ve
learned so far about the IRA’s ads:

        •   Impressions (an “impression” is how we count the number of times something is
            on screen, for example this can be the number of times something was on screen
            in a person’s News Feed):
            o 44% of total ad impressions were before the US election on November 8, 2016.
            o 56% of total ad impressions were after the election.
        •   Reach (the number of people who saw a story at least once):
            o We estimate 11.4 million people in the US saw at least one of these ads between
              2015 and 2017.
        •   Ads with zero impressions:
            o Roughly 25% of the ads were never shown to anyone. That’s because advertising
              auctions are designed so that ads reach people based on relevance, and certain ads
              may not reach anyone as a result.
        •   Amount spent on ads:
            o For 50% of the ads, less than $3 was spent.
            o For 99% of the ads, less than $1,000 was spent.
            o Many of the ads were paid for in Russian currency, though currency alone is a
              weak signal for suspicious activity.
        •   Content of ads:
            o Most of the ads appear to focus on divisive social and political messages across
              the ideological spectrum, touching on topics from LGBT matters to race issues to
              immigration to gun rights.
            o A number of the ads encourage people to follow Pages on these issues, which in
              turn produced posts on similarly charged subjects.


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b. Content Posted by Pages Associated with the IRA. We estimate that roughly 29 million
people were served content in their News Feeds directly from the IRA’s 80,000 posts over the
two years. Posts from these Pages were also shared, liked, and followed by people on Facebook,
and, as a result, three times more people may have been exposed to a story that originated from
the Russian operation. Our best estimate is that approximately 126 million people may have been
served content from a Page associated with the IRA at some point during the two-year period.
This equals about four-thousandths of one percent (0.004%) of content in News Feed, or
approximately 1 out of 23,000 pieces of content.

Though the volume of these posts was a tiny fraction of the overall content on Facebook, any
amount is too much. Those accounts and Pages violated Facebook’s policies—which is why we
removed them, as we do with all fake or malicious activity we find. We also deleted roughly 170
Instagram accounts that posted about 120,000 pieces of content.

Our review of this activity is ongoing. Many of the ads and posts we’ve seen so far are deeply
disturbing—seemingly intended to amplify societal divisions and pit groups of people against
each other. They would be controversial even if they came from authentic accounts in the United
States. But coming from foreign actors using fake accounts they are simply unacceptable.

That’s why we’ve given the ads and posts to Congress—because we want to do our part to help
investigators gain a deeper understanding of foreign efforts to interfere in the US political system
and explain those activities to the public. These actions run counter to Facebook’s mission of
building community and everything we stand for. And we are determined to do everything we
can to address this new threat.

       D.      Mobilizing to Address the New Threat

We are taking steps to enhance trust in the authenticity of activity on our platform, including
increasing ads transparency, implementing a more robust ads review process, imposing tighter
content restrictions, and exploring how to add additional authenticity safeguards.

1. Promoting Authenticity and Preventing Fake Accounts. We maintain a calendar of
upcoming elections and use internal and external resources to best predict the threat level to
each. We take preventative measures based on our information, including working with election
officials where appropriate. Within this framework, we set up direct communication channels to
escalate issues quickly. These efforts complement our civic engagement work, which includes
voter education. In October 2017, for example, we launched a Canadian Election Integrity
Initiative to help candidates guard against hackers and help educate voters on how to spot false
news.

Going forward, we’re also requiring political advertisers to provide more documentation to
verify their identities and disclose when they’re running election ads. Potential advertisers will
have to confirm the business or organization they represent before they can buy ads. Their
accounts and their ads will be marked as political, and they will have to show details, including
who paid for the ads. We’ll start doing this with federal elections in the US and then move onto
other elections in the US and other countries. For political advertisers that don’t proactively
identify themselves, we’re building machine learning tools that will help us find them and

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require them to verify their identity.

Authenticity is important for Pages as well as ads. We’ll soon test ways for people to verify that
the people and organizations behind political and issue-based Pages are who they say they are.

2. Partnering with Industry on Standards. We have been working with many others in the
technology industry, including with Google and Twitter, on a range of elements related to this
investigation. Our companies have a long history of working together on other issues such as
child safety and counter-terrorism.

We are also reaching out to leaders in our industry and governments around the world to share
information on bad actors and threats so that we can make sure they stay off all platforms. We
are trying to make this an industry standard practice.

3. Strengthening Our Advertising Policies. We know that some of you and other members of
Congress are exploring new legislative approaches to political advertising—and that’s a
conversation we welcome. We are already working with some of you on how best to put new
requirements into law. But we aren’t waiting for legislation. Instead we’re taking steps where we
can on our own, to improve our own approach to transparency, ad review, and authenticity
requirements.

a. Providing Transparency. We believe that when you see an ad, you should know who ran it
to be able to understand what other ads they’re running—which is why we show you the Page
name for any ads that run in your News Feed.

To provide even greater transparency for people and accountability for advertisers, we’re now
building new tools that will allow you to see the other ads a Page is running as well—including
ads that aren’t targeted to you directly. We hope that this will establish a new standard for our
industry in ad transparency. We try to catch material that shouldn’t be on Facebook before it’s
even posted—but because this is not always possible, we also take action when people report ads
that violate our policies. We’re grateful to our community for this support, and hope that more
transparency will mean more people can report violating ads.

b. Enforcing Our Policies. We rely on both automated and manual ad review, and we’re now
taking steps to strengthen both. Reviewing ads means assessing not just what’s in an ad but also
the context in which it was bought and the intended audience—so we’re changing our ads review
system to pay more attention to these signals. We’re also adding more than 1,000 people to our
global ads review teams over the next year and investing more in machine learning to better
understand when to flag and take down ads. Enforcement is never perfect, but we will get better
at finding and removing improper ads.

c. Restricting Ad Content. We hold people on Facebook to our Community Standards, and we
hold advertisers to even stricter guidelines. Our ads policies already prohibit shocking content,
direct threats and the promotion of the sale or use of weapons. Going forward, we are expanding
these policies to prevent ads that use even more subtle expressions of violence.




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III.   COUNTERING VIOLENT EXTREMISM

Now I would like to turn to the challenges we face in fighting terrorism online and our response.

       A.      Identifying Terrorist Content

One of the challenges we face is identifying the small fraction of terrorist content posted to a
platform used by more than 2 billion people every month. We are getting better at using artificial
intelligence (AI) to stop the spread of terrorist content on Facebook. We are currently focusing
our most cutting-edge techniques to combat terrorist content about ISIS, Al Qaeda, and their
affiliates, and we are working to expand to other terrorist organizations. We’ve gotten better at
identifying and removing terrorist content from our site—in fact, most of the content we remove
we identify on our own, before anyone has reported it. But because terrorists also adapt as
technology evolves, we are constantly updating our technical solutions to try to stay ahead.

First, when someone tries to upload a terrorist photo or video, our systems look for whether the
image matches a known terrorism photo or video. This means that if we previously removed a
propaganda video from ISIS, we can work to prevent other accounts from uploading the same
video to our site. In many cases, this means that terrorist content intended for upload to Facebook
simply never reaches people.

Second, we have started to experiment with using AI to understand text that might be advocating
for terrorism. We’re currently experimenting with developing text-based signals to detect praise
or support of terrorist organizations. That analysis goes into an algorithm that is in the early
stages of learning how to detect similar posts.

Of course, we cannot rely on AI alone. A photo of an armed man waving an ISIS flag might be
propaganda or recruiting material, but it could also be an image in a news story. To understand
more nuanced cases, we need human expertise.

Our community of users helps us by reporting accounts or content that may violate our
policies—including the small fraction that may be related to terrorism. Our Community
Operations teams around the world—which we are growing by 3,000 people over the next
year—work 24 hours a day and in dozens of languages to review these reports and determine the
context.

We have also significantly grown our team of counterterrorism specialists. We have more than
150 people who are exclusively focused on countering terrorist content. Our team includes
academic experts on counterterrorism, former prosecutors, and law enforcement agents and
analysts, and engineers. This specialist team alone speaks nearly 30 languages.

       B.      Identifying Terrorist Clusters

We know from studies of terrorists that they tend to radicalize and operate in clusters. This
offline trend is reflected online as well. So when we identify Pages, groups, posts, or profiles as
supporting terrorism, we use AI to try to identify related material that may also support
terrorism. We do this by examining signals that can reveal similarities among accounts.

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       C.      Identifying Repeat Offenders

While we can disable terrorist accounts, those account owners may create new accounts using
different identities. We have gotten much faster at detecting new fake accounts created by repeat
offenders. Through this work, we’ve been able to dramatically reduce the time period that
terrorist recidivist accounts are on Facebook. This work is continuous based on the evolving
threat.

       D.      Getting the Full Picture

Another challenge we face is that we don’t often have insight into what terrorists are doing on
other platforms and beyond. Nor do we have the resources, legal authority, and information
available to governments. We’re only one piece of the picture, and the threats we’re confronting
are bigger than any one company, or even any one industry. That’s why we are partnering with
others to combat these threats.

First, we are partnering with our industry counterparts to more quickly identify and slow the
spread of terrorist content online. For example, in 2016, we joined with Microsoft, Twitter, and
YouTube to announce a shared industry database of “hashes”—unique digital fingerprints for
photos and videos—for content produced by or in support of terrorist organizations. This
collaboration has already proved fruitful; we have added several new partners, and hope to add
more partners in the future.

And in June 2017, we partnered with those same companies to create the Global Internet Forum
to Counter Terrorism. This formalizes and structures existing and future areas of collaboration
between our companies and fosters cooperation with smaller tech companies, civil society
groups, academics, governments, and international bodies such as the EU and the UN. While the
scope of the Forum’s work will evolve over time, we are focusing on refining technological
solutions to combating terrorism, researching counter-terrorism efforts, and sharing knowledge
across our industry, governments, and civil society.

Second, we cannot effectively combat terrorism and other security threats without help from
governments and inter-governmental agencies. They have a key role to play in convening and
providing expertise that is impossible for companies to develop independently. We have learned
much through briefings from agencies in different countries about ISIS and Al Qaeda
propaganda mechanisms. We have also participated in and benefited from efforts to support
industry collaboration by organizations such as the National Counterterrorism Center (NCTC),
the EU Internet Forum, the Global Coalition Against Daesh, and the UK Home Office.

We recognize there are serious and evolving threats to public safety and that law enforcement
has an important responsibility to keep people safe. Our legal and safety teams work hard to
respond to legitimate law enforcement requests while fulfilling our responsibility to protect
people’s privacy and security. We have a global team that strives to respond within minutes to
emergency requests from law enforcement. In the second half of 2016, for example, we provided
information in response to nearly 80% of the 1,695 requests for emergency disclosures that we
received from US law enforcement agencies. We provide the information that we can in response
to law enforcement requests, consistent with applicable law and our policies. In the second half

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of 2016, for example, Facebook received 26,014 requests from US law enforcement agencies
covering 41,492 accounts. We produced data in response to more than 83% of these requests.

       E.      Combatting Terrorism Beyond Our Platform

Finally, while we can try to find and remove terrorist content from Facebook, a key part of
combating terrorism is disrupting the underlying ideologies that drive people to commit acts of
violence. That’s why we are engaged in counterspeech efforts. Counterspeech comes in many
forms, but at its core these are efforts to prevent people from pursuing a hate-filled, violent life
or convincing them to abandon such a life.

But counter-speech is only effective if it comes from credible speakers. So, we’ve partnered with
non-governmental organizations and community groups to empower the voices that matter most.
For example, last year we worked with the Institute for Strategic Dialogue to launch the Online
Civil Courage Initiative, a project that has engaged with more than 100 anti-hate and anti-
extremism organizations across Europe. We’ve also worked with Affinis Labs to host
hackathons in places like Manila, Dhaka, and Jakarta, where community leaders joined forces
with tech entrepreneurs to develop innovative solutions to push back against extremism and hate
online. And finally, we’ve supported a student competition organized through the P2P: Facebook
Global Digital Challenge. In less than three years, P2P has reached tens of millions of people
worldwide through more than 500 anti-hate and extremism campaigns created by more than
5,500 university students in 68 countries.

IV.    CONCLUSION

In conclusion, let me reiterate our commitment to combating terrorism, foreign interference in
our democratic process, and other threats. We have a responsibility to do all we can to combat
these threats, and we’re committed to improving our efforts.

Of course, companies like Facebook cannot do this without help. We will continue to partner
with appropriate authorities to counteract these threats. By working together, business,
government, and civil society can make it much harder for malicious actors to harm us, while
simultaneously ensuring that people can express themselves freely and openly. I’m here today to
listen to your ideas and concerns, and I look forward to continuing this constructive dialogue.




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                 FEDERAL ELECTION COMMISSION
                 Washington, DC 20463




                                                     August 24, 2012


CERTIFIED MAIL
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ADVISORY OPINION 2012-27

Benjamin T. Barr, Esq.
Dan Backer, Esq.
Allen Dickerson, Esq.
National Defense Committee
6022 Knights Ridge Way
Alexandria, VA 22310

Dear Messrs. Barr, Backer, and Dickerson:

        We are responding to your advisory opinion request on behalf of the National Defense
Committee (“NDC”), concerning the application of the Federal Election Campaign Act, as
amended (the “Act”), and Commission regulations to NDC’s proposed plan to finance certain
advertisements and ask for donations to fund its activities.

        The Commission concludes that three of NDC’s seven proposed advertisements would
not expressly advocate the election or defeat of a clearly identified Federal candidate and two of
the four proposed donation requests would not be solicitations of contributions under the Act.
The Commission could not approve a response by the required four affirmative votes concerning
the remaining advertisements and donation requests, or concerning NDC’s other questions. See
2 U.S.C. 437c(c); 11 CFR 112.4(a).

Background

       The facts presented in this advisory opinion are based on your letter and email received
on July 26, 2012.

       NDC is incorporated as a non-profit social welfare organization in the Commonwealth of
Virginia. It is exempt from taxation under section 501(c)(4) of the Internal Revenue Code.
26 U.S.C. 501(c)(4). NDC focuses on issues that impact war veterans, veterans’ affairs, national
defense, homeland security, and national security.
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        NDC states that it is not under the control of any candidate. NDC also states that it will
not make any contributions to Federal candidates, political parties, or political committees that
make contributions to Federal candidates or political parties, and that it is not affiliated with any
group that makes contributions. NDC states that it will not make any coordinated expenditures;
its bylaws prohibit its members, officers, employees, and agents from engaging in activities that
could result in coordination with a Federal candidate or political party. Bylaws, art. VI, sec. 3
NDC also states that it will not accept any contributions from foreign nationals or Federal
contractors.

         NDC plans to run seven advertisements, which it describes as “discuss[ing] public issues
relevant to upcoming Federal elections, military voting, and policy positions of candidates for
federal office that relate to National Defense’s core mission.” NDC will run these
advertisements on a variety of online and social media platforms, including, but not limited to,
paid video placements via a commercial vendor. The advertisements, described in the response
to Question 1 below, will be in video format, and will include still photos, basic animation, and
voice-overs. NDC plans to spend just over $3,000 to produce and distribute these
communications, of which $2,000 will be paid to a production company, and $1,000 will be used
to distribute the advertisements on the Internet. The production company will be responsible for
creating the video format.

         NDC also plans to ask for donations from individuals through four separate donation
requests, which are described in the response to Question 3 below. NDC states that it has a
larger budget to fund activities that are “dissimilar” to the activities described in its advisory
opinion request, but that it is “unable to provide any details” about its overall budget or its other
activities.

Questions Presented

       (1) Will any of NDC’s proposed speech constitute “express advocacy” and be subject to
           regulation?

       (2) Will the Commission continue to apply and enforce 11 CFR 100.22(b)?

       (3) Will any of NDC’s donation communications be deemed “solicitations” and subject
           to regulation?

       (4) Will any of the activities described trigger the requirement to register and be
           regulated as a “political committee”?

Legal Analysis and Conclusions

Question 1. Will any of NDC’s proposed speech constitute “express advocacy” and be subject
to regulation?

      The Commission concludes that NDC’s “Ethically Challenged,” “Stop the Liberal
Agenda,” and “Don’t Trust Harry Reid” advertisements are not express advocacy under
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11 CFR 100.22. The Commission could not approve a response regarding the remaining
advertisements by the required four affirmative votes.

       Under the Commission’s regulations, a communication expressly advocates the election
or defeat of a clearly identified Federal candidate if it:

       [u]ses phrases such as ‘vote for the President,’ ‘re-elect your Congressman,’
       ‘support the Democratic nominee,’ ‘cast your ballot for the Republican challenger
       for U.S. Senate in Georgia, ‘Smith for Congress,’ ‘Bill McKay in ’94,’ ‘vote Pro-
       Life’ or ‘vote Pro-Choice’ accompanied by a listing of clearly identified
       candidates described as Pro-Life or Pro-Choice, ‘vote against Old Hickory,’
       ‘defeat’ accompanied by a picture of one or more candidate(s), ‘reject the
       incumbent,’ or communications of campaign slogan(s) or individual word(s),
       which in context, can have no other reasonable meaning than to urge the election
       or defeat of one or more clearly identified candidate(s), such as posters, bumper
       stickers, advertisements, etc. which say ‘Nixon’s the One,’ ‘Carter ’76,’
       ‘Reagan/Bush’ or ‘Mondale!’.

11 CFR 100.22(a).

        Under the Commission’s regulations, a communication also constitutes express advocacy
if “[w]hen taken as a whole and with limited reference to external events, such as the proximity
to the election, could only be interpreted by a reasonable person as containing advocacy of the
election or defeat of one or more clearly identified candidate(s) because— (1) [t]he electoral
portion of the communication is unmistakable, unambiguous, and suggestive of only one
meaning; and (2) [r]easonable minds could not differ as to whether it encourages actions to elect
or defeat one or more clearly identified candidate(s) or encourages some other kind of action.”
11 CFR 100.22(b).

       A. “Ethically Challenged” Advertisement

               Nydia Velazquez. Ethically challenged. A key supporter of the
               Troubled Asset Relief Program. Calls bailed-out Wall Street
               greedy one day, but takes hundreds of thousands from it the next.
               A leader you can believe in? Call Nydia Velazquez and let’s make
               sure we end the bailouts that bankrupt America.

      The “Ethically Challenged” advertisement does not contain express advocacy under 11
CFR 100.22.

       B. “Stop the Liberal Agenda” Advertisement
               Harry Reid: Willing to put America’s service men and women at
               risk through his risky sequestration gamble. Willing to put politics
               above common sense and protecting the men and women who
               defend our nation. Stop the insanity, stop sequestrations, stop
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              Reid’s twisted liberal agenda. This fall, get educated about Harry
              Reid, get engaged, and get active.

      The “Stop the Liberal Agenda” advertisement does not contain express advocacy under
11 CFR 100.22.

       C. “Don’t Trust Harry Reid” Advertisement

              What kind of leader is Harry Reid? Ineffective. Ultra-liberal.
              Unrepresentative of Nevada values. Harry Reid voted for
              increasing Tricare premiums to nickel and dime America’s heroes.
              Veterans and service men and women know better than to trust
              Harry Reid. This November: support new voices, support your
              military, support Nevada values.

      The “Don’t Trust Harry Reid” advertisement does not contain express advocacy under 11
CFR 100.22.

        The Commission could not approve a response regarding the following advertisements by
the required four affirmative votes:

       D. “Let’s Make History” Advertisement

              America needs a strong military capable of meeting the threats of
              tomorrow. But Nydia Velazquez repeatedly introduced and
              supported bills like HR 3638 that would cut off funding for
              frontline troops. Rather than standing up for America, Nydia
              Velazquez has been one of the least effective members of
              Congress. This fall, let’s make history by changing that. Protect
              our freedom. Defend our nation. Learn about HR 3638.

       E. “ObamaCare” Advertisement
              Nancy Pelosi and ObamaCare, what a pair! Even though most
              Americans opposed ObamaCare, Pelosi maintained her support of
              socialized medicine. But we can’t let ObamaCare win. Our proud
              patriotic voices must stand against ObamaCare and vote socialized
              medicine out. Support conservative voices and public servants
              ready to end ObamaCare’s reign.

       F. “Military Voting Matters” Advertisement
              Military voting matters. That’s why Nancy Pelosi is such a
              disappointment for service men and women. Instead of supporting
              express delivery of overseas military ballots, Pelosi favored
              sluggish postal unions. Shouldn’t military voices and votes
              matter? Shouldn’t yours? Be heard this fall.
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       G. “Military Voting Hindered” Advertisement
               Our heroes on the front lines know that Obama’s assault on
               America’s military is putting their lives, the care of wounded
               warriors, and the GI and Veterans’ benefits they were promised at
               risk. Is that why Obama’s Justice Department and Congressional
               liberals refuse to stand up for military voting rights? Shouldn’t
               those who dodge bullets for our freedom be free to vote their
               conscience and vote out those who won’t keep their promises?
               Take a stand with us and make sure military voting is taken
               seriously.

Question 2. Will the Commission continue to apply and enforce 11 CFR 100.22(b)?

       The Commission could not approve a response by the required four affirmative votes
about whether this question qualifies as an advisory opinion request. See 2 U.S.C. 437c(c);
11 CFR 112.1(b), 112.4(a).

Question 3. Will any of NDC’s donation communications be deemed “solicitations” and subject
to regulation?

        Two of NDC’s proposed donation requests – entitled “Strategic Stupidity” and “Fighting
Back” – will not constitute “solicitations.” See FEC v. Survival Educ. Fund, 65 F.3d 285, 295
(2d Cir. 1995). The Commission could not approve a response regarding the remaining
proposed donation requests by the required four affirmative votes.

       A.    “Strategic Stupidity” Donation Request

               Crippling America’s military through sequestration is a strategic
               failure – and Senate Democrats have supported this insanity! With
               your donation, we can speak out against the liberal dream of
               ending American Exceptionalism and decimating America’s
               military. We can stop the Democrats’ madness. Help send a
               message to misguided Senators like John Tester. Support National
               Defense, and let’s retire these failed policies.

        The “Strategic Stupidity” donation request will not constitute a solicitation for
contributions. It states that donations will be used to “speak out against the liberal dream of
ending American Exceptionalism and decimating America’s military” and to “retire these failed
policies.” Although the donation request urges potential donors to “[h]elp send a message to
misguided Senators like John Tester,” it does not “clearly indicat[e] that the contributions will be
targeted to the election or defeat of a clearly identified candidate for federal office.” Survival
Educ. Fund, 65 F.3d at 295; see also Advisory Opinion 2012-11 (Free Speech) (concluding that
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the “Strategic Speech” donation request, which also indicated an intention to “speak out against”
certain policies with funds raised and “retire failed . . . policies,” was not a solicitation).
Accordingly, this donation request is not a solicitation under the Act.

       B. “Fighting Back” Donation Request

               Supporters of traditional constitutional values have celebrated our
               courts’ defense of freedom, and planned how to make the most
               effective use of your support this fall. Your donation to National
               Defense will beat back the liberal Obama agenda and bring about
               real change in Washington. Help America fight back in print, on
               the air, and against liberal deep pockets. Stand together. Get
               organized. Start now.

         The “Fighting Back” donation request will not constitute a solicitation for contributions.
It states that “this fall” funds requested “will beat back the liberal Obama agenda and bring about
real change in Washington.” The request does not “clearly indicat[e] that the contributions will
be targeted to the election or defeat of a clearly identified candidate for federal office.” Survival
Educ. Fund, 65 F.3d at 294-95. “[F]ight[ing] back in print, on the air, and against liberal deep
pockets” could refer to advocacy regarding legislation or executive branch action. Accordingly,
this donation request is not a solicitation under the Act.

       The Commission could not approve a response regarding the following proposed
donation requests by the required four affirmative votes.

       C. “Military Voices and Votes Must be Heard” Donation Request
               Our heroes on the front lines know that Obama’s assault on
               America’s military is putting their lives, the care of wounded
               warriors, and the GI and Veterans benefits they were promised at
               risk. Is that why Obama’s Justice Department & Congressional
               liberals refuse to stand up for military voting rights? Help those
               who dodge bullets for our freedom vote their conscience. Support
               their right to vote out Obama – donate to National Defense so we
               can stand up for military voting rights this fall.

       D. “America the Proud?” Donation Request

               It used to be that America was a nation we could be proud of. But
               today, an ultra-liberal Congress repeatedly ignores the value of our
               military. Military voting, ignored. Protecting military benefits,
               disregarded. Veterans, left out in the cold. And the Commander in
               Chief sits by. In building a $1 billion war chest, the Commander
               in Chief makes sure liberals will win this fall, while crippling the
               military. Let’s put an end to this nonsense. Donate to National
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               Defense Committee today and let’s roll back the Commander in
               Chief’s liberal agenda.

Question 4. Will any of the activities described trigger the requirements to register and be
regulated as a “political committee”?

       The Commission could not approve a response by the required four affirmative votes
about whether this question qualifies as an advisory opinion request. See 2 U.S.C. 437c(c);
11 CFR 112.1(c), 112.4(a).

        This response constitutes an advisory opinion concerning the application of the Act and
Commission regulations to the specific transaction or activity set forth in your request. See
2 U.S.C. 437f. The Commission emphasizes that, if there is a change in any of the facts or
assumptions presented, and such facts or assumptions are material to a conclusion presented in
this advisory opinion, then the requestors may not rely on that conclusion as support for its
proposed activity. Any person involved in any specific transaction or activity which is
indistinguishable in all its material aspects from the transaction or activity with respect to which
this advisory opinion is rendered may rely on this advisory opinion. See 2 U.S.C. 437f(c)(1)(B).
Please note the analysis or conclusions in this advisory opinion may be affected by subsequent
developments in the law including, but not limited to, statutes, regulations, advisory opinions,
and case law. The cited advisory opinions are available on the Commission’s Web site,
www.fec.gov, or directly from the Commission’s advisory opinion searchable database at
http://www.fec.gov/searchao.

                                                      On behalf of the Commission,



                                                      (signed)
                                                      Caroline C. Hunter
                                                      Chair
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                    Exhibit D
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                 FEDERAL ELECTION COMMISSION
                 Washington, DC 20463




                                                     May 8, 2012
CERTIFIED MAIL
RETURN RECEIPT REQUESTED

ADVISORY OPINION 2012-11

Benjamin T. Barr Esq.
Stephen R. Klein, Esq.
Wyoming Liberty Group
1740 H Dell Range Blvd. #459
Cheyenne, WY 82009


Dear Messrs. Barr and Klein:

        We are responding to your advisory opinion request on behalf of Free Speech,
concerning the application of the Federal Election Campaign Act, as amended (the
“Act”), and Commission regulations to Free Speech’s proposed plan to finance certain
advertisements and ask for donations to fund its activities.

        The Commission concludes that: two of Free Speech’s 11 proposed
advertisements would expressly advocate the election or defeat of a clearly identified
Federal candidate; four of the proposed advertisements would not expressly advocate the
election or defeat of a clearly identified Federal candidate; and two of the four proposed
donation requests would not be solicitations under the Act. The Commission could not
approve a response by the required four affirmative votes about the remaining
advertisements and donation requests, or about Free Speech’s status as a political
committee. See 2 U.S.C. 437c(c); 11 CFR 112.4(a).

Background

       The facts presented in this advisory opinion are based on your letter received on
February 29, 2012, and your email received on March 9, 2012.

       Free Speech describes itself as “an independent group of individuals which
promotes and protects free speech, limited government, and constitutional
accountability.” Bylaws, Art. II. It is an unincorporated nonprofit association formed
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under the Wyoming Unincorporated Nonprofit Association Act, WYO. STAT. ANN.
17-22-101 to 115 (2012), and a “political organization” under 26 U.S.C. 527 of the
Internal Revenue Code. 1 It currently has three individual members.

        Free Speech will not make any contributions to Federal candidates, political
parties, or political committees that make contributions to Federal candidates or political
parties. Nor is Free Speech affiliated with any group that makes contributions. Free
Speech also will not make any coordinated expenditures. 2

        Free Speech plans to run 11 advertisements, which it describes as “discuss[ing]
issues concerning limited government, public policy, the dangers of the current
administration, and their connection with candidates for federal office.” Free Speech will
run these advertisements in various media, including radio, television, the Internet, and
newspapers. Free Speech currently plans to run the following ads, which are described
more fully in response to question 1 below.

         Radio Advertisements

        Free Speech plans to spend $1,000 on three advertisements to be aired on local
radio station KGAB AM in Cheyenne, Wyoming. These advertisements, which Free
Speech calls “Environmental Policy,” “Financial Reform,” and “Health Care Crisis,” will
be aired 60 times between April 1 and November 3, 2012. Free Speech currently plans to
allocate its budget evenly among the three advertisements, spending $333.33 for each.

         Newspaper Advertisements

        Free Speech plans to spend $500 on two advertisements that will appear in the
Wyoming Tribune Eagle on May 12 and May 27, 2012. Free Speech plans to spend $250
on each advertisement. The advertisements – “Financial Reform” and “Health Care
Crisis” – will include pictures as well as text.



1
  The Internal Revenue Code defines a political organization as “a party, committee, association, fund, or
other organization (whether or not incorporated) organized and operated primarily for the purpose of
directly or indirectly accepting contributions or making expenditures, or both, for [the tax-]exempt
function” of “influencing or attempting to influence the selection, nomination, election, or appointment of
any individual to any Federal, State, or local public office or office in a political organization,” or the
election or selection of presidential or vice presidential electors. 26 U.S.C. 527(e).
2
  Free Speech’s bylaws prohibit its members, officers, employees, and agents from engaging in activities
that could result in coordination with a Federal candidate or political party. Bylaws, Art. VI. And
members, officers, employees and agents have a duty to “ensure the independence of all speech by the
Association about any candidate or political party . . . in order to avoid coordination.” Bylaws, Art. VI,
Sec. 3.
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       Internet Advertisements

        Free Speech plans to spend $500 on two advertisements that will appear on
Facebook. The advertisements will appear for a total of “200,000 impressions on
Facebook within Wyoming network” between April 1 and April 30, 2012. Free Speech
plans to spend $250 on each advertisement. The two advertisements, entitled “Gun
Control” and “Environmental Policy,” will include pictures as well as text.

       Television Advertisements

        Free Speech plans to spend $8,000 on four advertisements that will appear on the
local television network KCWY in Cheyenne, Wyoming. The advertisements will appear
approximately 30 times between May 1 and November 3, 2012. Free Speech plans to
spend $2,000 on each of the four advertisements. The advertisements are entitled “Gun
Control,” “Ethics,” “Budget Reform,” and “An Educated Voter Votes on Principle.”

       In total, Free Speech plans to spend $10,000 to run the advertisements described
above. Free Speech “would like to speak out in similar ways in the future.”

        Free Speech has identified one individual donor willing to give it $2,000 or more,
and would like to ask other individuals to donate more than $1,000 “to help support its
speech.” Free Speech would also draw upon funds from its three members to pay for
advertisements costing more than $2,000. Free Speech, however, will not accept
donations from individuals who are foreign nationals or Federal contractors. Free Speech
plans to ask for donations from individuals through four separate donation requests,
which are described in response to question 2 below.

Questions Presented

       1. Will Free Speech’s proposed advertisements be “express advocacy”?

       2. Will Free Speech’s proposed donation requests be solicitations under the Act?

       3. Will the activities described in this advisory opinion request require Free
Speech to register and report to the Commission as a political committee?

Legal Analysis and Conclusions

Question 1. Will Free Speech’s proposed advertisements be “express advocacy”?

         Under the Commission’s regulations, a communication expressly advocates the
election or defeat of a clearly identified Federal candidate if it “[u]ses phrases such as
‘vote for the President,’ ‘re-elect your Congressman,’ ‘support the Democratic nominee,’
‘cast your ballot for the Republican challenger for U.S. Senate in Georgia, ‘Smith for
Congress,’ ‘Bill McKay in ’94,’ ‘vote Pro-Life’ or ‘vote Pro-Choice’ accompanied by a
listing of clearly identified candidates described as Pro-Life or Pro-Choice, ‘vote against
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Old Hickory,’ ‘defeat’ accompanied by a picture of one or more candidate(s), ‘reject the
incumbent,’ or communications of campaign slogan(s) or individual word(s), which in
context, can have no other reasonable meaning than to urge the election or defeat of one
or more clearly identified candidate(s), such as posters, bumper stickers, advertisements,
etc. which say ‘Nixon’s the One,’ ‘Carter ’76,’ ‘Reagan/Bush’ or ‘Mondale!’.” 11
CFR 100.22(a).

        Under the Commission’s regulations, a communication also constitutes express
advocacy if “[w]hen taken as a whole and with limited reference to external events, such
as the proximity to the election, could only be interpreted by a reasonable person as
containing advocacy of the election or defeat of one or more clearly identified
candidate(s) because-- (1) [t]he electoral portion of the communication is unmistakable,
unambiguous, and suggestive of only one meaning; and (2) [r]easonable minds could not
differ as to whether it encourages actions to elect or defeat one or more clearly identified
candidate(s) or encourages some other kind of action.” 11 CFR 100.22(b).

        The Commission concludes that Free Speech’s two “Financial Reform”
advertisements are express advocacy under 11 CFR 100.22(a). The Commission further
concludes that Free Speech’s two “Health Care Crisis” advertisements, the “Gun
Control” Facebook advertisement, and the “Ethics” advertisement are not express
advocacy under 11 CFR 100.22.

         A.       The “Financial Reform” Radio and Newspaper Advertisements

                  President Obama supported the financial bailout of Fannie
                  Mae and Freddie Mac, permitting himself to become a
                  puppet of the banking and bailout industries. What kind of
                  person supports bailouts at the expense of average
                  Americans? Not any kind we would vote for and neither
                  should you. Call President Obama and put his antics to an
                  end. 3

        The “Financial Reform” advertisements, which Free Speech proposes to air on the
radio and run in newspapers, contain express advocacy under 11 CFR 100.22(a). This
conclusion is supported by the Supreme Court’s decision in FEC v. Massachusetts
Citizens For Life (“MCFL”), 479 U.S. 238 (1986), which involved a flyer that included
the phrase “EVERYTHING YOU NEED TO KNOW TO VOTE PRO-LIFE” and
contained an exhortation to “VOTE PRO-LIFE” after identifying candidates who were
pro-life. The Court held the flyer was express advocacy. Here, the “Financial Reform”
advertisements state that “President Obama supported the financial bailout of Fannie Mae
and Freddie Mac,” and then ask “What kind of person supports bailouts at the expense of
average Americans?” They answer the questions with “[n]ot any kind of person that we

3
  The script for the radio version of the Financial Reform advertisement is the same as the text of the print
version. The only difference between the two, besides the format, is the newspaper advertisement’s
inclusion of a full-page picture of President Obama.
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would vote for and neither should you.” Thus, the advertisements are express advocacy:
they identify a candidate (President Obama) with a position on an issue (bailouts) and
then state that the viewers should vote against those who take that issue position (“What
kind of person supports bailouts …? Not any kind we would vote for and neither should
you.”). Such a formulation “provides in effect an explicit directive: vote for these
(named) candidates. The fact that this message is marginally less direct than ‘Vote for
Smith’ does not change its essential nature.” MCFL, 479 U.S. at 249.

        Moreover, this conclusion is not altered by the final sentence: “Call President
Obama and put his antics to an end.” The advertisements contain two different
statements directed at the viewer: (1) “Not any kind we would vote for and neither should
you;” and (2) “Call President Obama and put his antics to an end.” These are two
different statements that make two different points; however, the addition of the
statement, “Call President Obama and put his antics to an end,” does not negate the fact
that the advertisements contain express advocacy under 11 CFR 100.22(a). This is
similar to MCFL, where the Court held that a “disclaimer” stating “[t]his special election
edition does not represent an endorsement of any particular candidate” did not “negate
[the] fact” that the flyer contained express advocacy. MCFL, 470 U.S. at 249.

         B.       The “Health Care Crisis” Radio and Newspaper Advertisements

                  President Obama supports socialized medicine, but
                  socialized medicine kills millions of people worldwide.
                  Even as Americans disapproved of ObamaCare, he pushed
                  ahead to make socialized medicine a reality. Put an end to
                  the brutality and say no to socialized medicine in the
                  United States. 4

        The “Health Care Crisis” advertisements, which Free Speech proposes to air on
the radio and run in newspapers, are not express advocacy under 11 CFR 100.22. These
advertisements criticize President Obama’s health care policy and provide Free Speech’s
views on the issue (“socialized medicine kills millions of people worldwide”). The
advertisements have no electoral references.

         C.       The “Gun Control” Facebook Advertisement

                  (Picture of handgun, 110 pixels wide by 80 pixels tall)
                  (Title: Stand Against Gun Control)
                   Obama supports gun control. Don’t trust him. Support
                  Wyoming state candidates who will protect your gun rights.


4
  Like the script for the radio and print versions of the “Financial Reform” advertisements, the script for the
two versions of the “Health Care Crisis” advertisements is the same. The only difference between the two
advertisements, besides the format, is the newspaper advertisement’s inclusion of a “[f]ull picture of a
family picture torn in half.”
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       The “Gun Control” Facebook advertisement is not express advocacy under
11 CFR 100.22. The advertisement criticizes President Obama’s support of gun control
and exhorts viewers to “[s]upport Wyoming state candidates.” The advertisement has no
Federal electoral references.

       D.      The “Ethics” Television Advertisement

                Audio:                           Video:
                Who is President Obama?          Picture of President Obama
                                                 shaking hands with Hugo
                                                 Chavez.

                He preaches the importance       Fade to another picture of
                of high taxes to balance the     Obama giving State of the
                budget, but nominates            Union, superimposed “Obama
                political elites who haven’t     Aims $1.4 Trillion Tax
                paid theirs.                     Increase at Highest Earners
                                                 (San Francisco Chronicle,
                                                 Feb. 14, 2011)”

                                                 Cut to picture on left side of
                He talks about budget and tax    screen of Secretary of
                priorities, but passes a blind   Treasury Timothy Geithner
                eye to nominees who don’t        giving testimony,
                contribute their fair share.     superimposed “Geithner
                                                 apologizes for not paying
                                                 taxes (CBS News, Feb. 18,
                                                 2009)”

                Call President Obama and tell    Picture fades in on right side
                him you don’t approve of his     of screen of Tom Daschle,
                taxing behavior.                 superimposed “Tax Woes
                                                 Derail Daschle’s Bid for
                                                 Health Chief (NPR, Feb. 3,
                                                 2009)”

                                                 Fade to picture of President
                                                 Obama and Michelle Obama
                                                 enjoying themselves in
                                                 Hawaii.


        The “Ethics” television advertisement is not express advocacy under 11 CFR
100.22. The advertisement criticizes President Obama based on statements about his
“budget and tax priorities” and his nominees’ asserted lack of compliance with their tax
obligations. The advertisement exhorts viewers to “[c]all President Obama and tell him
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you don’t approve of his taxing behavior.” The advertisement contains no electoral
references.

        The Commission could not approve a response regarding the following
advertisements by the required four affirmative votes:

       E.     The “Environmental Policy” Radio Advertisement

              President Obama opposes the Government Litigation
              Savings Act. This is a tragedy for Wyoming ranchers and a
              boon to Obama’s environmentalist cronies. Obama cannot
              be counted on to represent Wyoming values and voices as
              President. This November, call your neighbors. Call your
              friends. Talk about ranching.

       F.     The “Environmental Policy” Facebook Advertisement

              (Picture of a Wyoming ranch, 110 pixels wide by 80 pixels
              tall)
              (Title: Learn About Ranching)
              Obama’s policies are a tragedy for Wyoming ranchers, and
              he does not represent our values. This November, learn
              about ranching.

       G.     The Gun Control Television Advertisement

               Audio:                           Video:
               Guns save lives.                 Newspaper clippings with
                                                headlines describing self-
                                                defense with firearms fade in,
                                                piling up one atop another.

               That’s why all Americans         Clippings dissolve to a picture
               should seriously doubt the       of President Obama, and one
               qualifications of Obama, an      newspaper headline below
               ardent supporter of gun          him: “President Obama
               control.                         defends attorney general
                                                regarding ATF tactics (LA
                                                Times, Oct. 6, 2011)”

               This fall, get enraged, get      Dissolves to a picture of the
               engaged, and get educated.       Wyoming state flag, panning
               And support Wyoming state        down to the Wyoming Capitol
               candidates who will protect      Building.
               your gun rights.
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     H.      The Budget Reform Television Advertisement

              AUDIO:                           Video:
              Congresswoman Lummis             Picture of Representative
              supported the Repeal             Lummis, superimposed “Tea
              Amendment, which would           Party Pushes Amendment to
              have restored fiscal sanity to   Veto Congress (AOL News,
              our federal debt.                Dec. 1, 2010)”

              Congresswoman Lummis is          Small videos of Representative
              brave in standing against the    Lummis fade in, speaking on
              political elite and deserves     news programs, meeting with
              your support. Make your          people, etc.
              voice heard.

              Do everything you can to         Wyoming flag fades in the
              support Congresswoman            background, returning to
              Lummis this fall and work        original picture of Rep.
              toward fiscal sanity.            Lummis.

     I.      The Educated Voter Votes on Principle Television Advertisement

              Audio:                           Video:
              Across America, millions of      Picture of President Obama
              citizens remain uninformed       shaking hands with Hugo
              about the truth of President     Chavez.
              Obama.

              Obama, a President who palled    Picture of Bill Ayers in
              around with Bill Ayers.          Weather Underground days,
                                               superimposed “Bill Ayers
                                               Dishes on Hosting a
                                               Fundraiser for Barack Obama
                                               (Big Government, Nov. 29,
                                               2011).”


                                               “House votes to Strip Funding
              Obama, a President who was       for ACORN (Fox News, Sept.
              cozy with ACORN.                 17, 2009)”

              Obama, a President destructive   Video of an ATF raid, fade to
              of our natural rights.           a video of TSA scanning
                                               individuals in line for airport.
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                Real voters vote on principle.     Fades to still shot of the Bill of
                Remember this nation’s             Rights, superimposed
                principles.                        “Remember this nation’s
                                                   principles.”

Question 2. Will Free Speech’s proposed donation requests be solicitations under the
Act?

       Two of Free Speech’s proposed donation requests – entitled “Strategic Speech”
and “Checking Boxes” – will not be solicitations under the Act. The Commission could
not approve a response regarding the remaining two proposed donation requests – entitled
“War Chest” and “Make Them Listen” – by the required four affirmative votes.
See 2 U.S.C. 437c(c); 11 CFR 112.4(a).

        The Act defines the term “contribution” to include “any gift, subscription, loan,
advance, or deposit of money or anything of value made by any person for the purpose of
influencing any election for Federal office.” 2 U.S.C. 431(8)(A)(i); see also 11 CFR
100.52(a). The Act requires “any person” who “solicits any contribution through any
broadcasting station, newspaper, magazine, outdoor advertising facility, mailing, or any
other type of general public political advertising” to include a specified disclaimer in the
solicitation. 2 U.S.C. 441d(a); see also 11 CFR 110.11(a)(3). Requests for funds that
“clearly indicate[] that the contributions will be targeted to the election or defeat of a
clearly identified candidate for federal office” are solicitations under the Act. FEC v.
Survival Education Fund, 65 F.3d 285, 295 (2d Cir. 1995) (analyzing communications
for purposes of 2 U.S.C. 441d(a)).

       A.      The “Strategic Speech” Donation Request

               This fall, 23 Democrat incumbents are up for election in the
               U.S. Senate. Seven have already decided to retire, but
               some, like John Tester of Montana, haven’t gotten the
               message. With your donation, we’ll strategically speak out
               against the expansion of government-run healthcare and so-
               called ‘clean energy’ boondoggles like Solyndra, which
               Senators like Tester fully support. It’s time to retire failed
               socialist policies.

        The donation request clearly indicates how the funds requested will be spent: by
“strategically speak[ing] out against the expansion of government-run healthcare and
so-called ‘clean energy’ boondoggles like Solyndra.” Although the donation request
identifies Senator Tester as supporting these initiatives and as an incumbent Senator up
for re-election who has not “gotten the message” that he should retire, it lacks language
“clearly indicating that the contributions will be targeted to the election or defeat of a
clearly identified candidate for federal office.” Survival Education Fund, 65 F.3d at 295.
Accordingly, this donation request is not a solicitation under the Act. Survival Education
Fund, 65 F.3d at 294-95.
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       B.      The “Checking Boxes” Donation Request

               ‘Leading from behind,’ President Obama takes advice from
               socialist staffers, usually choosing from a checklist of
               oppressive, debt-driven policies without even considering
               freedom-based and fiscally-conscious alternatives.
               Checking the right box on the November ballot is
               important, but like Obama’s memos it’s just not enough.
               Take the lead in making the message of Free Speech heard:
               your donation will inform real American leadership.

         The donation request clearly indicates how the funds requested will be spent:
“making the message of Free Speech heard” by “inform[ing] real American leadership.”
Although the request clearly identifies President Obama and refers to the November
ballot, it lacks language “clearly indicating that the contributions will be targeted to the
election or defeat of a clearly identified candidate for federal office.” Survival Education
Fund, 65 F.3d at 294-95. Accordingly, this donation request is not a solicitation under
the Act.

       The Commission could not approve a response regarding the following proposed
donation request by the required four affirmative votes:

       C.      The “Make Them Listen” Donation Request

               In 2010, the Tea Party movement ushered in an historic
               number of liberty-friendly legislators. But President
               Obama and his pals in Congress didn’t get the message:
               Stop the bailouts. No socialized healthcare. End
               oppressive taxes. But we won’t be silenced. Let’s win big
               this fall. Donate to Free Speech today.

       D.      The “War Chest” Donation Request

               Friends of freedom celebrated when the Supreme Court
               decided Citizens United. Now, more than ever, we can
               make the most effective use of your donations this coming
               fall. Donations given to Free Speech are funds spent on
               beating back the Obama agenda. Beating back Obama in
               the newspapers, on the airways, and against his $1 billion
               war chest.
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Question 3. Will the activities described in this advisory opinion request require Free
Speech to register and report to the Commission as a political committee?

        The Commission could not approve a response to Question 3 by the required four
affirmative votes. See 2 U.S.C. 437c(c); 11 CFR 112.4(a).

        This response constitutes an advisory opinion concerning the application of the
Act and Commission regulations to the specific transaction or activity set forth in your
request. See 2 U.S.C. 437f. The Commission emphasizes that, if there is a change in any
of the facts or assumptions presented, and such facts or assumptions are material to a
conclusion presented in this advisory opinion, then the requestors may not rely on that
conclusion as support for its proposed activity. Any person involved in any specific
transaction or activity which is indistinguishable in all its material aspects from the
transaction or activity with respect to which this advisory opinion is rendered may rely on
this advisory opinion. See 2 U.S.C. 437f(c)(1)(B). Please note the analysis or
conclusions in this advisory opinion may be affected by subsequent developments in the
law including, but not limited to, statutes, regulations, advisory opinions, and case law.

                                                     On behalf of the Commission,



                                                     (signed)
                                                     Caroline C. Hunter
                                                     Chair
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                     Exhibit E
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                    Exhibit F
                                                                   Case 1:18-cr-00032-DLF Document 181-6 Filed 08/19/19 Page 2 of 6



                                                                                                                                                                          I




                                                                       116TH CONGRESS
                                                                          1ST SESSION
                                                                                                             H. R. 2135
                                                                       To prevent foreign adversaries from influencing elections by prohibiting for-
                                                                           eign nationals from purchasing at any time a broadcast, cable, or satellite
                                                                           communication that mentions a clearly identified candidate for Federal
                                                                           office.




                                                                                     IN THE HOUSE OF REPRESENTATIVES
                                                                                                       APRIL 8, 2019
                                                                          Ms. SLOTKIN (for herself and Ms. STEFANIK) introduced the following bill;
                                                                               which was referred to the Committee on House Administration




                                                                                                                 A BILL
                                                                       To prevent foreign adversaries from influencing elections by
                                                                          prohibiting foreign nationals from purchasing at any time
                                                                          a broadcast, cable, or satellite communication that men-
                                                                          tions a clearly identified candidate for Federal office.

                                                                         1               Be it enacted by the Senate and House of Representa-
                                                                         2 tives of the United States of America in Congress assembled,
                                                                         3     SECTION 1. SHORT TITLE.

                                                                         4               This Act may be cited as the ‘‘Preventing Adversaries
                                                                         5 Internationally from Disbursing Advertising Dollars Act’’
                                                                         6 or the ‘‘PAID AD Act’’.
pamtmann on DSKBFK8HB2PROD with BILLS




                                        VerDate Sep 11 2014   00:43 Apr 18, 2019   Jkt 089200   PO 00000   Frm 00001   Fmt 6652   Sfmt 6201   E:\BILLS\H2135.IH   H2135
                                                                   Case 1:18-cr-00032-DLF Document 181-6 Filed 08/19/19 Page 3 of 6


                                                                                                                                  2
                                                                         1     SEC. 2. PURPOSE.

                                                                         2               The purpose of this Act is to protect the integrity
                                                                         3 of American democracy by expanding the scope of the pro-
                                                                         4 hibition on political advertising by foreign principals in
                                                                         5 order to uphold the well-established standard of the
                                                                         6 United States Supreme Court that foreign nationals may
                                                                         7 lawfully be excluded from participating in certain electoral
                                                                         8 activities.
                                                                         9     SEC. 3. SENSE OF CONGRESS.

                                                                       10                It is the sense of Congress that—
                                                                       11                         (1) the growing threat of malicious interference
                                                                       12                in our elections by foreign actors requires the Con-
                                                                       13                gress and the Federal Election Commission to take
                                                                       14                meaningful action to ensure that laws and regula-
                                                                       15                tions protect against influence by foreign nationals
                                                                       16                in activity fundamental to our democracy;
                                                                       17                         (2) the Supreme Court has long held that there
                                                                       18                is a compelling national interest in preventing for-
                                                                       19                eign influence in the United States political process
                                                                       20                and that foreign citizens lack a ‘‘constitutional right
                                                                       21                to participate in, and thus may be excluded from,
                                                                       22                activities of democratic self-government’’; and
                                                                       23                         (3) the current prohibition on foreign nationals
                                                                       24
pamtmann on DSKBFK8HB2PROD with BILLS




                                                                                         contributing to political campaigns and advertise-
                                                                       25                ments must be updated.


                                                                                    •HR 2135 IH

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                                                                                                                                  3
                                                                         1     SEC. 4. EXPANSION OF LIMITATION ON FOREIGN NATION-

                                                                         2                             ALS.

                                                                         3               (a)               DISBURSEMENTS                          DESCRIBED.—Section
                                                                         4 319(a)(1) of the Federal Election Campaign Act of 1971
                                                                         5 (52 U.S.C. 30121(a)(1)) is amended—
                                                                         6                        (1) by striking ‘‘or’’ at the end of subparagraph
                                                                         7               (B); and
                                                                         8                        (2) by striking subparagraph (C) and inserting
                                                                         9               the following:
                                                                       10                                  ‘‘(C) an expenditure;
                                                                       11                                  ‘‘(D) an independent expenditure;
                                                                       12                                  ‘‘(E) a disbursement for an electioneering
                                                                       13                         communication (within the meaning of section
                                                                       14                         304(f)(3));
                                                                       15                                  ‘‘(F) a disbursement for a paid internet or
                                                                       16                         paid digital communication that refers to a
                                                                       17                         clearly identified candidate for election for Fed-
                                                                       18                         eral office and is disseminated within 60 days
                                                                       19                         before a general, special or runoff election for
                                                                       20                         the office sought by the candidate or 30 days
                                                                       21                         before a primary or preference election, or a
                                                                       22                         convention or caucus of a political party that
                                                                       23                         has authority to nominate a candidate for the
                                                                       24
pamtmann on DSKBFK8HB2PROD with BILLS




                                                                                                  office sought by the candidate;
                                                                       25                                  ‘‘(G) a disbursement for a broadcast, cable
                                                                       26                         or satellite communication, or for a paid inter-
                                                                                    •HR 2135 IH

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                                                                                                                                  4
                                                                         1                        net or paid digital communication, that pro-
                                                                         2                        motes, supports, attacks or opposes the election
                                                                         3                        of a clearly identified candidate for Federal,
                                                                         4                        State, or local office (regardless of whether the
                                                                         5                        communication contains express advocacy or the
                                                                         6                        functional equivalent of express advocacy); or
                                                                         7                                 ‘‘(H) a disbursement for a broadcast,
                                                                         8                        cable, or satellite communication, or for any
                                                                         9                        communication which is placed or promoted for
                                                                       10                         a fee on an online platform, that discusses a
                                                                       11                         national legislative issue of public importance in
                                                                       12                         a year in which a regularly scheduled general
                                                                       13                         election for Federal office is held, but only if
                                                                       14                         the disbursement is made by a foreign principal
                                                                       15                         who is a government of a foreign country or a
                                                                       16                         foreign political party or an agent of such a for-
                                                                       17                         eign principal under the Foreign Agents Reg-
                                                                       18                         istration Act of 1938.’’.
                                                                       19                (b) DEFINITION                   OF      ONLINE PLATFORM.—Section
                                                                       20 319 of such Act (52 U.S.C. 30121) is amended by adding
                                                                       21 at the end the following new subsection:
                                                                       22                ‘‘(c) ONLINE PLATFORM.—As used in this section,
                                                                       23 the term ‘online platform’ means any public-facing
pamtmann on DSKBFK8HB2PROD with BILLS




                                                                       24 website, web application, or digital application (including
                                                                       25 a social network, ad network, or search engine) which—


                                                                                    •HR 2135 IH

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                                                                                                                                  5
                                                                         1                        ‘‘(1) sells qualified political advertisements; and
                                                                         2                        ‘‘(2) has 50,000,000 or more unique monthly
                                                                         3               United States visitors or users for a majority of
                                                                         4               months during the preceding 12 months.’’.
                                                                         5               (c) EFFECTIVE DATE.—The amendments made by
                                                                         6 this section shall apply with respect to disbursements
                                                                         7 made on or after the date of the enactment of this Act.
                                                                                                                                  Æ
pamtmann on DSKBFK8HB2PROD with BILLS




                                                                                    •HR 2135 IH

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                    Exhibit G
8/12/2019                Notice
                       Case     of proposed rulemaking on internet
                              1:18-cr-00032-DLF                    communication
                                                            Document       181-7 disclaimers
                                                                                       Filedand the definition of
                                                                                              08/19/19            “public2
                                                                                                               Page      communication”
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Home › FEC Record: Regulations

  › Notice of proposed rulemaking on internet communication disclaimers and the definition of “public communication”



  FEC RECORD: REGULATIONS

Notice of proposed rulemaking on internet communication
disclaimers and the definition of “public communication”
April 5, 2018




On March 26, 2018, the Commission published a Notice of Proposed Rulemaking (NPRM) on internet
communication disclaimers and the definition of “public communication” in the Federal Register (83
Fed. Reg. 12864). The NPRM seeks comment on proposed revisions to the disclaimer regulations as
applied to public communications over the internet.


Background

Under the Federal Election Campaign Act (the Act) and Commission regulations, a disclaimer must
appear on certain communications in order to identify who paid for the communication and, where
applicable, whether the communication was authorized by a candidate. With some exceptions, the Act
and Commission regulations require disclaimers for public communications that (1) are made by a
political committee, or (2) expressly advocate the election or defeat of a clearly identified federal
candidate or solicit a contribution.


The term "public communication" does not include internet communications other than
communications placed for a fee on another person’s website. Communications placed for a fee on
another person’s website are subject to disclaimer requirements as well.


For those communications requiring disclaimers, each disclaimer "must be presented in a clear and
conspicuous manner, to give the reader, observer or, listener adequate notice of the identity" of the
communication’s sponsor.


https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-communication-2018/                                       1/5
8/12/2019                Notice
                       Case     of proposed rulemaking on internet
                              1:18-cr-00032-DLF                    communication
                                                            Document       181-7 disclaimers
                                                                                       Filedand the definition of
                                                                                              08/19/19            “public3
                                                                                                               Page      communication”
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On November 2, 2016, the Commission published a notice seeking comment on a number of technology
related proposals, including updating the term “Web site” in the definition of “public communication” at
11 CFR 100.26. The Commission proposed to update the definition by adding communications placed
for a fee on another person’s “internet-enabled device or application” in addition to those on websites.


On October 13, 2011, the Commission published an ANPRM seeking comment on whether and how to
revise 11 CFR 110.11 concerning disclaimers on certain paid internet communications.On October 18,
2016, the Commission reopened the comment period on the internet disclaimers ANPRM to consider
legal and technological developments since the 2011 notice was published. In October 2017, the
Commission reopened the comment period on the disclaimer ANPRM to consider the disclaimer
requirements in light of developments since the close of the last comment period.


The Commission’s NPRM seeks comment on two alternative proposals to revise its regulations to
include disclaimers for paid video, audio, text and graphic advertisements that are distributed over the
internet. The Commission is interested in comments on the interaction between the proposed revised
definition of “public communication” and the proposed alternative disclaimer rule proposals. Comments
are welcome on any aspect of the proposals, including how differences between online platforms,
providers, and presentations may affect the application of any of the proposed disclaimer rules. In
addition, the Commission welcomes comment on whether the proposed rules allow for flexibility to
address future technological developments while honoring the important function of providing
disclaimers to voters.


Proposed rule revisions

Definition of public communication

The Commission is reopening the definition of “public communication” in 11 CFR 100.26 for the limited
purpose of determining whether to revise the current definition to include communications placed for a
fee on another person’s “internet-enabled device or application” in addition to those placed for a fee on
another person’s website. The Commission invites comment on whether the additional language would
be a clear and technically accurate way to refer to the various media through which paid internet
communications are and will be sent and received.


Disclaimers on public communications distributed over the internet



https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-communication-2018/                                       2/5
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                                                                                              08/19/19            “public4
                                                                                                               Page      communication”
                                                                                                                           of 6         | FEC

The Commission proposes two alternatives for addressing internet public communications in new
paragraph 11 CFR 110.11(c)(5); the second of these alternatives also proposes to add an exception from
the disclaimer rules at 11 CFR 110.11(f)(1) for some internet public communications. The Commission
proposes adding provisions to clarify the disclaimers required for different forms of internet public
communications and to identify when paid internet communications may employ a modified approach
to the disclaimer requirements.


Internet communications with audio and video components
Alternative A would apply the specific disclaimer requirements that now apply to radio and television
communications to public communications distributed over the internet that contain audio or video
components. Thus, for example, paid internet communications with a video component would be
required to satisfy the “stand by your ad” authorization statements under 11 CFR 110.11(c)(3) and (c)
(4), in addition to the general requirements that apply to all public communications requiring
disclaimers. Alternative B would require disclaimers on internet communications with audio and video
components to meet the same general requirements that apply to all public communications requiring
disclaimers, without imposing the additional “stand by your ad” disclaimer requirements.


Internet communications with text and graphic components
Alternative A proposes to adapt the specific disclaimer requirements that now apply to printed public
communications to apply to text and graphic public communications distributed over the internet in
addition to the general requirements that apply to all public communications requiring disclaimers.
Alternative B proposes to treat graphic, text, audio and video communications on the internet equally
for disclaimer purposes. As a result, Alternative B would require disclaimers on internet
communications with text or graphic components to meet the same general requirements that apply to
all public communications requiring disclaimers, without imposing additional specific disclaimer
requirements that may apply to “printed” communications.


Adapted disclaimers for text and graphic communications over the internet
Alternatives A and B both propose that some public communications distributed over the internet may
satisfy the disclaimer requirements by an “adapted disclaimer,” or abbreviated disclaimer on the face of
the communication in conjunction with a technological mechanism that leads to a full disclaimer, rather
than providing a full disclaimer on the face of the communication itself. Alternative A would allow
adapted disclaimers for certain small text or graphic public communications distributed over the
internet. Alternative B would allow adapted disclaimers for certain audio and video internet public
communications as well. Alternative A allows the use of an adapted disclaimer when a full disclaimer
https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-communication-2018/                                       3/5
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                                                                                                               Page      communication”
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cannot fit on the face or text of a graphic internet communication due to technological constraints.
Alternative B allows the use of an adapted disclaimer when a full disclaimer would occupy more than a
certain percentage (10%) of any internet public communication’s available time or space. Both proposals
would require that any technological mechanism used to provide access to a full disclaimer must do so
within one step from the adapted disclaimer. Both proposals provide a list of examples of technological
mechanisms for adapted disclaimers.


Exceptions to disclaimer rules for internet public communications
Finally, Alternative B proposes to exempt from the disclaimer requirement any internet public
communication that can provide neither a disclaimer in the communication itself nor an adapted
disclaimer. This exception is intended to replace the existing small items and impracticable exceptions
for internet public communications.


Public comments

All comments must be in writing. Commenters are encouraged to submit comments electronically via
the Commission’s website at sers.fec.gov/fosers/rulemaking.htm?pid=74739. Alternatively, commenters
may submit comments in paper form, addressed to the Federal Election Commission, Attn: Neven F.
Stipanovic, Acting Assistant General Counsel, 1050 First Street NE, Washington, DC 20463. All
comments must include the full name, city, and state of each commenter or they will not be considered.
The Commission will post all comments to its website and in the FEC’s Public Records Office at the
conclusion of the comment period.

Citations

Statute:


52 U.S.C. § 30120(a)
Identification of funding and authorizing sources


52 U.S.C. § 30101(22)
Definition of public communication


Regulations:


11 CFR 100.26
Definition of public communication
https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-communication-2018/                                       4/5
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                                                                                                               Page      communication”
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11 CFR 110.11
Communications; advertising; disclaimers


Resources

    Reopening of comment period: Federal Register notice (October 10, 2017) [PDF]

    Reopening of comment period and notice of hearing: Federal Register notice (October 18, 2016)
    [PDF]

    Advance Notice of Proposed Rulemaking: Federal Register notice (October 13, 2011) [PDF]

    Notice of Proposed Rulemaking on technological modernization: Federal Register notice (November
    2, 2016) [PDF]




AUTHOR

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Petition for rulemaking on use of campaign funds by former candidates and
officeholders

Related:

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This information is not intended to replace the law or to change its meaning, nor does this information create or confer
any rights for or on any person or bind the Federal Election Commission or the public.


The reader is encouraged also to consult the Federal Election Campaign Act of 1971, as amended (52 U.S.C. 30101 et seq.),
Commission regulations (Title 11 of the Code of Federal Regulations), Commission advisory opinions and applicable court
decisions.




https://www.fec.gov/updates/nprm-internet-communication-disclaimers-definition-public-communication-2018/                                       5/5
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                    Exhibit H
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                                                                     By Office of the Commission Secretary at 6:19 pm, Jun 13, 2019



                                                                        AGENDA DOCUMENT NO. 19-26-A
                                                                        AGENDA ITEM
                                                                        For the meeting of
                CHAIR ELLEN L. WEINTRAUB                                June 20, 2019
                FEDERAL ELECTION COMMISSION
                W A S H I N G T O N ,   D . C .   2 0 4 6 3




                                                              June 13, 2019

MEMORANDUM

TO:            Commission Secretary

FROM:          Ellen L. Weintraub, Chair

SUBJECT:       Internet Ad Disclaimers Rulemaking Proposal

        Americans deserve transparency when it comes to internet communications, especially as
we face the growing threat of online disinformation campaigns and false political advertising.
The FEC needs to do its part to combat these threats and make it harder for foreign adversaries to
interfere in our elections with their influence operations. Better rules for internet ads are a small
but necessary step. Internet ad disclaimers will enable the public to identify the sources of
political advertising on the internet.

        The Commission has been trying to address this issue since 2011, while internet political
ads proliferated without guidance. We witnessed a 260% increase in digital ads from the 2014
midterm elections to the 2018 midterm elections. Spending on digital political ads has reached
roughly $900 million. And interest in the Commission’s rulemaking has reached its peak. When
the Commission re-opened the comment period for this rulemaking in 2017 and 2018, it received
more than 314,000 comments combined. The overwhelming sentiment of the commenters
favored updating our disclaimer rules. We held public hearings and information sessions and
listened to hours upon hours of testimony. All that good work should yield something useful.

        It’s long past time to act. I am attaching a proposal that I would support. I hope that my
colleagues will engage with me in this effort to bring greater transparency to online political
advertising. I request that this memorandum and the attached draft be made public immediately
and placed on the Commission’s next Open Meeting Agenda, for June 20, 2019.
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           INTERNET AD DISCLAIMERS RULE PROPOSAL

                               June 20, 2019


§100.26 Public communication (52 U.S.C. 30101(22)).

Public communication means a communication by means of any broadcast,
cable, or satellite communication, newspaper, magazine, outdoor advertising
facility, mass mailing, or telephone bank to the general public, or any other
form of general public political advertising. The term general public political
advertising shall not include communications over the internet, except for (1)
communications produced for a fee and those placed or promoted for a fee on
another person’s website or digital device, application, service, or platform,
and (2) such communications included in section (1) that are then shared by
or to a website or digital device, application, service, or platform.



§ 110.11 Communications; advertising; disclaimers (52 U.S.C. 30120).

*** * *
(c) * * *
(5) Specific requirements for internet public communications.

(i) For purposes of this section, internet public communication means any
communication transmitted through the internet that is

(A) produced for a fee or is placed or promoted for a fee on another person’s
website or digital device, application, service, or platform, and

(B) such communications included in section (A) that are then shared by or to
a website or digital device, application, service, or platform.

(ii) In addition to the general requirements of paragraphs (b) and (c)(1) of
this section, a disclaimer required by paragraph (a) of this section that
appears on an internet public communication must comply with all of the
following:
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(A) An internet public communication with text or graphic components but
without any video component must include the full disclaimer required by
paragraph (c)(5)(ii)(A) except as provided by paragraph (g) of this section.
Such a communication must contain a disclaimer that is of sufficient type size
to be clearly readable by the recipient of the communication. A disclaimer
under this paragraph that appears in letters at least as large as the majority of
the other text in the communication satisfies the size requirement of this
paragraph. The disclaimer must be displayed with a reasonable degree of
color contrast between the background and the text of the disclaimer. The
disclaimer satisfies the color contrast requirement of this paragraph if it is
displayed in black text on a white background or if the degree of color
contrast between the background and the text of the disclaimer is no less than
the color contrast between the background and the largest text used in the
communication.

(B) An internet public communication with an audio component but without
video, graphic, or text components must include the statement described in
paragraphs (c)(3)(i) and (iv) of this section if authorized by a candidate, or
the statement described in paragraph (c)(4) of this section if not authorized
by a candidate.

(C) An internet public communication with a video component must include
the statement described in paragraphs (c)(3)(ii)–(iv) of this section if
authorized by a candidate, or the statement described in paragraph (c)(4) of
this section if not authorized by a candidate. If either the video or audio
components of the communication require an action by the viewer to be
launched or presented, the full disclaimer required by paragraph (c)(5)(ii)(A)
must appear on the face of the communication without any action taken by
the viewer.

***

(f) Exceptions.

(1) This paragraph (f) does not apply to internet public communications.

(2) The requirements of paragraphs (a) through (e) of this section do not
apply to the following:
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(i) Bumper stickers, pins, buttons, pens, and similar small items upon which
the disclaimer cannot be conveniently printed;

(ii) Skywriting, water towers, wearing apparel, or other means of displaying
an advertisement of such a nature that the inclusion of a disclaimer would be
impracticable; or

(iii) Checks, receipts, and similar items of minimal value that are used for
purely administrative purposes and do not contain a political message.



(rename (f)(2) to (f)(3))



(g) Specific exceptions for internet public communications.

(1) Definitions. For purposes of this section,

(i) Indicator means any visible or audible element associated with an internet
public communication that is presented in a clear and conspicuous manner
and gives notice to persons reading, observing, or listening to the internet
public communication that they may read, observe, or listen to a disclaimer
satisfying the general requirements of paragraphs (b) and (c)(1) of this
section through a technological mechanism. An indicator may take any form
including, but not limited to, words, images, sounds, symbols, and icons;

(ii) Technological mechanism means any use of technology that enables the
person reading, observing, or listening to an internet public communication to
read, observe, or listen to a disclaimer satisfying the general requirements of
paragraphs (b) and (c)(1) of this section after no more than one action by the
recipient of the internet public communication. A technological mechanism
may take any form including, but not limited to, hover-over mechanisms, pop-
up screens, scrolling text, rotating panels, and hyperlinks to a landing page;

(iii) Abbreviated disclaimer means a condensed version of the disclaimer
described by paragraphs (b) and (c)(1) of this section. An abbreviated
disclaimer must clearly state that the internet public communication is paid
for and identify the person or persons who paid for the internet public
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communication using their full name or a clearly recognized abbreviation or
acronym by which the person or persons are commonly known; and

(iv) Adapted disclaimer means an abbreviated disclaimer and an indicator
together with a technological mechanism. An adapted disclaimer must consist
of characters of sufficient size to be clearly readable by a recipient of the
internet public communication.

(2) The requirements of paragraph (c)(5) of this section do not apply to
internet public communications with text or graphic components but without
any video component when it is impracticable to provide a disclaimer
described by paragraphs (b) and (c)(1) of this section due to factors inherent
to the technology, in which case an adapted disclaimer must be used on the
face of the communication.

(rename (g) to (h))
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                      Exhibit I
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     1                                 FEDERAL ELECTION COMMISSION
     2
     3                               FIRST GENERAL COUNSEL'S REPORT
     4
     5                                                      MUR: 7205
     6                                                      DATE COMPLAINT FILED: 12/02/2016
     7                                                      DATE OF NOTIFICATION: 12/09/2016
     8                                                      LAST RESPONSE RECEIVED: N/A
     9                                                      DATE ACTIVATED: 05/03/2017
    10
    11                                                      ELECTION CYCLE: 2016
    12                                                      EXPIRATION OF SOL: 11/15/2021 - 12/13/2021
    13
    14   COMPLAINANTS:                                      Phillip Wiglesworth
    15                                                      Amy Rebecca James
    16
i   17
    18
         RESPONDENTS:                                       Jill Stein for President and Steven Welzer in
                                                                his official capacity as treasurer
    19
    20   RELEVANT STATUTES                                  52 U.S.C.§ 30121(a)(2)
    21   AND REGULATIONS:                                   11 C.F.R. § 100.91
    22                                                      11 C.F.R.§ 100.151
    23
    24   INTERNAL REPORTS CHECKED:                          Disclosure Reports
    25
    26   AGENCIES CHECKED:                                  None
    27
    28   I.      INTRODUCTION
    29
    30           The Complaint alleges that Jill Stein for President ("JSP") violated the Federal Election

    31   Campaign Act of 1971, as amended (the "Act"), by accepting foreign national donations in

    32   connection with its recount efforts following the 2016 presidential election. Based on the

    33   available information, vve recommend that the Commission dismiss the Complaint and close the

    34   file in this matter.

    35   11.     FACTUAL BACKGROUND

    36           Jill Stein was the Green Party's candidate for President of the United States during the

    37   2016 general election.' After the election. Stein announced her intention to challenge the




                 See FEC Form 2, Statement of Candidacy, Jill Stein (July 9,2015).
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      1   presidential election results in Wisconsin, Michigan, and Pennsylvania.^ JSP subsequently

     2    began raising money to effectuate the recounts, and ultimately raised more than $7,000,000 for

     3    the recount effort.^ JSP filed a recount petition with the Wisconsin Election Commission, and a

     4    recount was conducted in that state."* Although JSP attempted to have recounts conducted in

     5    Pennsylvania and Michigan, both of these attempted recounts were stopped by judicial order.^

     6             The Complaint alleges that an unknown number of donors to JSP's recount fund were

     7    foreign nationals.® In support, the Complaint notes that the JSP website permitted donors to

     8    announce their donation through various social media platforms, including Twitter, and asserts
j!
     9    that several Twitter users who announced their donations appear to not be U.S. citizens.' The

     10   Complaint provides a 116-page exhibit (the "Exhibit") consisting of screenshots of tweets from

     11   45 Twitter users who apparently donated to the recount effort.® Each tweet states "1Just donated

     12   to #Recount2016 and to help ensure election integrity. Join me."' Most of the 45 Twitter users


          ^        See Compl. at 5; see also Greens Demand Recounts in Wisconsin, Michigan, and Pennsylvania,
          http://www.jill2016.com/greens_demand_recounts (last visited Feb. 27,2018) {"Greens Demand Recounts,
          www.j i 112016.com").

          '        See 2016 Year-End Report, Jill Stein for President (Feb. 1, 2017); see also Greens Demand Recounts,
          www.jill2016.com ("We need your help to make sure your votes were counted accurately on Election Day. Please
          donate now to help maintain integrity in our elections. This effort to ensure election integrity is in your hands! In
          true grassroots fashion, we're turning to you, the people, and not big-money corporate donOrs to make this happen.")

          "        See Jill Stein Files Recount Petition in Wisconsin (Nov. 25,2016),
          http://www.jill2016.com/recountfilingwi. JSP disclosed a $3,499,689 recount filing fee paid to Wisconsin on
          November 29,2016. See 2016 Year-End Report at 298, Jill Stein for President. A separate Complaint alleges that
          Stein's recount effort resulted in excessive, in-kind contributions to Hillary for America ("HFA"), that HFA
          accepted these contributions by coordinating with JSP, and that donors to JSP for the recount who also contributed
          to HFA may have made excessive contributions to HFA. See iVfUR 7202, Compl. at 1-4.

          '      See Stein v. Cortes, 223 F. Supp. 3d 423,426 (E.D. Pa. 2016); Attorney Gen. v. Bd. of State Canvassers,
          318 Mich. App. 242, appeal withdrawn, 500 Mich. 907, 887 N.W.2d 785 (2016).

          ®        Compl. at 5-7.

          'Id.

          ^        Id., Ex. A. The Office of General Counsel has compiled an attachment to this report that summarizes the
          most relevant information from the Exhibit. See Attach. 1.

          '        See, e.g., Compl. at 13, 16, & 18.
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     1

     2    profiles, which the Complaint cites as evidence that the apparent donors may be foreign

     3    nationals.'® The Exhibit also includes, for some of the 45 Twitter users, screenshots and

     4    printouts of other tweets or other websites linked from their Twitter profiles that show purported

     5    foreign activity or residence in support of the allegation that they may not be U.S. citizens."

-    6    The Complaint acknowledges that some of the Twitter users included in the Exhibit might be

     7    U.S. citizens, but also notes that not all donors may have used JSP's web tool to arinounce their
4
     8    donations on Twitter.'^


f
it
     9

     10
                   A review of the archived version of JSP's website shows that its donation page did not



     11

     12            JSP did not respond to the Complaint.

     13
     14
     15            The Act and Commission regulations prohibit a foreign national from making a

     16
                    15 A "f
     17




                   Id.-, see also Attach. 1.

          "        Compl., Ex. A.

          '2       Id. at 5-7.

          "        See M 2016 (Donate),
          https://web.archive.Org/web/20170717144019/https://jillstein nationbuilder.com/donate (archived version from Nov.
          22,2016).

                   See Jill 2016 (Donate), https://www.jill2016.com/donate (last visited Mar. 1,2018). It does not appear that
          the archived version of this section of the page is available.

          '5       52 U.S.C. § 30121(a)(1)(A); 11 C.F.R. § 110.20(b).
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1    or a national of the United States and who is not lawfully admitted for permanent residence.

2    The Act further prohibits persons from soliciting, accepting, or receiving a contribution or

3    donation from a foreign national." The foreign national prohibition applies to funds that are

4    raised in connection with a recount.

5            The Complaint, in support of its allegation that JSP accepted foreign national donations,

6    provided various screenshots of Twitter profiles and tweets for individuals who claimed to have

7    donated to JSP for the recount.Most of the profiles appear to indicate that the user is located

8    outside the United States.^® At least one of the profiles of a purported JSP donor expressly states

9    that the user is not a United States citizen: the Twitter biography for user (^MaxWrite states that

10   Max is Canadian.^' Further, in response to @MaxWrite's tweet about donating to JSP's recount

11   effort, the following exchange occurred between (^MaxWrite and another Twitter user:

12                     @harleytime1: Are you even an American citizen?

13                     @MaxWrite: Nope ... Doesn't mean I shouldn't lend a hand.^^
14




              52 U.S.C. § 30121(b)(2). The term "foreign national" also includes "a partnership, association,
     corporation, organization, or other combination of persons organized under the laws of or having its principal place
     of business in a foreign country." 52 U.S.C. § 30121(b)(1); 22 U.S.C. § 611(b).'

     "         52 U.S.C. § 30121(a)(2). The Commission's regulations employ a "knowingly" standard here. 11 C.F.R.
     § 110.20(g). A person knowingly accepts a prohibited foreign national contribution or donation if that person has
     actual knowledge that funds originated from a foreign national, is aware of facts that would lead a reasonable person
     to conclude that there is a substantial probability that the funds originated from a foreign national, or is aware of
     facts that would lead a reasonable person to inquire whether the funds originated from a foreign national but failed
     to conduct a reasonable, inquiry. 11 C.F.R. § 110.20(a)(4).

              See 11 C.F.R. §§ 100.91, 100.151 (exempting funds raised during a recount from the definitions of
     "contribution" and "expenditure," respectively, but noting that 11 C.F.R. § 110.20, the foreign national prohibition,
     shall apply); Advisory Op. 2006-24 (NRSC & DSCC) at 5.

     "        Compl., Ex. A.

              Id.; see also Attach. 1.

     2'       Compl. at 12.

     22       W.atU.
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1             Information concerning a few of the other purported donors suggests that the individual is

2    a foreign national. For example, the Exhibit contains screenshots of Twitter user Khanh Treiu's

3    tweet announcing a donation to JSP, Treiu's Twitter profile linking to an IMDb profile page at a

4    Montenegro domain, and the IMDb page.^^ According to the linked IMDb profile, most of
                                                                                                 •



5    Trieu's biographical information and film work, dating back to when Trieu was six years old,

6    relate to the country of Australia, but neither the Twitter profile nor the IMDb profile indicates

7    Trieu's country of birth or nationality.^'^ Similarly, the Exhibit contains screenshots of Twitter

8    user Carl Robinson's tweet announcing a donation to JSP, and a cached version of Robinson's

9    Twitter profile shows a "Paris, France" location.^^ Robinson's current Twitter profile contains a

10   link to a Linkedln profile, which indicates that all of Robinson's educational and work

11   experience, dating back to public school graduation in 1998, took place in either the United

12   Kingdom, France, or China; Robinson's work history includes founding a language school in
                                                                                                                            t


13   Beijing in which "[a]ll our teachers were native speakers from the United Kingdom."^® Neither

14   Robinson's Twitter profile nor Linkedln profile indicates country of birth or nationality.

15   Likewise, the Exhibit contains a screenshot of Twitter user Shabbir Hussain's profile showing a

16   tweet announcing a donation to JSP, a "Karachi" location, and a link to Hussain's Facebook




                 Id. at 15 (showing Trieu's Twitter profile link to imdb me/khanhtrieu); see also Go Dadcfy (About .me
     Domains), https://www.godaddy.com/help/about-me-domains-4409 (last visited Feb. 26,2018) (describing the .me
     domain as a top level domain available to anyone that represents both Montenegro and you). Trieu's IMDb.me link
     is still in the Twitter profile and automatically redirects to IMDb.com, which describes itself as "the world's most
     popular and authoritative source for movie, TV and celebrity content." About IMDb.com,
     http;//www.imdb.com/pressroom/?ref_=fl:_pr (last visited Feb. 26,2018).

             Compl. at 17. Other IMDb profiles contain the actor's birthplace and citizenship. See generally IMDb
     (Daniel Day-Lewis: Biography), http://www.imdb.com/name/nm0000358/bio?ref_=nm_ov_bio_sm (last visited
     Feb. 26,2018) (noting Day-Lewis's English birthplace and Irish citizenship).

     "        See Compl. at 50.

              See Carl Robinson (2018) Linkedln profile, https://www.linkedin.com/in/carlrobinsOn/ (last visited Feb. 27,
     2018).
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 1   page.^^ The Exhibit also includes a screenshot of Hussain's Facebook profile indicating

2    hometown, current city, and educational experience all located in Pakistan.^® Neither Hussain's

3    Twitter profile nor Facebook profile indicates country of birth or nationality.

4            The available information also suggests, however, that some of the apparent donors

5    included in the Exhibit are U.S. citizens. For example, the Exhibit includes screenshots of

6    Twitter user Jillian's tweet announcing a donation to JSP, Twitter profile containing a biography

7    describing herself as a "Minneapolis girl lost somewhere in Scotland-land" and a link to her

8    Instagram page, and the Instagram page describing herself as a "Minnesota girl lost somewhere

9    in Scotland."^' Similarly, the Exhibit includes screenshots of Twitter user Nicole Thomas

10   Wyeth's tweet announcing a donation to JSP, Twitter profile showing a "Folkstone, England"

11   location, and biography description as an "American with British soul & sense of humour

12   The Exhibit also includes screenshots of Twitter user Lynn Morrison's tweet announcing a

13   donation to JSP, Twitter profile with a link to her webpage, and a screenshot of that webpage.^'

14   The About Me section of that webpage describes her as an "American raising two prim

15   princesses with her obnoxiously skinny Italian husband in Oxford, England."^^

16            JSP's disclosure reports do not show any itemized donations or contributions from any of

17   the names that are discernible from the Twitter profiles included in the Exhibit. Thus, while the

18   available information provides a reasonable inference that a small number of the 45 Twitter users



             See Compl. at 62.

             See id. at 64.

     »        Id. at 22.

              Id. at 25-26.

     3'       Id. at 70-72.

              Lynn Morrison, The Nomad Mom Diary (About Me), http://nomadmomdiary.coni/iynn-morrison/ (last
     visited Feb. 26,2018).
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       1    are foreign nationals, while also providing an inference that others are United States citizens, the

       2    only information suggesting that the users donated to the recount fund are the user's tweets.

       3    Further, the Complaint's allegations of foreign national interference do not contemplate

       4    safeguards JSP may have implemented to identify potential foreign national contributions.

       5    Though we do not know what, if any, specific safeguards JSP may have had in place, it appears

.'1^   6    that JSP's current donation page requests identifying information, including address, from

I       7   contributors, which would have allowed JSP to identify potential foreign national donations.
4            .
4      8            The information shows that only a small number of the identified Twitter users may be
i**
       9    foreign nationals and JSP's disclosure reports do not show donations or contributions from the

       10   names that are discernible from the Twitter profiles, suggesting that any donations may have
s
       11   been below the $200 itemization threshold.^^ Thus it appears that if any of these individual were

       12   foreign nationals and they actually donated to the recount fund, those donations were likely de

       13   minimis. In light of these circumstances, we do not believe that an investigation of the

       14   Complaint's allegations would be a prudent use of the Commission's limited resources.

       15            Accordingly, we recommend that the Commission exercise its prosecutorial discretion

       16   and dismiss the allegation that Jill Stein for President and Steven Welzer in his official capacity

       17   as treasurer violated 52 U.S.C. § 30121(b)(2) and close the file in this matter.

       18   IV.      RECOMMENDATIONS
       19
       20            1.      Dismiss the allegations that Jill Stein for President and Steven Welzer in his
       21                    official capacity as treasurer violated 52 U.S.C. § 30121(b)(2);
       22
       23            2.       Approve the attached Factual and Legal Analysis;
       24
       25            3.       Approve the appropriate letters; and
       26
       27

            "        See 52 U.S.C. § 30104(b)(3)(A).

            "        See Heckler v. Chaney, 470 U.S. 821,831 -32 (1985).
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 1           4.       Close the file.
 2
 3                                           Lisa J. Stevenson
 4                                           Acting General Counsel
 5
 6
 7      3/2/18
 8   Date                                    Kathleen M. Guith
 9                                           Associate General Cotmsel for Enforcement
10
11
12
13
14                                            Mark Allen
15                                            Assistant General Coimsel
16
17
18
19
20                                            Christopher L. Edwards
21                                            Attorney
22   Attachments;
23         (1) OGC Chait Siunmariziug lufonuation in Complainant's Exhibit A
24
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                          MUR 7205 - Summary of Information in Complainant's Exhibit A

Twitter Profile Name         Location'            Additional Relevant Information
and Handle
"Max" "@MaxWrite"            Toronto,             Twitter biography describes her as Canadian. The
                             Canada               Exhibit also contains a tweet from another user
                                                  saying "[a]re you even an American citizen?"
                                                  @MaxWrite responds by saying "[njope ... Doesn't
                                                  mean 1 shouldn't lend a hand."
"Khanh Trieu"                Sydney               The Exhibit contains his IMDb^ profile page, which lists biographical
"@khanhtrieu"                                     information relating to Australia and his work on Australian
                                                  films/television shows.
"Mr. P" "@MrPoIi80"    La Herradura,              N/A
                       Huixquilucan
"Pinky,RunLaughEatPie" Amhem, the                 Twitter biography says "#english # nederlands #US #NL # expat                 "
"®pinkypie"            Netherlands
"Jillian" "@Jillian"   Edinburgh,                 Twitter biography says "Minneapolis girl lost somewhere in Scotland-
                       Scotland                   land. ..." Also provides screenshot from her Instagram account which
                                                  says "Minnesota girl lost somewhere in Scotland       "
"Nicole Thomas Wyeth" Folkestone,                 Twitter biography says "American with British soul and sense of
"@8amNoCoffee"         England                    humour...."
"katycat" "@Jobsperry" Brazil                     In response to her tweet that she donated to JSP's recount fund, another
                                                  user tweeted to her "why do you care how our elections are conducted?
                                                  And who are you to say that they are not held with integrity?"
"Alexandra Fresch"            Guelph, ON          N/A
"@afresch"
"mugoya mahd"                Dubai, United In response to his tweet that he donated to JSP's recount fund, another
"^mugmahd"                   Arab Emirates user tweeted to him "that's against American law isn't it?"
"rye"                        Toroncouver N/A
"^lightboxgallery"
"Stacie Hood"                Cayman                  N/A
"®staciehood"                Islands
"eliza moore"                Montreal             N/A
"@elizamoore"
"Amanda Mesaikos"             London                 N/A
"®amandamesaikos"
"Ibracadabra"                 Mexico                 N/A
"OJBRAdrago"
"Rachel Linn"                 London                 Twitter biography indicates she is in "London via Cambridge via
"@rachellinn"                                        California."
          As displayed on subject Twitter profile.

        ^ IMDb.com is a website that provides biographical information for individuals in the film/television industry.
        Khanh Trieu appears to work as an actor.


                                                                                                                Attachment I
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Twitter Profile Name     Location        Additional Relevant Information
and Handle
"Benny Kaufman"          Democratic      N/A
"@Benny_Kaufman"         Republic of
                         Congo
"yankinyoukay"           London,         N/A
"@yankinyoukay"          England
"Carl Robinson"          Paris, France   Current Twitter profile provides a link to his Linkedin profile page,
"@_carlrobinson"                         which , indicates that all of his work and educational experience,
                                         dating back to 1998, took place either in the United Kingdom,
                                         France, or China; Robinson's work history includes founding a
                                         language school in Beijing in which "[a]ll our teachers were native
                                         speakers from the United Kingdom."
"Thomas Lienart"         N/A             The Exhibit includes a screenshot from the webpage of the web
"@thewildcat22"                          design agency that he works for, which is written in French.
"Jason the Earthquake"   Morlya, Japan   N/A
   nowasfor jason"
"Jo" "@deepestbluesea"   London .        N/A
"Colby Benari"           London,         Her tweet that she donated to JSP's recount fund is specifically
"@cbenari"               England         directed to U.S. citizens. In response to her tweet that she donated to
                                         JSP's recount fund, another user tweeted to her "Thanks! You just
                                         made it even easier to send @DrJillStein to prison for violating
                                         @FEC election laws on accepting foreign $!"
"Shabbir Hussain"        Karachi         In response to his tweet that he donated to JSP's recount fund,
"@networkerspro"                         multiple individuals tweeted to him and suggested that he was not a
                                         U.S. citizen. The Exhibit also includes a link to his Facebook page,
                                         which says that his current city and hometown are both in Pakistan.
"Aileen Payumo"          Manila,         Twitter biography describes her as a "[rjepatriate of the Philippines."
"@aileenpayumo"          Philippines
"Thomas C. King"         Lancaster,      The Exhibit includes a printout of his personal webpage, which
"@Thomas_C_King"         England         indicates he is a researcher at Lancaster University.
"Lynn Morrison"          Oxford, UK      The Exhibit includes a printout of her personal webpage, which
"@NomadMomDiary"                         describes her as a "smart-ass American raising two prim princesses
                                         with her obnoxiously skinny Italian husband in Oxford, England."
"Sean Lim"               N/A             In response to his tweet that he donated to JSP's recount fund,
"@theseoulite"                           another user tweeted to him "[w]hy is Korea donating $ to
                                         #recount2016! More foreign funds!" In response, Lim tweets "don't
                                         be a troll gigi. I am an overseas U.S. voter. Are you a Russian


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Twitter Profile Name       Location         Additional Relevant Information
and Handle
                                            operative? @CIA plz investigate."

"Tom Torsney-Weir"         Vienna, Austria Twitter biography states that he studies at the University of Vienna.
"^Sabysbrain"
"HB" "@heidicando"         Canada           In response to his tweet that he donated to JSP's recount fund,
                                            another user tweeted to him "[i]f you are for #Electionlntegrity are
                                            you also for ensuring that only ^American citizens eligible to vote
                                            can do so? #VoterlD." In response, he tweeted "of course!"
"[Twitter profile name     Casablanca       The Exhibit includes a screenshot of her Linkedin profile, which
not in English letters]"                    references several foreign institutions.
"@symptia"
"Ray of Chinarabia"        N/A              A snapshot of his website, which appears to focus on China, is
"@RayofChinarabia"                          included with the Exhibit. That website describes him with the
                                            following: "[IJong story short, raised in America from the Midwest to
                                            the West Coast on a starchy diet of movies and comics and science
                                            fiction paperbacks. There's a Mid-East connection in there too ...
                                            Lived in Shenzhen, China, since 2008...."

"Roxana Mullaf'            Jordan            N/A
"@roxmilz"
"Davida Chazan"            Jerusalem,        The Exhibit provides a screenshot from her book review website,
"@ChocolateLady57"         Israel            which states that she is originally from Evanston, Illinois, and moved
                                             to Israel at the age of 21.

"Michelle Medeiros"        Amsterdam         N/A
"®Tapaut"
"Star624" "@Star624"       South East,       N/A
                           England

"Jillian Schedneck"        Adelaide,       The Exhibit provides a screenshot from her travel website, which
"@JSchedneck"              South Australia references time spent both in the U.S. and overseas.

"Lowsy" "@Nazgullow"       New Zealand       N/A

"Alyssa Bradac"            Calgary,          N/A
"@ADBradac"                Canada

"Stacey DeAmicis"          Plymouth, UK      N/A
"@ukadventuregurl"
"viviana narotzky"         Mostly Europe     The Exhibit includes a screenshot of her Linkedin profile, which
"@vnarotzky"                                 references work with foreign institutions.


                                                                                               Anachment 1
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    Twitter Profile Name     Location       Additional Relevant Information
    and Handle

    "Chris Brody"            London         The Exhibit includes a screenshot to his website, which indicates that
    "@cbrody"                               he runs a South-London based IT consultancy.

    "Gabriela Sosa"          Vancouver,     N/A
    "@gabrielasosa"          B.C., Canada

    "Natasha M Drissi"       N/A            Twitter profile indicates she is a PhD student at the University of
    "@,yakusoku"                            Linkoping in Sweden.

    "Ann Aguirre"            Sayavedra,     N/A
)   "@MsAnnAguirre"          Mexico
4
4   "Jesse Pinho"            Berlin,        N/A
4   "@jessepinho"            Germany




                                                                                               Attachment 1
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          R Edits July 27, 2018

                                          FEDERAL ELECTION COMMISSION

     1                                     FACTUAL AND LEGAL ANALYSIS
     2
     3    RESPONDENTS:              Jill Stein for President and Steven Welzer in                           MUR 7205
     4                                       his official capacity as treasurer
     5
     6    1.      INTRODUCTION

     7            The Complaint alleges that Jill Stein for President ("JSP") violated the Federal Election

     8    Campaign Act of 1971, as amended (the "Act"), by accepting foreign national donations in

[)   9    connection with its recount efforts following the 2016 presidential election.
4
4    10   11.     FACTUAL AND LEGAL ANALYSIS
S;
')   11           A. Factual Background

4    12           Jill Stein was the Green Party's candidate for President of the United States during the

     13   2016 general election.' After the election. Stein announced her intention to challenge the

     14   presidential election results in Wisconsin, Michigan, and Pennsylvania.^ JSP subsequently

     15   began raising money to effectuate the recounts, and ultimately raised more than $7,000,000 for

     16   the recount effort.^ JSP filed a recount petition with the Wisconsin Election Commission, and a

     17   recount was conducted in that state.'^




          '       5eeFECF6rm2, Statement of Candidacy, Jill Stein (July 9,2015).
          •        See Compl. at 5; see also Greens Demand Recounts in Wisconsin, Michigan, and Pennsylvania,
          http://www.jill2016.com/greens_demand_recounts (last visited Feb. 27,2018) {"Greens Demand Recounts,
          www.jill20l6.com").
          ^        See 2016 Year-End Report, Jill Stein for President (Feb. 1,2017); see also Greens Demand Recounts,
          vmw.jill2016.com ("We need your help to make sure your votes were counted accurately on Election Day. Please
          donate now to help maintain integrity in our elections. This effort to ensure election integrity is in your hands! In
          true grassroots fashion, we're turning to you, the people, and not big-money corporate donors to make this happen.")
          *        See Jill Stein Files Recount Petition in Wisconsin (Nov. 25, 2016),
          http://wvm.jill2016.com/recountfilingwi. JSP disclosed a $3,499,689 recount filing fee paid to Wisconsin on
          November 29,2016. See 2016 Year-End Report at 298, Jill Stein for President.



                                                                                                            ATTACHMENT 2
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         Factual and Legal Analysis for MUR 7205
         Jill Stein for President
         Page 2 of7

    1            The Complaint alleges that an unknown number of donors to JSP's recount fund were

    2    foreign nationals.^ In support, the Complaint notes that the JSP website permitted donors to

    3    announce their donation through various social media platforms, including Twitter, and asserts

    4    that several Twitter users who announced their donations appear to not be U.S. citizens.® The

    5    Complaint provides a 116-page exhibit (the "Exhibit") consisting of screenshots of tweets from

    6    45 Twitter users who apparently donated to the recount effort.' Each tweet states "I just donated

    7    to #Recount2016 and to help ensure election integrity. Join me."® Most of the 45 Twitter users

4   8    included in the Exhibit entered a foreign location in the optional "Location" field in their Twitter

    9    profiles, which the Complaint cites as evidence that the apparent donors may be foreign

    10   nationals.® The Exhibit also includes, for some of the 45 Twitter users, screenshots and printouts

    11   of other tweets or other websites linked from their Twitter profiles that show purported foreign

    12   activity or residence in support of the allegation that they may not be U.S. citizens.'® The

    13   Complaint acknowledges that some of the Twitter users included in the Exhibit might be U.S.

    14   citizens, but also notes that not all donors may have used JSP's web tool to announce their

    15   donations on Twitter.''




         '       Compl. at 5-7.
         ^       Id.
                  Id., Ex. A. The Office of General Counsel has compiled an attachment to this report that summarizes the
         most relevant information from the Exhibit. See Attach. 1.
         '       See, e.g., Compl. at 13, 16, & 18.
         '       Id.; see also Attach. I.
                 Compl., Ex. A.
         "        Id. at 5-7.



                                                                                                        .ATTACHMENT 2
                                                                                                              Page 2 of7
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          Factual and Legal Analysis for N4UR 7205
          Jill Stein for President
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     1            A review of the archived version of JSP's website shows that its donation page did not

     2    mention the prohibition on foreign national contributions.'^ JSP's current donation page requires

     3    certain identifying information, such as address, from all contributors.'^

     4            JSP did not respond to the Complaint.

     5            B. Legal Analysis

     6            The Act and Commission regulations prohibit a foreign national from making a

11    7   contribution or donation, directly or indirectly, in connection with a federal, state, or local
il   8    election.'" A "foreign national" includes an individual who is not a citizen of the United States

|>   9    or a national of the United States and who is not lawfully admitted for permanent residence.

j|   10   The Act further prohibits persons from soliciting, accepting, or receiving a contribution or

     11   donation from a foreign national.'® The foreign national prohibition applies to funds that are

     12   raised in connection with a recount."




                   See Jill 2016 (Donate),
          https://web.archive.Org/web/20l70717l44019/https://jillstein nationbuiider.com/donate (archived version from Nov.
          22,2016).
          "        See Jill 2016 (Donate), https://www.J ill2016.com/donate (last visited Mar. 1, 2018). It does not appear that
          the archived version of this section of the page is available.
                   52 U.S.C. § 30121(a)(1)(A); 11 C.F.R. § 110.20(b).
                   52 U.S.C. § 30121(b)(2). The term "foreign national" also includes "a partnership, association,
          corporation, organization, or other combination of persons organized under the laws of or having its principal place
          ofbusiness in a foreign country." 52 U.S.C. § 30121(b)(1); 22 U.S.C. § 611(b).
                    52 U.S.C. § 30121(a)(2). The Commission's regulations employ a "knowingly" standard here. 11 C.F.R.
          § 110.20(g). A person knowingly accepts a prohibited foreign national contribution or donation if that person has
          actual knowledge that funds originated from a foreign national, is aware of facts that would lead a reasonable person
          to conclude that there is a substantial probability that the funds originated from a foreign national, or is aware of
          facts that would lead a reasonable person to inquire whether the funds originated from a foreign national but failed
          to conduct a reasonable inquiry. 11 C.F.R. § 110.20(a)(4).
                   See 11 C.F.R. §§ 100.91,100.151 (exempting funds raised during a recount from the definitions of
          "contribution" and "expenditure," respectively, but noting that 11 C.F.R. § 110.20, the foreign national prohibition,
          shall apply); Advisory Op. 2006-24 (NRSC & DSCC) at 5.



                                                                                                             ATTACHMENT 2
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          Factual and Legal Analysis for MUR 7205
          Jill Stein for President
          Page 4 of7

     1            The Complaint, in support of its allegation that JSP accepted foreign national donations,

     2    provided various screenshots of Twitter profiles and tweets for individuals who claimed to have

     3    donated to JSP for the recount.      Most of the profiles appear to indicate that the user is located

     4    outside the United States." At least one of the profiles of a purported JSP donor expressly states

     5    that the user is not a United States citizen: the Twitter biography for user @MaxWrite states that

     6    Max is Canadian.^® Information concerning a few of the other purported donors suggests that

     7    they are foreign nationals, while some of the apparent donors included in the Exhibit are U.S.

     8    citizens.

     9            JSP's disclosure reports do not show any itemized donations or contributions from any of

     10   the names that are discernible from the Twitter profiles included in the Exhibit. Thus, while the
iJ   11   available information provides a reasonable inference that a small number of the 45 Twitter users

     12   are foreign nationals, while also providing an inference that others are United States citizens, the

     13   only information suggesting that the users donated to the recount fund are the user's tweets.

     14   Further, the Complaint's allegations of foreign national interference do not contemplate

     15   safeguards JSP may have implemented to identify potential foreign national contributions.

     16   Though we do not know what, if any, specific safeguards JSP may have had in place, it appears

     17   that JSP's current donation page requests identifying information, including address, from

     18   contributors, which would have allowed JSP to identify potential foreign national donations.




          "       Compl., Ex. A.
          "       Id.-, see also Attach. 1.
                  Compl. at 12.



                                                                                                 ATTACHMENT 2
                                                                                                      Page 4 of 7
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     Factual and Legal Analysis for MUR 7205
     Jill Stein for President
     Page 5 of?

1            The information shows that only a small number of the identified Twitter users may be

2    foreign nationals and JSP's disclosure reports do not show donations or contributions from the

3    names that are discemible from the Twitter profiles, suggesting that any donations may have

4    been below the $200 itemization threshold.^' Thus is appears that if any of these individuals

5    were foreign nationals and they actually donated to the recount fund, those donations were likely

6    de minimis. In light of these circumstances, the Commission does not believe that an

 7   investigation of the Complaint's allegations would be a prudent use of the Commission's limited

8    resources.

9            Accordingly, the Commission exercises its prosecutorial discretion and dismisses the

10   allegation that Jill Stein for President and Steven Welzer in his official capacity as treasurer

11   violated 52 U.S.C. § 30121(b)(2) and close the file in this matter.




             See 52 U.S.C. § 30104(b)(3)(A).
     "       See Heckler v. Chaney, 470 U.S. 821,831-32 (1985).


                                                                                          ATTACHMENT 2
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                     Exhibit J
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                                          INSTRUCTIONS FOR FEC FORM 05 AND RELATED SCHEDULES

                                                  FEDERAL ELECTION COMMISSION
                                INSTRUCTIONS FOR PREPARING FEC FORM 5
     (Report of Independent Expenditures Made and Contributions Received
            to be Used by Persons Other Than Political Committees)


Who Must File                                       a television or radio station or cable     $10,000 or more and are made more
   Every person, group of persons or                television or satellite system. 11 CFR     than 20 days before the election (“48-
organization, other than a political                100.29(b)(3). “Publicly disseminated”      hour reports”); or 2) aggregate $1,000
committee, that makes or contracts to               refers to communications made public       or more and are made less than twenty
make independent expenditures aggre-                via other media (e.g., newspapers, mag-    days before the election (“24-hour
gating in excess of $250 with respect to            azines, etc.) 11 CFR 104.4(f). See also,   reports”). See below.
a given election in a calendar year must            “Interpretive Rule on When Certain
report these expenditures by submitting             Independent Expenditures are ‘Publicly     48-Hour Reports
FEC Form 5 or a signed statement                    Disseminated’ for Reporting Purposes,”         In addition to quarterly reports, any
satisfying the requirements of 11 CFR               76 FR 61254 (2011).
                                                                                               person that makes or contracts to make
109.10. (Political committees that make                 Name of Employer means the organi-
                                                                                               independent expenditures aggregating
independent expenditures shall report               zation or person by whom an individual
                                                    is employed, rather than the name of his   $10,000 or more with respect to a given
them on FEC Form 3X, Schedule E.)                                                              election during the calendar year up to
   Note: Individuals and other persons              or her supervisor. Individuals who are
                                                    self employed should indicate “selfem-     and including the 20th day before an
must file this form in an electronic
                                                    ployed.”                                   election must report these expenditures
format under 11 CFR 104.18 if they
make independent expenditures in                        Occupation means the principal job     within 48 hours. The report must be
excess of $50,000 in a calendar year,               title or position of an individual.        received no later than 11:59 p.m. East-
or if they have reason to expect that                   Purpose means a brief statement or     ern Standard/Daylight Time on the
they will exceed this threshold during              description of why the disbursement        second day following the date on which
the calendar year. If you have reached              was made.                                  an independent expenditure is pub-
this level of activity, you must file this                                                     licly distributed or disseminated. The
form in an electronic format. Contact               When to File                               person must continue to file additional
the FEC for more information on filing                 Each calendar year is divided into      48-hour reports every time subsequent
electronically.                                     quarterly reporting periods. Reports for   independent expenditures reach the
                                                    independent expenditures are due on        $10,000 threshold with respect to the
Definitions                                         April 15, July 15, October 15 and Jan-     same election to which the first report
   Contribution means any gift, sub-                uary 31 of the following year and must     related. The report must include all of
scription, loan, advance or deposit of              include all reportable contributions       the information required on Form 5
money or anything of value made by                  received and independent expenditures      and by 11 CFR 109.10(e), including a
any person for the purpose of inflencing            made from the closing date of the last
                                                                                               statement indicating whether the inde-
any election for federal office.                    report filed through the end of the cal-
                                                                                               pendent expenditure was in support of,
   Independent expenditure means an                 endar quarter for which the report is
                                                    submitted. 11 CFR 109.10(b).               or in opposition to, a particular candi-
expenditure by a person for a communi-                                                         date and a verified certification under
cation expressly advocating the election               File reports of independent expen-
                                                    ditures made during the calendar           penalty of perjury as to whether such
or defeat of a clearly identified candi-
                                                    quarter reporting period in which these    expenditure was made in cooperation,
date that is not made with the coopera-
tion or prior consent of, in consultation           expenditures aggregate in excess of $250   consultation or concert with, or at the
with, or at the request or suggestion of,           with respect to a given election in the    request or suggestion of any candidate
a candidate or an agent or authorized               calendar year, and for any subsequent      or authorized committee or agent or
committee of a candidate or a political             quarter that year in which additional      a political party committee or agents
party committee or its agents. 11 CFR               independent expenditures for that elec-    thereof. All 48-hour reports shall be
100.16. For a definition of “expressly              tion of any amount are made.               filed with the Federal Election Commis-
advocating,” see 11 CFR 100.22.                        In addition to this quarterly report-   sion. Filers other than electronic filers
   Publicly Distributed or Publicly Dis-            ing of independent expenditures, more      may submit 48-hour reports by fax (to
seminated. “Publicly distributed” means             timely reports are required for indepen-   202-219-0174) or electronic mail (to
aired, broadcast, cablecast or otherwise            dent expenditures with respect to the      2022190174@fec.gov). All filers may
disseminated through the facilities of              same election that either: 1) aggregate
                                                                                               submit reports online at www.fec.gov.
Federal Election Commission (Revised 09/2013)
                                                                                                                                    Page 1
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                            INSTRUCTIONS FOR FEC FORM 05 AND RELATED SCHEDULES


24-Hour Reports                              expenditures made in Guam, North-           Additional 24- or 48-hour reports are
    In addition to the quarterly reports     ern Mariana Islands or Puerto Rico          required each time subsequent indepen-
and 48-hour reports, persons who make        supporting or opposing a candidate          dent expenditures reach the applicable
independent expenditures aggregating         for President or Vice President, submit     $1,000 or $10,000 threshold.
$1,000 or more with respect to a given       a copy of this form to the territory in
                                                                                         LINE 6. Total Contributions. Enter
election after the twentieth day but more    which the expenditure is made. As of
                                                                                         total contributions received during the
than 24 hours before 12:01a.m. of the        August 2013, these territories had not
                                                                                         reporting period, including contribu-
day of the election must file 24-hour        qualified for the Commission’s state
                                                                                         tions of $200 or less that were not item-
reports. The report must be received by      filing waiver program.
                                                                                         ized on Schedule 5-A. When submitting
11:59 p.m. Eastern Standard/Daylight                                                     multiple forms for a single period, enter
Time on the day following the date on        Record retention. Persons filing inde-
                                                                                         total on page 1.
which an independent expenditure is          pendent expenditure reports must retain
publicly distributed or disseminated.        copies of their reports for a period of     LINE 7. Total Independent Expen-
These reports must contain all of the        not less than 3 years from the date of      ditures. Enter the total amount of
information required on Form 5 and           filing.                                     independent expenditures made during
by 11 CFR 109.10(e), including a                                                         this reporting period. When submitting
statement indicating whether the inde-       Line By Line Instructions                   multiple forms for a single period, enter
pendent expenditure was in support of,                                                   total on page 1.
                                             LINE 1. Name of Individual, Organiza-
or in opposition to, a particular candi-     tion or Corporation. Provide the name
date and a verified certification under                                                  Verification
                                             and mailing address of the filer.              FEC FORM 5 must be signed by the
penalty of perjury as to whether such
independent expenditure was made in          LINE 2. Individual filers—provide           person making the independent expen-
cooperation, consultation or concert         the name of your employer and your          diture, who must certify verifiably under
with, or at the request or suggestion of     occupation.                                 penalty of perjury that the expenditure
any candidate or authorized committee                                                    was not made in cooperation, consulta-
                                             LINE 3. FEC Identification Number.          tion or concert with, or at the request or
or agent or a political party committee      First time filers—leave this line blank.
or its agents. All 24-hour reports shall                                                 suggestion of any candidate or autho-
                                             Previous filers with an identification      rized committee or agent or a political
be filed with the Federal Election Com-      number—enter that number.
mission. Filers other than electronic                                                    party committee or its agents. 11 CFR
filers may submit 24-hour reports by         LINE 4. Type of Report. (a). Indicate       109.10(e)(1)(v) and (2). Electronic filers:
fax (to 202-219-0174) or electronic mail     the type of report being filed by check-    Type the name of the person making
(to 2022190174@fec.gov). All filers may      ing the appropriate box. For “48-Hour”      the independent expenditure after the
submit reports online at www.fec.gov.        and “24-Hour” reports, check the box        certification.
                                             “48-Hour Report” or “24-Hour Report”
Special election reporting                   as applicable.                              Instructions for Schedule 5-A
   The Commission establishes separate                                                   (Itemized Receipts)
                                             (b). Indicate if the report is an amend-
reporting schedules for special elections.                                                  Provide the requested information for
                                             ment and, if so, what report it amends.
Contact the Commission for special                                                       each contribution over $200 that was
election reporting dates.                    LINE 5. Covering Period. For quarterly      made for the purpose of furthering the
                                             reports, enter the report coverage dates.   independent expenditures.
Where To File                                Include all activity from the ending
   File all reports using this Form with     coverage date of the last report filed      Instructions for Schedule
the Federal Election Commission,             or from the date of the filer’s initial     5-E (Itemized Independent
1050 First Street, N.E., Washington,         receipt or disbursement, as appropri-       Expenditures)
DC 20463. Filers other than electronic       ate. When submitting multiple forms            Once the total of independent expen-
filers may submit reports by fax (to         for a single period, indicate the current   ditures made exceeds $250 per election
202-219-0174) or electronic mail (to         page number and total pages submitted       in a calendar year, provide the requested
2022190174@ fec.gov). All filers may         for the period. Coverage dates are not      information about the payee, the date
submit reports online at www.fec.gov.        required on 24- and 48-hour reports.        the independent expenditure was made
   For reports of independent expen-         Filers that nevertheless choose to enter    and the amount. For purposes of
ditures supporting or opposing a can-        a covering period may use the first and     determining whether 24- and 48-hour
didate in Guam, Northern Mariana             last dates on which the communication       Reports must be filed, calculate the
Islands or Puerto Rico for the House,        airs. For communications that are paid      aggregated amount of expenditures
submit a copy of this form to the            entirely in advance and run indefinitely,   (including enforceable contracts obli-
territory in which the candidate seeks       the filer may enter the date on which the   gating funds for disbursement) as of
election. For reports of independent         communication first airs through the        the first date on which a communica-
                                             date of the applicable election.
Page 2                                                                                              Federal Election Commission (Revised 09/2013)
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                                          INSTRUCTIONS FOR FEC FORM 05 AND RELATED SCHEDULES


tion which constitutes an independent
expenditure is publicly distributed or
otherwise publicly disseminated, and
as of the date that any such communi-
cation with respect to the same election
is subsequently publicly distributed or
otherwise publicly disseminated. 11
CFR 104.4(f). See also, “Interpretive
Rule on When Certain Independent
Expenditures are ‘Publicly Dissemi-
nated’ for Reporting Purposes,” 76 FR
61254 (2011).
   Indicate under “Purpose of Expen-
diture,” the specific type of communi-
cation made (e.g., television ad, radio
ad). Along with reporting the purpose
of the expenditure, filers should also
broadly characterize each disbursement
by providing a category/type code, such
as the example listed below. Note that
the category/type code is not intended
to replace or to serve as a substitute for
the “purpose of disbursement.”
004 Advertising Expenses -including
    general public political advertising
    (e.g., purchases of radio/television
    broadcast/cable time, print adver-
    tisements and related production
    costs)
   Identify the candidate supported
or opposed by the independent expen-
diture by indicating the candidate’s
name, office sought and the election
for which the disbursement was made.
Also, list the total amount expended in
the aggregate during the calendar year,
per election, per office sought.
   Subtotal the expenditures at the
bottom of Schedule 5-E and add them
to the subtotal of unitemized indepen-
dent expenditures at the bottom of the
last Schedule 5-E page. Carry the total
forward to Line 7 of Form 5.




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                     Exhibit K
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                Office of the Inspector General
                U.S. Department of Justice




    Audit of the National Security
     Division’s Enforcement and
 Administration of the Foreign Agents
           Registration Act




Audit Division 16-24                                          September 2016
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        AUDIT OF THE NATIONAL SECURITY DIVISION’S
     ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                AGENTS REGISTRATION ACT

                            EXECUTIVE SUMMARY

       The Foreign Agents Registration Act of 1938 (FARA), 22 U.S.C § 611 et seq.,
as amended, is a disclosure statute that requires persons acting as agents of
foreign principals in a political or quasi-political capacity to make periodic public
disclosure of their relationship with the foreign principal, as well as activities,
receipts, and disbursements in support of those activities. According to the
Department of Justice (Department), this disclosure facilitates evaluation by the
government and the American people of the statements and activities of such
persons in light of their function as foreign agents. The FARA Registration Unit
(FARA Unit) of the Counterintelligence and Export Control Section (CES) within the
Department’s National Security Division (NSD) is responsible for the administration
and enforcement of the Act. A willful failure to register as an agent of a foreign
principal may result in criminal prosecution and a sentence of a fine and up to 5
years in prison. There also is a civil enforcement provision that permits the
Department to seek to enjoin a party from acting as an agent of a foreign principal
in violation of FARA.

      This review was initiated in response to a requirement by the U.S. House of
Representatives Committee on Appropriations that the OIG review the
Department's enforcement of FARA. Based on this direction, our audit objectives
were to review and evaluate the monitoring and enforcement actions taken by the
Department to ensure appropriate registration, and to identify areas for the
Department to consider seeking legislative or administrative improvements.

       During our audit, we found that the number of active FARA registrations
peaked in the 1980s, with a high of 916 active registrations in 1987, and began to
fall sharply in the mid-1990s. The Department has not performed an analysis on
the decline, but NSD officials speculated that the imposition of FARA registration
fees in 1993 and the passage of the Lobbying Disclosure Act (LDA), which carved
out a significant exemption to FARA in 1995, were likely factors. In addition to the
declining trend in registrations, we also found that there historically have been very
few FARA prosecutions. Between 1966 and 2015 the Department only brought
seven criminal FARA cases – one resulted in a conviction at trial for conspiracy to
violate FARA and other statutes, two pleaded guilty to violating FARA, two others
pleaded guilty to non-FARA charges, and the remaining two cases were dismissed.
We were also told by NSD that the Department has not sought civil injunctive relief
under FARA since 1991.

      In discussions with several Federal Bureau of Investigation (FBI)
counterintelligence agents and Assistant United States Attorneys (AUSA), as well as
NSD officials, we found differing understandings between field agents and
prosecutors and NSD officials about the intent of FARA as well as what constitutes a


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“FARA case.” The primary difference stemmed from the belief of investigators that
investigations conducted pursuant to a separate criminal provision, 18 U.S.C. § 951
(Section 951), were FARA cases. However, NSD officials stated that unlike FARA
and the LDA, Section 951 can be aimed at political or non-political activities of
agents under the control of foreign governments. Although registration under FARA
can serve as the required notification to the Attorney General under Section 951,
the criminal activity targeted is different. According to NSD officials, who must
approve both FARA and Section 951 cases, a true FARA case can only be brought
pursuant to 22 U.S.C. § 611, et seq., and these officials stated that NSD currently
is engaged in ongoing outreach activities that will help better educate investigators
about FARA. We believe these differing understandings are indicative of the lack of
a comprehensive Department enforcement strategy on FARA, which the
Department should develop and integrate with its overall national security efforts.

       Further, the majority of those agents interviewed believed that NSD’s review
of what they believed to be FARA cases was generally slow and that NSD is
reluctant to approve these charges. Some investigators believed that NSD has a
clear preference toward pursuing registration for alleged FARA violators rather than
seeking prosecution, which in their opinion, leaves an important counterintelligence
tool underutilized. NSD officials told us that they believed that even though
criminal penalties are available under FARA, the primary goal of FARA is in fact to
ensure appropriate registration and public disclosure. These NSD officials also
disputed that there is any reluctance on their part to approve either true FARA or
Section 951 cases, and stated that they approve charges when the evidence
presented leads them to judge that a provable willful violation exists.

        Timely submission of required documentation is essential for full and
complete public disclosure. However, we found in our testing that 62 percent of
initial registrations were untimely, and that 50 percent of registrants filed at least
one supplemental statement late. We also found that NSD needs to improve its
controls and oversight of FARA registrations, particularly involving its inspections of
registered foreign agents and enforcing the complete and timely submission of
required documentation. Agents of foreign principals are required to maintain
records of activities on behalf of their principal for the duration of the agreement
and 3 years thereafter. These records are subject to inspection by the NSD’s FARA
Unit. If an inspection identifies deficiencies in an agent’s disclosures, the FARA Unit
advises the registrant of the deficiencies and actions required for resolution. We
noted, however, that several inspection recommendations issued by the FARA unit
still remained unresolved and believe that NSD can further improve its monitoring
efforts by developing a policy to ensure appropriate resolution of recommendations
identified in its inspection reports. NSD stressed to us that because the FARA Unit
has limited staff and considerable responsibilities follow-up can be difficult. We
understand this challenge but believe improvements can still be made.

       With regard to potential legislative improvements, NSD officials stated that a
major difficulty is a lack of authority to compel the production of information from
persons who may be agents. As a result, NSD is currently pursuing civil
investigative demand (CID) authority from Congress in order to enhance its ability


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to assess the need for potential agents to register. While we concur that CID could
be a useful tool for NSD, there are important competing considerations at stake,
and we believe that any expansion of such authority must also include appropriate
controls and oversight to ensure it is used appropriately. Another difficulty NSD
cited relates to the breadth and scope of existing exemptions to the FARA
registration requirement and determining whether activities performed by certain
groups, such as think tanks, non-governmental organizations, university and
college campus groups, foreign media entities, and grassroots organizations that
may receive funding and direction from foreign governments fall within or outside
those exemptions. According to the FARA Unit, these types of organizations
generally claim that they act independently of foreign control or are not serving a
foreign interest and are not required to register.

       NSD officials also told us that the enactment of the LDA in 1995 may have
contributed to the recent decline in FARA registrations. The LDA focuses on those
engaged in lobbying activities on behalf of domestic and foreign interests and those
agents of foreign principals who engage in lobbying activities and who register
under the LDA, and, as a result, are exempt from registration under FARA.
However, NSD believes that because FARA disclosure requirements are more
rigorous than those of the LDA, those lobbying on behalf of foreign commercial
interests should not be exempt from FARA registration. We believe that the
development of an enforcement strategy for FARA cases should include an
assessment of the LDA exemption and its impact to determine if legislative changes
should be sought.

       In this report we make 14 recommendations to help improve NSD’s
enforcement and administration of FARA. We found that several of these
recommendations were similar to those made over the years in reports by the
Government Accountability Office, and its predecessor the General Accounting
Office, and by public interest organizations, and that these recommendations
should be seriously considered if the purposes of FARA are to be fully realized.




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         AUDIT OF THE NATIONAL SECURITY DIVISION’S
      ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                 AGENTS REGISTRATION ACT

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         AUDIT OF THE NATIONAL SECURITY DIVISION’S
      ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                 AGENTS REGISTRATION ACT

                                      INTRODUCTION

       The Foreign Agents Registration Act (FARA) of 1938, as amended, requires
persons acting as agents of foreign principals in a political or quasi-political capacity
to make periodic public disclosure of their relationship with the foreign principal, as
well as their activities, receipts and disbursements in support of those activities.1
According to the Department of Justice (Department or DOJ), such disclosure
enables the American people to evaluate the statements and activities of such
persons in light of their function as foreign agents.

       Individuals or entities may act as agents or employees of foreign
governments or interests on a variety of matters, including for instance lobbying a
member or committee within Congress. FARA requires an agent, upon entering into
an agreement with a foreign principal, to submit an initial registration to the
Department. This registration must describe the agent registering, the foreign
principal, the nature of work to be performed, and include a copy of the agreement
between the agent and the associated foreign principal. These registrations must
be filed within 10 days of an agreement to become an agent of a foreign principal,
and the foreign agent must pay a filing fee of $305.2

      Every 6 months after the initial filing, the agent is required to submit a
supplemental statement to the FARA Unit describing activities performed during
that period and the amounts paid for that work. Each supplemental statement also
requires the agent to pay an additional $305 fee for each foreign principal
represented during the period.

       The agent also is required to submit to the FARA Unit any informational
materials produced on behalf of the principal and transmitted to two or more
persons within 48 hours of transmittal. These informational materials must contain
a conspicuous statement that the materials were distributed by an agent on behalf
of a foreign principal, and that further information is on file with DOJ.

       As discussed in detail below, there are multiple exemptions to FARA
registration requirements, including persons whose activities are of a purely
commercial nature or solely of a religious, scholastic, academic, scientific or fine
arts nature, as well as attorneys engaged in legal representation of foreign
principals so long as they do not try to influence policy at the behest of their client.
In addition, any agent who is engaged in lobbying activities and is registered under

       1
           22 U.S.C. § 611, et seq.
       2
         Specific requirements for the registration and its submission are contained in a regulation
promulgated by the Department, 28 C.F.R. § 5.1, et seq.




                                                  1
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the Lobbying Disclosure Act (LDA) is exempt from registration under FARA if the
representation is on behalf of a foreign commercial interest rather than a foreign
government or foreign political party.3 As we discuss later in the report, there are
different requirements for registrants under the LDA that may impact the
Department’s efforts under FARA. LDA is administered by Congress rather than the
Department. FARA Unit staff told us they review LDA filings, typically once a
month, looking for potential FARA registrants. The unit looks for direction, control,
and tasking from a foreign government. When a potential FARA obligation is found,
the unit sends the potential registrant a letter of inquiry.

History of FARA

        FARA was enacted in 1938 in response to recommendations of a special
congressional committee investigating anti-American activities in the United States.
The committee studied the rise of propaganda activity by European fascist and
communist governments to determine whether the United States needed a new
means to protect its citizens from political propaganda from foreign sources. A
significant finding of the committee’s study was that the Nazi German government
had established an extensive underground propaganda apparatus using American
firms and citizens.

       From its passage in 1938 until amendments made in 1966, FARA primarily
focused on propagandists. The 1966 amendments, which still form the core of the
current Act, shifted its focus to protecting the integrity of the government’s
decision-making process and to the identity of the sources of political propaganda.
The 1966 amendments also narrowed the reach of FARA so that the government
has to prove that a foreign agent is acting at the order, request, or under the
direction and control of a foreign principal. The amendments led DOJ to allow
persons who believe they may be subject to FARA requirements, or their attorneys,
to request an advisory opinion from the Department regarding their obligation to
register.4 According to FARA Unit staff, the 1966 amendments reduced the
incidence of criminal FARA prosecutions in favor of increased civil and
administrative resolution of FARA violations.

       The next significant legislative change affecting FARA resulted from the 1995
passage of the LDA. Under the LDA, any agent who is engaged in lobbying activities
and is registered under the LDA is exempt from FARA registration if the
representation is on behalf of a foreign commercial interest rather than a foreign
government or foreign political party. The term “political propaganda” was also
removed from FARA and replaced with the term “informational materials,” which is
not defined. According to FARA Unit staff, Congress believed the term
“propaganda” to be an unnecessary remnant of the original law and believed the



      3
          2 U.S.C § 613(h).
      4
          28 C.F.R. § 5.2




                                          2
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change to “informational materials” reflected the shift in focus to the public
disclosure of agents engaged in the U.S. political process.

NSD’s Administration and Enforcement of FARA

       The National Security Division’s (NSD) Counterintelligence and Export Control
Section (CES), and its FARA Registration Unit are primarily responsible for the
enforcement and administration of FARA. CES and the FARA Unit have been part of
NSD since the Division’s creation in 2006. Prior to 2006, CES and the FARA Unit
were part of the Department’s Criminal Division. The NSD maintains a publicly
available page on the Department’s website at www.fara.gov, which contains
information on the statute and filing requirements and contact information for the
FARA Unit. The fara.gov webpage also contains an e-filing capability for
registrations, a document search page that allows for public access to initial and
supplemental registration statements and their Exhibits, and the semiannual
reports from the Department to Congress that are required by the Act and list
registered agents of foreign interests and their activities. FARA cases are primarily
investigated by Federal Bureau of Investigation (FBI) counterintelligence agents
and prosecuted by United States Attorney’s Offices (USAO) after receiving NSD
approval as required by Section 9-90.710 of the United States Attorneys’ Manual.
A willful violation of FARA, including false statements or omission of material facts,
carries a penalty of a fine or imprisonment for up to 5 years, or both.

        During our audit the FARA Unit was comprised of one Unit Chief, who is also
an attorney; two staff attorneys; one Supervisory Program Manager; one
Intelligence Research Specialist; one Program Specialist; and two Case
Management Specialists.5 NSD staff emphasized that this is a limited staff, which is
responsible for a considerable range of activities. The unit is responsible for
processing and monitoring new and existing FARA registrations on an ongoing
basis. This includes receiving, reviewing and processing documentation and
payments, and addressing late or inaccurate submissions. The unit also performs
periodic formal inspections to assess the adequacy of registrant reporting and
disclosure, and conducts open source searches to identify individuals that may be
obligated to register. It also provides, upon request, advisory opinions to
individuals who are unsure whether FARA registration is required of them and
maintains foreign agent submissions in electronic and hard copy form for public
consumption. The unit has received 14 requests for advisory opinions since the
beginning of 2013. We inquired whether advisory opinions were made publicly
available as an informational resource. Unit staff responded that advisory opinions
are not made public, adding that each request is unique, opinions rely on the
information provided by the requestor, and that advisory requests involve proposed
activity. However we note that the Office of the Inspector General (OIG) posts
investigative findings on its public website, and that the DOJ Criminal Division posts

       5
          One of these two staff attorneys joined the FARA Unit during our audit. At the conclusion of
our audit we were informed that the FARA Unit was back to one staff attorney, however the unit
planned to hire a replacement.




                                                  3
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Foreign Corrupt Practices Act opinions as well, both in anonymized form.6 We
believe the FARA advisory opinions may be a worthwhile informational resource,
and recommend NSD consider whether there is value in making them publicly
available. The FARA Unit also assists CES, FBI and USAOs with FARA-related
investigations as needed.

       The FARA Unit Chief reports to the Section Chief of CES. As noted above, the
U.S. Attorneys’ Manual requires NSD approval before a USAO can charge a FARA
violation. CES reviews and approves or declines FARA charges in consultation with
the FARA Unit.




       6
          See https://oig.justice.gov/reports/inv-findings.htm and https://www.justice.gov/criminal-
fraud/opinion-procedure-releases.




                                                  4
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FARA Registration Trends

       We compiled data on foreign agent registrations under FARA from 1966 to
the present. The following charts show the number of annual active and new
registered agents and foreign principals as of the end of each calendar year.

                                     Figure 1
               Active Registrants and Foreign Principals per Year




Source: www.fara.gov

                                     Figure 2
                 New Registrant and Foreign Principals per Year




Source: www.fara.gov

       As reflected in Figures 1 and 2 above, the number of active registrations for
foreign agents under FARA peaked at 916 in 1987. However, in the mid-1990s
active FARA registrations began falling sharply after the imposition of fees in 1993
and the passage of the LDA in 1995, leaving a total of 360 as of the end of 2014.
Consequently, the number of active foreign principals also fell sharply in the mid-
1990s from a high of 2079 in 1991, and was at 561 as of the end of 2014. New
registrations have followed a similar trend, peaking at 157 in 1986 to a total of 66
new registrations in 2014. Since the abrupt decline in the mid-1990s, registrations
have continued to trend down, albeit at a more gradual pace.


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       While no formal analysis on the decline has been performed by the
Department, FARA Unit staff speculated that the imposition of FARA registration
fees in 1993 and the passage of the LDA in 1995 were likely factors. While the OIG
does not dispute that these factors played some role in declining number of FARA
registrations, we could not definitively correlate specific causation for the declining
trend.7

OIG Audit Approach

       The Department of Justice Office of the Inspector General (OIG) initiated this
audit at the request of the U.S. House of Representatives Committee on
Appropriations, which required the OIG to review the Department’s enforcement of
FARA. The Committee requirement specifically directed the OIG to review the
Department’s enforcement of FARA, specifying:

        The report should take into account FARA filing trends and foreign
        government tactics to engage in public advocacy in the United States
        while avoiding FARA registration. The report shall recommend
        administrative or legislative options for the improvement of FARA
        enforcement.8

      Based on this request, the objectives of our audit were to review and
evaluate the monitoring and enforcement actions taken by the Department to
ensure appropriate registration, and to identify areas for the Department to
consider seeking legislative or administrative improvements.

       We also inquired about tactics to avoid FARA registration and learned from
the Assistant United States Attorneys (AUSA) and FBI case agents with whom we
spoke that the impetus for FARA avoidance often appears to come not from the
foreign principal, but from the agent, who is conscious of the need to preserve
credibility by concealing the support of the foreign principal. FBI staff told us the
foreign principal typically is indifferent to FARA requirements. The FARA Unit
disagreed with the FBI staff assessment and told us that in its experience foreign
principals are not indifferent to FARA requirements.

        To accomplish our objectives, we interviewed staff from the National Security
Division, including its Counterintelligence and Export Control Section and its FARA
Unit. We also interviewed AUSAs and FBI counterintelligence agents from district
and field offices involved with FARA investigations. We also spoke with staff from
the FBI’s Counterintelligence Division and National Security Law Branch, and with
staff from the Department of Justice’s Office of Legislative Affairs. Lastly, we


       7
          Direct staff knowledge of the FARA Unit’s history extends back to 1984. The Unit Chief has
been with the FARA Unit since that time.
        8
              House Report 113-448- Commerce, Justice, Science, and Related Agencies Appropriations
Bill, 2015.




                                                    6
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reviewed FARA registered agent documentation and FARA Unit records and
communications.

       The results of our audit are detailed in the Findings and Recommendations
section of this report. Appendix 1 contains more information about our objectives,
scope, and methodology, and Appendix 2 provides information on prior reports
conducted by both government and private organizations that have reviewed the
Department’s administration and enforcement of FARA.

Prior Reports

       Our research identified three prior reports prepared by the General
Accounting Office (now known as the Government Accountability Office) that dealt
with the administration and enforcement of the Foreign Agents Registration Act.9
Although these reports date back to 1974, 1980, and 1990, they identified some of
the same issues identified in this report, including timeliness and the use of
available enforcement tools. We believe that these recommendations should be
seriously considered if the purposes of FARA are to be fully realized. Additional
details on these reports, as well as more recent reports produced by public interest
organizations, can be found in Appendix 2.




          9
              There also was a 2008 GAO report that referenced certain FARA authorities as discussed
below.




                                                     7
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                      FINDINGS AND RECOMMENDATIONS

        We found that field level agents and prosecutors expressed frustration
        as they attempted to develop FARA investigations due to the
        perception that NSD, which must concur before charges can proceed,
        is reluctant to approve FARA charges. NSD officials denied that they
        are reluctant to approve FARA charges and told us that in the few
        instances where FARA charges were proposed but not pursued it was
        due to insufficient evidence of willful conduct necessary to bring a
        FARA case. Nevertheless, NSD officials acknowledged that
        communication about why cases might not be approved can be
        improved. NSD officials also acknowledged that even though criminal
        penalties are available under FARA, it primarily views FARA as
        disclosure statute, and this could also be communicated better to field
        agents and prosecutors. We believe this is indicative of the lack of a
        comprehensive FARA enforcement strategy, which the Department
        should develop and integrate with its overall national security efforts.
        In addition, we found that FARA registrants often submitted required
        documentation late, and were not always responsive to FARA Unit
        requests and recommendations to update information and correct
        deficiencies. We also learned about several proposals developed by
        NSD for legislative improvements to FARA that could improve its
        enforcement efforts if enacted.

Efforts to Enforce FARA

       During our audit we found that historically there have been hardly any FARA
prosecutions. Over the past 50 years, between 1966 and 2015, the Department
reported to us that it brought, in total, only seven criminal FARA cases – one
resulted in a conviction at trial for conspiracy to violate FARA and other statutes,
two pleaded guilty to violating FARA, two others pleaded guilty to non-FARA
charges, and the remaining two cases were dismissed.10 Another was approved for
prosecution by NSD in November 2015.11 We also found that the NSD does not
track the number of FARA cases declined for prosecution, or the reasons for such
declinations. Therefore, the OIG cannot determine quantitatively whether foreign
governments employ any specific tactics to avoid FARA registration. We did,
however, review the cases that have been filed alleging FARA violations and spoke
to the FARA Unit Chief about this topic. The FARA Unit Chief noted that foreign
government lobbying in the United States is not itself inappropriate or unlawful, and
that foreign agents who are not otherwise exempt must register under FARA. While

        10
            According to the Department, the two dismissed FARA cases resulted from a statute of
limitations issue, and the resignation of the principal prosecutor handling the case, respectively.
        11
           In addition to criminal penalties, FARA allows the Department to seek civil injunctive relief
when it identifies a foreign agent it believes to be in violation of the statute. The last civil
enforcement action by NSD occurred in 1991. As explained in further detail in this report, NSD has
been reluctant to pursue civil injunctive relief since that time.




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foreign governments may be creative in their attempt to influence U.S. policy and
sway public opinion, if it is done in a way that does not create a statutory agency
relationship on the part of the agent acting within the United States at the direction
or control of the foreign government, then there is no agent of a foreign principal
with an obligation under FARA.

FARA Criminal Investigations and Prosecutions

       We learned that the focus of the FARA Registration Unit’s enforcement efforts
is encouraging voluntary compliance, rather than pursuing criminal or civil charges.
Conversely, we found that FBI and USAO staff members with whom we spoke are
actively pursuing FARA criminal charges. FBI staff told us they believe this to be an
effective tool carrying sufficient penalties to deter foreign principals from exerting
undisclosed influence, or to compel the development of cooperating sources.
Although NSD officials disagreed with the assessment offered by these FBI staff
members, we believe this disagreement reflects the lack of a comprehensive
Department enforcement strategy, and a lack of mutual understanding and clarity
in enforcement goals as discussed in greater detail below.

        This was confirmed when we spoke about the process for pursuing FARA
prosecutions with NSD officials, as well as FBI counterintelligence agents and
AUSAs with experience investigating FARA cases. During these discussions we
found differing understandings between field agents and prosecutors and NSD
officials about the intent of FARA as well as what constitutes a prosecutable FARA
case. Most notably, when we discussed FARA with FBI personnel, we found that
they considered a “FARA case” to be a case investigated pursuant to either the
FARA, 22 U.S.C. § 611, et seq., or 18 U.S.C. § 951 (Section 951), which is the
federal statute that provides criminal penalties for certain agents of foreign
governments who act in the United States without first notifying the Attorney
General.12 Unlike Section 951, FARA requires agents of foreign principals engaged
in legal political or quasi-political activities such as lobbying, government and public
relations, tourism promotion, and foreign economic development activities in the
United States to register and make detailed disclosures of their activities in the
United States conducted on behalf of their foreign principals.13

      By contrast, Section 951 was described to us by the NSD as “espionage lite”
because a Section 951 case generally involves espionage-like or clandestine
behavior or an otherwise provable connection to an intelligence service, or
information gathering or procurement-type activity on behalf of a foreign
        12
           According to NSD, notification under Section 951 may be made by registration under FARA
in circumstances where the activity requiring notice is disclosed on the FARA registration form.
        13
            Political activities are defined by the statute as “any activity that the person engaging in
believes will, or that the person intends to, in any way influence any agency or official of the
Government of the United States or any section of the public within the United States with reference
to formulating, adopting, or changing the domestic or foreign policies of the United States or with
reference to the political or public interests, policies, or relations of a government of a foreign country
or a foreign political party.”




                                                     9
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government. Although FARA registration can serve as the required notification to
the Attorney General under Section 951, NSD officials told us FARA and Section 951
involve different sets of elements and different types of issues. According to NSD
officials, only 22 U.S.C. 611 et seq. constitutes a FARA case. Nevertheless, NSD
officials acknowledged the differing views on what constitutes a FARA charge and
are currently engaged in an ongoing effort to better educate field investigators and
prosecutors on the difference. However, in reviewing the training developed by
NSD we noted that it did not appear to include specifics on how FARA cases would
gain approval to proceed from NSD or what is included in case reviews to give
agents and prosecutors an understanding of the length of time needed for such
reviews. We therefore recommend that NSD update its current training for
investigators and prosecutors to include information about the time it takes and the
process used by NSD to approve or deny these cases for prosecution.

        We asked the FBI for data about FARA cases presented and not prosecuted,
but we were told by the FBI that their case coding commingles both FARA and
Section 951 cases. Therefore, we were unable to isolate cases presented under
FARA alone. We believe segregating these two types of cases in the FBI’s
classification codes may help advance NSD’s efforts to clarify the distinction for
case agents, and we recommend NSD discuss the feasibility of this with the FBI.

       In addition, the majority of FBI field personnel we interviewed believed that
NSD’s review of FARA cases was generally slow and that NSD is reluctant to
approve FARA charges, although these individuals generally speculated as to why
NSD might be reluctant. We found that the NSD does not track the timeliness of its
handling of FARA referrals, with the general view that the matters will take as long
as they take. One person from the FBI with whom we spoke told us that, as a
result, what could be an extraordinarily effective tool has instead become a point of
contention and frustration, and found not just a lack of support from NSD, but
“negative support.” Some FBI personnel we spoke with told us that CES generally
appeared to lack confidence in FARA because it was too seldom used or too difficult
to prosecute. Most personnel from the FBI however told us that they came away
from their interactions frustrated with CES because they were not given any
explanation from CES as to why what they believed to be solid evidence of a FARA
violation was declined for prosecution.14 Some of these agents noted that NSD has
a clear preference toward pursuing registration for alleged FARA violators rather
than seeking prosecution, in keeping with its voluntary compliance approach. FBI
and USAO staff we spoke with told us that they have been asked, repeatedly in
some instances, to solicit voluntary registration from targets of investigations
despite the fact that it is evident to the investigators that the target has no
intention of complying. NSD officials denied this and stated that the FARA Unit is
unaware of any instance in which it requested the FBI or any USAO to ask the
target of an ongoing criminal investigation to register.


       14
          Cf. USAM 9-27.270(A), providing that attorneys from the government should ensure that
the reasons for declinations are communicated to the investigative agency and documented in the file.




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       Further, FBI personnel with whom we spoke believed that FARA carries a
penalty sufficient enough to serve as a deterrent to both the agent and his foreign
principal or to induce the target of an investigation to become a cooperating source.
These agents felt that the Department’s reluctance to bring charges in FARA cases
resulted in missed opportunities to deter agents of foreign principals from criminal
or other misconduct or to obtain valuable cooperation. Some staff with whom we
spoke expressed concern about case agent morale and discouragement toward
pursuing future FARA investigations as a result of this reluctance.

       We also heard frustration expressed from FBI and AUSAs with respect to the
parameters of CES’ approval authority. For example, in one instance, we were told
that CES cited jury appeal as a factor in declining a FARA prosecution. The AUSAs
and FBI staff we spoke to about this expressed doubt whether it was appropriate
for CES to overrule local prosecutors, who were in a much better position to assess
the jury appeal of a case in their local jurisdiction, on this basis. NSD disagreed
with this view, and told us that in any circumstance where NSD has approval
authority, it must reach a conclusion by assessing prosecution risk as per the
U.S. Attorney’s Manual to obtain and sustain a conviction. Among the matrix of
factors it considers are how a case is presented, and the risk of jury nullification.

       We also noted that some of the AUSAs and FBI personnel with whom we
spoke recognized the value of CES’ role in the process and, in particular, stated CES
can provide sound judgment, experience, and expertise when evaluating FARA
investigations. Some also praised the new leadership at CES for its willingness to
be more candid and communicative with the FBI and the USAOs.

       CES officials acknowledged to us that even though criminal penalties are
available under FARA, the primary goal of FARA is in fact to ensure appropriate
registration and public disclosure. These NSD officials also disputed that there is
any reluctance on their part to approve FARA criminal charges (or Section
951 charges), and stated that criminal charges are approved when the evidence
presented leads them to judge that a provable criminal violation has occurred. NSD
also stated that criminal FARA cases are difficult to prove because prosecutors
under FARA must demonstrate both willfulness on the part of the accused to avoid
registration or to make a false statement or omission in their filings, and that the
agent was directed and controlled by a foreign principal. Though we do not dispute
these difficulties, we found that there was not a coordinated strategy on FARA
enforcement at the Department and, in particular, there was no strategy addressing
how FARA fits into the Department’s overall national security efforts. We therefore
recommend that the Department develop a comprehensive strategy for the
enforcement and administration of FARA that includes the agencies that perform
FARA investigations and prosecutions and integrates with the Department’s overall
national security efforts. We also recommend that the NSD ensure that it informs
investigators and prosecutors in a timely fashion of the reasons for which FARA
cases are not approved.

      In addition, because NSD does not track the number of cases it receives for
enforcement consideration, we recommend that it maintain information on the


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number of cases submitted for review, the amount of time such review takes, and
the final determination made on the case. We believe this will enable the
Department to assess and improve its handling of FARA cases. In particular, trends
could be determined regarding what case information has been used to move
forward with prosecutions, or whether NSD is making determinations on a timely
basis.

Civil Enforcement of FARA

       In addition to criminal penalties, FARA allows the Department to seek civil
injunctive relief when it identifies a foreign agent it believes to be in violation of the
statute. In order to seek injunctive relief, the Attorney General may petition the
appropriate U.S. District Court for an order temporarily or permanently disallowing
the alleged foreign agent from acting as an agent of a foreign principal. This type
of remedy could be sought in instances where an alleged agent failed to register or
was delinquent in filing their supplemental statements. It could also be used in
instances where a registered foreign agent fails to address recommendations
stemming from an inspection by the FARA Unit.

       When we inquired about the Department’s use of injunctive relief, we were
told that it has not made use of the remedy since 1991, for several reasons. First,
according to FARA Unit staff, in order to pursue a petition seeking to enforce
registration, the Department must have specific evidence of foreign direction and
control to be successful. According to these staff members, it is rare that such
evidence exists. In addition, we were told that, as a matter of practice, before the
unit would seek injunctive relief that will require registration or remedying
delinquent filings, it would have to have sought voluntary registration and received
a direct refusal. According to the FARA Unit, they do not typically encounter such
scenarios.

       FARA Unit staff also told us that the unit sought authority to impose civil
fines for delinquencies twice in the 1990s, without success. However, current staff
added that they would be reluctant to seek civil fines at present because it would
be counterproductive in that it could serve as a deterrent to disclosure to seek fines
for lateness against a registrant who is otherwise in compliance with FARA, and it
would add administrative costs to the unit’s work.

       Nevertheless, based on the widespread delinquencies we found, we believe
that there may be circumstances in which an injunctive remedy or other penalty is
merited. For instance, as discussed later in this report, when we reviewed FARA
Unit inspection reports from 2008 to 2014, we found instances where the unit
issued recommendations to the registrant requesting submission of late
supplemental statements; however, the requested supplemental statements do not
appear in the FARA database, and appear to remain delinquent despite the
inspection and notification of the deficiencies. Although we are not questioning that
NSD needs to have the ability to use its discretion when deciding whether to pursue
criminal penalties or an injunctive remedy against an alleged violator of FARA, we




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believe NSD should ensure that it appropriately utilizes all of the enforcement tools
available to it.

Administration and Monitoring of FARA Registrations

       The FARA Unit is responsible for the monitoring of new and existing FARA
registrations on an ongoing basis. This includes receiving, reviewing and
processing documentation and payments, and addressing late or inaccurate
submissions. As of the end of calendar year 2014, the FARA Unit was responsible
for a foreign agent registrant pool of 360 agents representing 561 foreign
principals. We tested documentation dating back to 2013 from a judgmentally
selected risk-based sample of 78 FARA registrants, representing approximately
22 percent of the total, to evaluate the effectiveness of the FARA Unit’s monitoring
efforts. Generally, we found that the required documents were complete.
However, we also found that documents were routinely submitted late, and in some
instances registrants had ceased submitting required documentation entirely.
These findings are further detailed in the sections below.

Identifying Potential Registrants

       The FARA Unit attempts to identify and make contact with individuals or
entities that may have an obligation to register under FARA. Identification is made
primarily through review of a range of publications, web sites, and LDA filings for
indications of a connection between a potential agent and a foreign principal.
Potential registrants may also be identified through review of existing registrant
information, or through referral from other government offices or agencies, or from
the public.

        When a potential obligation to register is found, the unit issues a letter of
inquiry to the potential registrant advising of FARA requirements, and requests
additional information relevant to registration status. The FARA Unit has found that
most of the recipients of such letters responded within what it has considered to be
a reasonable amount of time and either register or offer what the unit finds to be
sufficient explanation that FARA requirements do not apply to them. If there is no
response to the letter, a seemingly false response, or another reason to believe a
significant FARA offense has been committed, FARA personnel will refer the matter
to the FBI.

       The FARA Unit stated it has issued approximately 130 letters of inquiry over
the past ten years. Thirty-eight of the recipients were found to have an obligation
to register under FARA, and subsequently did so. The remaining recipients were
found to either have no obligation to register, or the FARA Unit is continuing to seek
additional information to make a determination.

New Registrations

       Thirteen of the 78 agent files from 2013 to 2015 that we reviewed had
registrations that were initiated after January 1, 2013. We considered these to be


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“new” registrations for testing purposes, and they were filed as such. However, we
found that only 3 of these 13 registrations, or 23 percent, were submitted within 10
days of the underlying contract’s execution as required by FARA. Eight of the 13
registrations, or 62 percent, were submitted late; with the lateness ranging from 7
to 343 days. The remaining two agent files involved verbal agreements with no
contract execution date provided to the FARA Unit.15 Without the contract
execution dates, which NSD does not require, we could not assess the timeliness of
these two registrations.16

      Timely submission of initial registration documentation is essential for full
and complete public disclosure of foreign agents engaged in the U.S. political
process on behalf of foreign principals. However, we understand that it is difficult
for NSD to ensure the timely registration of a foreign agent when it has no easy
independent way to know of the foreign agent’s obligation to register.

Supplemental Statements

       Every 6 months after their initial registration, a foreign registered agent must
submit a supplemental statement describing activities performed and sums
transacted during that period. We found that 34 of 78 (44 percent) foreign agents
we reviewed submitted supplemental statements in a timely manner - however
half, 39 of 78, did not.17 Of these 39, 8 (10 percent of the total) had not submitted
any supplemental statements since January 1, 2013. FARA Unit staff believed that
the registered agents who ceased filing supplemental documentation likely
concluded their work for the foreign principal, but either neglected to formally
inform the FARA Unit of the termination or were unaware of their obligation to do
so, although 28 C.F.R. 5.205 includes a requirement to notify the FARA Unit of such
termination. However, the possibility remains that these registrants may still be
active.

      In addition to the 8 agents who had not filed at all since January 2013, we
found that 4 other agents in our sample had filed previously during that period, but
were more than 6 months delinquent as of the end of 2014. In total, 12 of the 78
(15 percent) of active agents we reviewed had ceased filing altogether or were over
six months delinquent. For these delinquent agents, we found that the FARA Unit
sent delinquency notices periodically, but the notices did not appear to be sent
        15
            FARA Unit personnel told us that they typically do not seek to impose any penalties such as
late fees in such instances because they would rather see a complete submission sent in late than an
incomplete one sent in on time.
        16
            During discussions with the FARA Unit about enhancements to its electronic filing system,
we suggested adding a field requiring registrants to enter a date for verbal agreements, in order that
adherence to the ten day requirement for such agreements may be assessed going forward. FARA
Unit staff agreed to consider this.
       17
           Five of the foreign agents we reviewed had terminated their contracts as of January 1,
2013, and were not required to submit supplemental statements during our testing period. These five
contained anomalies – duplicate registrations, terminated registration with active short forms, etc., –
that caused us to include them in the sample.




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consistently or on a regular schedule. FARA Unit staff told us they are working on a
standardized system for batching and sending delinquency notices at regular
intervals. This effort was still in development at the time of our audit and we
recommend that the FARA Unit ensure the system is completed and implemented.

        In addition to ensuring consistency when sending delinquency notices, we
recommend that NSD develop a policy and procedures that ensure that registration
files are timely closed and that it fully investigates when agents cease meeting their
supplemental filing obligations for an extended period of time. We believe that
enhancing the sources of information available to the Unit as discussed above will
facilitate such efforts.

Registration of New Contracts

       Registered agents under contract with a particular foreign principal may
periodically enter into additional contracts with different foreign principals. In the
78 foreign agent files we reviewed, we found a total of 86 ‘new business’ contracts.
We found that 34 of the 86 new contracts were registered timely, but 49 of the 86
(57 percent) were not.18 Further, we found that the late contract registrations were
submitted an average of 57 days past the ten day requirement specified in FARA,
ranging from 4 to 251 days late, even though these agents would have been
familiar with the requirements and process from prior registrations. We
recommend that the FARA Unit should consider expanding the sources of
information beyond those it currently uses to locate potential or delinquent foreign
agents, currently limited to open source internet and LexisNexis searches.

Filing of Informational Materials

       FARA does not limit the lobbying activity or the nature of the materials
distributed by agents of foreign principals, but it does require that such agents file
with the Department any informational materials produced on behalf of their
principal, and transmitted to two or more persons, to the FARA Unit within 48 hours
of the beginning of transmittal. These informational materials must contain a
conspicuous statement that the materials are distributed by an agent on behalf of a
foreign principal, and that further information is on file at the Department of
Justice.

       We tested informational materials submitted by the 78 agents of foreign
principals we reviewed to determine if the documentation was submitted within the
48 hour requirement and included the required disclosure statement. We identified
a total of 1,278 pieces of informational material, 780 pieces of which were
submitted by one agent, and 498 of which were submitted by the other 77 agents.
It appears that many of the one agent’s submissions were late because they were
batched and mailed monthly without apparent regard to the date and time of

       18
         We could not determine the timeliness of three of the contracts because they were verbal
agreements and no date of execution was provided to the FARA Unit.




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transmission to the recipients, although each contained the requisite disclosure
statement. As for the 498 pieces of information submitted by the other 77 agents,
we found that only 457 included a date and time of transmittal to the recipients.
The remaining 41 did not, which made determining timeliness for them impossible.
Of the 457 pieces of informational materials with an identifiable transmittal date
and time, we found that 179 (39 percent) were submitted timely within 48 hours of
transmittal, but 278 (61 percent) were not. We also found that almost half or
234 of the 498 items of information materials (47 percent) did not include the
required disclosure statement. We believe that these compliance rates are
unacceptable, and that the FARA Unit and the Department need to either take steps
to improve them to achieve the purposes of the Act or, if the Unit considers the
standard unreasonable, pursue appropriate modifications. We discuss potential
modifications to informational materials requirements below.

FARA Inspections of Existing Registrants

        Registered foreign agents are required by FARA and its implementing
regulation to maintain accounts and records of their activities on behalf of their
principals and make the records available for inspection by NSD for the duration of
the agreement and for 3 years thereafter. The FARA Unit conducts these formal
inspections of FARA registrants and told us that it selects files to review based on
multiple factors, such as deficiencies identified during the initial review, delinquent
filings, suspected undisclosed activities, and information drawn from news or law
enforcement sources. An inspection involves review of all the registrant’s activity
files, correspondence, accounting records, invoices, and receipts related to the
agent’s representation of the foreign principal. If the FARA Unit finds deficiencies in
an agent’s disclosures, it will summarize its findings and advise the registrant of the
deficiencies and provide recommendations for correcting them.

       We inquired about the number of inspections conducted since 2000 and
found that the FARA Unit conducted a total of eight inspections from 2000 through
2007. From 2008 through 2014, the Unit completed 87 inspections, and the
current target is to perform 14 inspections per year. We believe the higher rate of
inspections performed since 2008 is a positive development and, having reviewed
recent inspection reports and the worthwhile recommendations they have
produced, we encourage the FARA Unit to continue to maximize its inspection
efforts.

       However, we noted during our review of the 87 inspections conducted since
2008 that insufficient follow-up was performed on several recommendations made
by the FARA Unit, and that the deficiencies identified and communicated to
registrants in these recommendations remained unresolved as of the time of our
audit work. Specifically, we found 11 inspection reports (12.6 percent) which
recommended submission of documentation such as amendments or delinquent
supplemental statements; however we found the requested documentation was not
posted to the FARA web site as of January 2016. We found an additional two
inspection reports for which requested documentation was not submitted until well
over a year after the inspection date. NSD stressed to us that because the FARA


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Unit has limited staff and considerable responsibilities follow-up on inspection
reports can be difficult. We understand this challenge but believe improvements
can still be made. We recommend that NSD further improve its overall monitoring
efforts by developing a policy and practices that ensure appropriate and timely
follow-up and resolution of findings identified in its inspection reports.

Other Possible Legislative Improvements that the Department Might Seek

      Throughout this audit we discussed with NSD and FBI officials whether there
were any legislative improvements that the Department might seek to FARA that
would help in its efforts to administer and enforce the law. The FBI did not have
any suggestions but the NSD officials indicated that in recent years they have
pursued some key legislative changes to FARA, but these efforts have largely been
unsuccessful.

       One area that was identified as a possible subject for such amendments is
the statutory exemptions to FARA’s registration requirement. There are a number
of statutory exemptions to FARA registration requirements, which were summarized
on the NSD website as of January 2016 as follows:

       Diplomats and officials of foreign governments, and their staffs, if properly
        recognized by the U.S. State Department.
       Persons whose activities are of a purely commercial nature or solely of a
        religious, scholastic, academic, scientific or fine arts nature.
       Certain soliciting or collecting of funds to be used for medical aid, or for food
        and clothing to relieve human suffering.
       Lawyers engaged in legal representation of foreign principals in the courts or
        similar type proceedings, so long as the attorney does not try to influence
        policy at the behest of their client.
       Any agent who is engaged in lobbying activities and is registered under the
        Lobbying Disclosure Act if the representation is on behalf of a foreign
        commercial interest rather than a foreign government or foreign political
        party.

        NSD officials indicated to us that broadly worded exemptions make criminal
or civil enforcement difficult, though they did not propose any specific changes to
these categories. We believe that this is an area that the Department should
examine to determine if additional refinement of these categories is warranted.

The Lobbying Disclosure Act and FARA

       FARA Unit staff believed that the passage of the Lobbying Disclosure Act
(LDA) in 1995 contributed to the steep decline in FARA registrations in the years
that followed. We were told that because the LDA allowed agents representing
foreign commercial interests to register as lobbyists under LDA, rather than as



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foreign agents under FARA, FARA is now largely limited to those who represent
foreign governmental and political party interests.

       In the FARA Unit’s judgment, registration and disclosure requirements under
the LDA are less stringent and result in less transparency than FARA, specifically
with respect to funds transacted and activities performed. In addition, unlike FARA,
lobbyists with income or expenses below certain thresholds are not required to
register under LDA. If a lobbyist representing a foreign commercial interest does
not meet LDA thresholds, that lobbyist may have no obligation to register under
either statute, because the activity serves a commercial rather than foreign
governmental or political interest. Moreover, the LDA is administered by the
Congress and, according to the FARA Unit, the LDA staffs who reside in the U.S.
Senate and U.S. House of Representatives do not perform inspections of
registrants, as the FARA Unit does for FARA registrants. FARA Unit staff also
expressed concern that because of the LDA amendments to FARA, foreign
governmental and commercial interests, which are not always as distinct from one
another as in the United States, could use LDA as a loophole to avoid FARA
registration and disclosure, even though they are acting under the direction and
control of a foreign government.

      NSD officials believe that Congress should act and once again require those
who lobby for foreign commercial interests to register under FARA. We agree with
the concern that foreign governmental and commercial interests overseas may not
always be distinct and we recommend that NSD perform a formal assessment of
the LDA exemption, along with the other current FARA exemptions and determine
whether a formal effort to seek legislative change is warranted.

Civil Investigative Demand Authority

        As discussed above, one of the tasks for the FARA Unit is to locate foreign
agents who may have an obligation under FARA but either knowingly or
unknowingly fail to register. The FARA Unit told us that, when it successfully
identifies a potential agent, it can sometimes be difficult to obtain the necessary
information the FARA Unit needs to determine whether registration is required.
Civil investigative demand authority (CID) allows the Department to compel the
production of records, or response to written interrogatories or oral testimony
concerning such records. The Department submitted legislative proposals seeking
CID authority for the FARA Unit in 1991, and again in 1999. A GAO report in 2008
also recommended CID authority for the FARA Unit.19 However, the Department’s
attempts to obtain this authority in 1991 and 1999 were unsuccessful. Neither NSD
officials nor the Department’s Office of Legislative Affairs could offer an opinion as
to why these efforts were unsuccessful; however, FARA Unit staff did provide some
insight as to how this authority could help it better determine when FARA violations
are occurring, specifically identifying think tanks, non-governmental and grass roots

       19
          U.S. Government Accountability Office, Post-Government Employment Restrictions and
Foreign Agent Registration, GAO-08-855 (July 30, 2008).




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organizations, organizations operating on college or university campuses, and
foreign media outlets operating in the United States as potential registrants as to
which it can be difficult to obtain information for a variety of reasons. Such
organizations may receive funding from foreign governments and subsequently
take public political positions that are favorable to those governments. According
to the FARA Unit, these types of organizations generally claim that they act
independently of foreign control or are not serving a predominantly foreign interest
and are not required to register.

       The FARA Unit has identified the above as its primary enforcement challenge,
and believes CID is vital in determining whether FARA violations are occurring. We
do not dispute that CID authority would provide FARA Unit staff with a very useful
additional tool in in its efforts to administer and enforce FARA. However, we
believe CID authority is a powerful authority that can be subject to overreach and
abuse if left unchecked, and which cannot be allowed to be used to overcome
legitimate and important legal protections and interests. Therefore, we believe that
any such expansion of CID authority would have to include rigorous controls and
oversight to ensure that it is being used appropriately.

Process for Filing Informational Materials

        As discussed earlier in this report, FARA requires registrants who transmit
informational materials on behalf of their foreign principal to appropriately mark
that material and file it with the Department of Justice within 48 hours of the
beginning of transmittal. The FARA Unit told us that the term “informational
materials,” which replaced the term “propaganda” in 1995, is not formally defined
in the Act or its implementing regulation. As a result, the FARA Unit has developed
its own working definition of what constitutes informational materials in order to
fairly advise registrants of the requirements. However, without a statutory
definition of the term “informational materials,” the FARA Unit cannot be certain it
is satisfying Congressional intent for FARA.

       Additionally, the FARA Unit believes that advances in information technology
have made the 48-hour rule outdated. Registered foreign agents now send out
informational materials via Twitter and other social media on a near-continuous
basis. Trying to enforce the requirement for them to submit all of these materials
in hard copy within 48 hours of dissemination creates a constant and unrealistic
burden on registrants to submit materials, and on FARA personnel to police their
submissions. Allocating resources to enforcing the 48 hour rule also would
consume a disproportionate amount of time on the part of FARA unit, often to the
detriment of other crucial aspects of their work. FARA Unit staff also told us that
informational materials mailed via the U.S. Postal Service in hard copy must pass
through screening prior to delivery. This often results in submissions being delayed
for weeks or longer before arriving at the FARA Unit’s office. The FARA Unit
believes that the statute should be amended to allow registrants to compile
informational materials and submit them semi-annually with each supplemental
statement.




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       Lastly, the FARA Unit believes that the labeling requirement needs to be
updated to address the internet and social media as means of conveying
informational materials. Twitter, for instance, allows a limited number of characters
per message, and the FARA Unit told us that registrants find it impractical to
include the disclaimer within these types of messages.

       We believe the Department should continue to consider whether to seek
legislative changes to address these and other issues as identified in this report
consistent with the requirements of FARA and other laws.

Resources

        FARA Unit staff told us that budget and staffing have improved since moving
from the Criminal Division to NSD in 2006, and that these additional resources have
allowed the unit to develop new technologies. The FARA Unit staff spends a
significant amount of the time on the collection and processing of FARA filing fees.
FARA fees were first imposed on FARA registrants in 1993. As noted above, the
FARA Unit believed that this imposition of fees contributed, at least in part, to the
substantial decline in registrations that began in the mid-1990s. In addition, we
learned that a proposal to increase FARA fees in 2010 was declined by NSD due to
concerns that it would deter registrations. Fee collections have also been declining
along with registrations since their imposition, and in 2014 totaled only $283,441
according to FARA Congressional reporting. Because of limited staffing, other
priorities, and the possibility that fees may serve as a deterrent to registration, we
believe it is possible that the overall cost of the time spent collecting and processing
fees may not be justifiable. We therefore recommend that NSD conduct a formal
cost-benefit analysis to determine whether the current FARA fee structure is
appropriate or whether it should seek modifications in the future.

Tools and Technologies

       Since joining NSD in 2006, there have been significant improvements to the
tools and technologies used to ensure foreign agents comply with FARA. In 2007,
the FARA Unit established a searchable online database of disclosure documents.
In 2011, an e-file application was established that allowed registrants to register
and file documentation online. We were told that the application is currently being
updated to implement other improvements that will standardize and eliminate
redundant entry of information, improve search capability, and ensure
completeness of submissions. It will provide a more user-friendly, interactive
guided interview process for entering forms, and the improved application will mask
from public view personally identifiable information required on certain forms.
Previously, registrants had to formally request removal of this information from the
publically available forms.

       We believe the e-file application improvements are a positive development.
As discussed above, we also believe the application presents opportunities to allow
the FARA Unit to better manage and improve the timeliness of registrant
submissions, and that it should be developed with this in mind in addition to the


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other opportunities it presents. We therefore recommend that NSD include
improvement of timeliness as an objective in the development of the e-file system,
to include requiring execution dates for all contracts.

Conclusion

        We found that FARA registrants are frequently late in submitting required
documentation and are often unresponsive to FARA Unit requests to update their
information. Because timely and complete disclosure of foreign agent political and
quasi-political activities are central to the act, we believe the FARA Unit should be
more proactive and assess whether additional tools may be available to assist it in
its efforts to identify and monitor these foreign agents. With regard to proposed
criminal FARA charges, investigators and prosecutors believe that a greater effort
should be made by NSD officials to improve communication, transparency, and
responsiveness regarding approval decisions. We believe that there may well be
room for the Department to make use of the civil injunctive provision in FARA in
appropriate cases. To help address this we believe that the Department should
develop a comprehensive enforcement strategy for FARA that fits within its overall
national security effort. There also are a number of areas where the Department
should consider whether to seek administrative or legislative changes to enhance its
efforts to enforce FARA and achieve the purposes for which it was enacted into law.

Recommendations

We recommend that the National Security Division:

    1.   Consider the value of making FARA advisory opinions publicly available
         as an informational resource.

    2.   Update its current training for investigators and prosecutors to include
         information about the time it takes and the process used by NSD to
         approve or deny these types of cases for prosecution.

    3.   Explore with the FBI the feasibility of distinct classification codes for
         FARA and Section 951 in its record keeping system.

    4.   Develop a comprehensive strategy for the enforcement and
         administration of FARA that includes the agencies that perform FARA
         investigations and prosecutions and that is integrated with the
         Department’s overall national security efforts.

    5.   Ensure that it timely informs investigators and prosecutors regarding
         the reasons for decisions not to approve FARA prosecutions.

    6.   Establish a comprehensive system for tracking the FARA cases
         received for review, including whether cases are approved for further
         criminal or civil action, and the timeline for approval or denial.




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7.   Complete its effort to standardize a system for batching and sending
     registration delinquency notices at regular intervals, and develop
     policy and procedures that ensure appropriate follow up on them.

8.   Develop a policy and tracking system that ensures that registration
     files are timely closed and that when agents cease meeting their
     supplemental filing obligations for an extended period of time an
     appropriate investigation is conducted.

9.   Consider expanding the sources of information beyond those currently
     used by the FARA Unit to help identify potential or delinquent foreign
     agents, currently limited to open source internet and LexisNexis
     searches.

10. Either take steps to improve the compliance rates for the filing of
    informational materials to achieve the purposes of the Act or, if the
    Unit considers the current 48-hour standard unreasonable, pursue
    appropriate modifications.

11. Ensure appropriate and timely follow-up and resolution of findings
    identified in its inspection reports.

12. Perform a formal assessment of the LDA exemption, along with the
    other current FARA exemptions and determine whether a formal effort
    to seek legislative change on any of these exemptions is warranted.

13. Conduct a formal cost-benefit analysis to determine whether the
    current FARA fee structure is appropriate.

14. Include improvement of timeliness as an objective in the development
    of the e-file system, to include requiring execution dates for all
    contracts.




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                  STATEMENT ON INTERNAL CONTROLS

       As required by the Government Auditing Standards, we tested, as
appropriate, internal controls significant within the context of our audit
objectives. A deficiency in an internal control exists when the design or operation
of a control does not allow management or employees, in the normal course of
performing their assigned functions, to timely prevent or detect: (1) impairments
to the effectiveness and efficiency of operations, (2) misstatements in financial or
performance information, or (3) violations of laws and regulations. Our evaluation
of internal controls was not made for the purpose of providing assurance on the
Department’s internal control structure as a whole. The Department and the
individual components discussed in this report are responsible for the establishment
and maintenance of internal controls.

       Through our audit testing, we did not identify any deficiencies in the National
Security Division’s internal controls that are significant within the context of the
audit objectives and based upon the audit work performed that we believe would
affect the National Security Division’s ability to effectively and efficiently operate, to
correctly state financial and performance information, and to ensure compliance
with laws and regulations.

       Because we are not expressing an opinion on the Department’s internal
control structure as a whole, this statement is intended solely for the information
and use of the Department and the individual components discussed in this report.
This restriction is not intended to limit the distribution of this report, which is a
matter of public record.




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       STATEMENT ON COMPLIANCE WITH LAWS AND REGULATIONS

       As required by the Government Auditing Standards we tested, as appropriate
given our audit scope and objectives, selected statistics, procedures, and practices
to obtain reasonable assurance that NSD complied with federal laws and regulations
for which noncompliance, in our judgment, could have a material effect on the
results of our audit. NSD is responsible for ensuring compliance with applicable
federal laws and regulations. In planning our audit, we identified the following laws
and regulations that were significant within the context of the audit objectives:

       22 U.S.C. § 611, et seq. (Foreign Agents Registration Act)
       18 U.S.C. § 951
       2 U.S.C. § 1601, et seq. (the Lobbying Disclosure Act of 1995)
       28 C.F.R. § 5.1, et seq.

        Nothing came to our attention that caused us to believe that the Department
or its components discussed in this report were not in compliance with the
aforementioned laws and regulations.




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                                                                      APPENDIX 1


                 OBJECTIVES, SCOPE, AND METHODOLOGY

Objectives

       The U.S. House of Representative Committee on Appropriations requested
that the OIG review the Department of Justice’s enforcement of the Foreign Agents
Registration Act.20 The Committee requested that the report should take into
account FARA filing trends and foreign government tactics to engage in the public
advocacy of the United States while avoiding FARA registration, and that the report
should recommend administrative or legislative options for the improvement of
FARA enforcement.

      The objectives of our audit were to review and evaluate the monitoring and
enforcement actions taken by the Department to ensure appropriate registration,
and to identify areas for the Department to consider seeking legislative or
administrative improvements.

Scope and Methodology

       We conducted this performance audit in accordance with generally accepted
government auditing standards. Those standards require that we plan and perform
the audit to obtain sufficient, appropriate evidence to provide a reasonable basis for
our findings and conclusions based on our audit objectives. We believe that the
evidence obtained provides a reasonable basis for our findings and conclusions
based on our audit objectives.

       To accomplish our objectives, we interviewed staff from National Security
Division, including the Counterintelligence and Export Control Section and its FARA
Unit. We also interviewed Assistant U.S. Attorneys and FBI counterintelligence
agents from all of the district and field offices involved with each FARA investigation
we learned of. We spoke with staff from the FBI’s Counterintelligence Division and
National Security Law Branch and with staff from the Department’s Office of
Legislative Affairs. We also reviewed FARA registered foreign agent documentation,
as well as FARA Unit records and communications.

       We attempted to meet with the Clerk of the House and Secretary of the
Senate staffs to obtain their views on the Lobbying Disclosure Act issue identified in
this report and to learn about any best practices for registrant management and
oversight. They instead offered to review and try to answer specific questions in
writing, but given time constraints we were not able to pursue that option further.




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           U.S. House Committee Report Committee Report 113-448.


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FBI and USAO Interviews

       Because CES does not maintain a record of FARA charges brought to it for
review, we began by interviewing AUSAs and FBI agents involved in those FARA
charges we learned of through our discussions with CES staff or our review of CES
documents. We also interviewed staff at FBI Counterintelligence Division
headquarters in Washington, D.C. During these discussions, we learned about
additional FARA charges, involving both FARA, 22 U.S.C. 611 et seq., and a related
statute, 18 U.S.C. § 951 (Section 951). Section 951 provides criminal penalties for
certain agents of foreign governments who act in the United States without first
notifying the Attorney General. Registration under FARA can serve as the requisite
notification. We learned that the FARA Unit is called upon by CES to advise on
Section 951 cases. Given this, we considered the information we received about
Section 951 cases during our interviews.

FARA Document Review

      To review FARA Unit monitoring of existing registrants, we selected a
judgmental, risk based sample of 22 percent of the total registered agents as of
May 2015. Factors in selecting our sample included payment amounts, weighted
toward the more active registrants; and anomalies such as duplicate registrations
and apparent discrepancies between long and short form registrations. We did not
intend this sample to be projected to the universe of registered agents.

       After we selected the sample, we reviewed documentation submitted by
selected agents during calendar years 2013, 2014, and 2015. We reviewed all
documents submitted including initial registration and accompanying exhibits,
supplemental statements, amendments, and informational materials. We elected
not to include short form registrations, which include information about the
registrant’s individual employees engaged in activities in furtherance of the foreign
principal’s interests, in our testing because these forms included personally
identifiable information.




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                                                                       APPENDIX 2


                    PRIOR REPORTS INVOLVING FARA

       Our research and interviews with FARA Unit personnel has identified four
reports prepared by the General Accounting Office (now known as the Government
Accountability Office), one report from the Project on Government Oversight
(POGO), and one report from the Sunlight Foundation all which dealt with the
execution and administration of the Foreign Agents Registration Act (FARA).
Although some of these reports are over 10 years in age, they have identified some
of the same issues discussed in this report. These issues include timeliness and
adequacy of information submitted on behalf of registrants, not making full use of
its authority to enforce the act and related regulations, efforts to have civil
investigative demand authority (CID) passed denied, and the lack of tools required
and necessary to enforce the statue properly.

        In 1974, the General Accounting Office, now known as the Government
Accountability Office, issued a report titled, Effectiveness of the Foreign Agents
Registration Act of 1938, As Amended, and Its Administration by the Department of
Justice. At the time of the report, the General Accounting Office reported that
many agents’ statements to the Department of Justice were not filed on a timely
basis or lacked sufficient detail to adequately describe the registered agents’
activities on behalf of their foreign principals. The report also stated that the
Department of Justice was not making full use of its authority to enforce the act
and related regulations.

        In 1980, the General Accounting Office, now known as the Government
Accountability Office, issued a follow-up report to their 1974 report titled,
Improvements Needed in the Administration of Foreign Agents Registration. The
General Accounting Office reported that despite the Department of Justice’s efforts
to improve the administration of the act, people were acting as foreign agents
without registering, registered agents were not fully disclosing their activities, and
officials in the executive branch were often unaware of the act’s requirements.
Thus, the act’s goal of providing the public with sufficient information on foreign
agents and their activities was not completely fulfilled.

        In 1990, the General Accounting Office, now known as the Government
Accountability Office, issued an update to its 1980 report titled, Foreign Agent
Registration: Justice Needs to Improve Program Administration. The report was
issued to provide the United States Senate an update of the prior 1980 report. The
purpose of the report was to apprise on whether the recommendations made in the
1980 report have been implemented and if foreign agents are complying with the
law by registering with the Department of Justice, by fully disclosing their activities,
and by filing required reports on time. The report noted deficiencies; including
lateness and inadequately disclosing forms from foreign principals. The General
Accounting Office explained that both foreign agents and the Department of Justice
officials who review the agents’ registration forms lack specific written guidance on
what should be reported.


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       In 2008, the Government Accountability Office issued a report titled, Post-
Government Employment Restrictions and Foreign Agent Registration. The
Government Accountability Office reported that in order for the Department of
Justice to enhance their ability to ensure that the American people know the
identity of persons trying to influence the United States government policy on
behalf of foreign entities, Congress may wish to consider granting the Department
of Justice civil investigative demand authority (CID). This recommendation was
essentially closed and not implemented as Congress did not take any action in
response to this matter.

       In 2014, the Sunlight Foundation, issued a report titled, Sunlight Foundation
Recommendations to the Department of Justice Regarding the Foreign Agents
Registration Act. The Sunlight Foundation reported that the current method of
recording the disseminated material submitted by foreign agents is outdated and is
not fully transparent. Sunlight explained that an implementation of a new,
modernized FARA collection and disclosure system that collects and releases
detailed structured data would promote greater transparency.

       Finally in 2014, the Project on Government Oversight (POGO), issued a
report titled, Loopholes, Filing Failures, and Lax Enforcement: How the Foreign
Agents Registration Act Falls Short. POGO reported that countless documents in
the FARA database do not conform to the requirements of the FARA statue.
Furthermore, POGO reports, that it is next to impossible to determine if the 573
U.S. firms, corporations, and individuals registered with FARA, between their scope
of 2009 and 2012, filed every document they disseminated. POGO concluded that
the Department of Justice must use the enforcement power it has to ensure that
registrants, and those who do not register, comply with all aspects of the law.
Merely relying on “voluntary compliance” allows for rampant rule breaking in the
timely filing and labeling of informational materials.




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                                                                                             APPENDIX 3

         NATIONAL SECURITY DIVISION’S RESPONSE
                    TO DRAFT REPORT

                                                        U.S. Department of Justice

                                                        National Security Division


   No/iona'Security Divilion                            Washington, D.C. 20530




                                                                                 August 12, 2016

   Jason R. Malmstrom
   Assistant Inspector General for Audit
   Office of the Inspector General


   RE:       OlG's Draft Audit Report - The National Security Division' s Enforcement and
             Administration of the Foreign Agents Registration Act


   Dear Mr. Malmstrom:

          The National Security Division (NSD) appreciates the opportunity to review and provide
   comments to the Office oflnspector General' s Draft Audit Report (Report) concerning NSD's
   Enforcement and Administration of the Foreign Agents Registration Act (FARA or the Act),
   which you provided to NSD on July 22, 2016. NSD provides below general comments on the
   Report, followed by specific comments on the 14 recommendations contained in the Report.

   General Comments

           The enforcement and administration ofFARA is an important responsibility ofNSD, and
   NSD appreciates the time and effort taken by the Office of the Inspector General (OlG) to
   conduct this audit. In addition to providing overall perspective in assessing the administration
   and enforcement ofFARA, the audit was helpful in reviewing some trends in registrations, the
   timeliness and sufficiency ofFARA registration filings, and some areas for administrative or
   legislative improvements to achieve FARA' s primary goal: greater transparency offoreign
   influence in the United States. NSD was pleased to have the opportunity to inform OlG of the
   complexities ofFARA and the challenges NSD faces in appl ying FARA 's criminal and civil
   enforcement provisions. The audit prompted a productive dialogue about the criminal
   enforcement of FARA and the key role administrative authorities play in promoting visibility
   into the identities, activities, and information provided by persons acting as agents offoreign
   principals. NSD anticipates that the audit will lead to improved efforts to help others better
   understand FARA's role, as well as increase the Act's effectiveness.

          As noted in the report, the OlG interviewed AUSAs and FBI personnel who
   complimented NSD's Counterintelligence and Export Control Section' s (CES) evaluation of
   FARA cases and specifically noted the sound judgment, experience, and expertise of CES in
   handling FARA investigations. The AUSAs and FBI personnel also praised the new leadership




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   at CES for its candid assessment of cases and communication with the FBI and U.S. Attorney's
   Offices. I

            Although OIG's report reflects some criticism of aspects ofNSD's review of FARA
   cases, NSD notes at the outset, as OlG acknowledged in the Report, that personnel interviewed
   in preparation of the Report frequently confused FARA (22 U.S.c. § 611 el seq) with 18 U.S.C.
   § 951 ("Section 951 "), a criminal statute entitled "Agents of foreign governments." Although
   the two statutes have similar terms, they address different types of conduct. The typical conduct
   to which Section 951 applies consists of espionage-like behavior, information gathering, and
   procurement of technology, on behalf of foreign governments or officials. FARA, on the other
   hand, is designed to provide transparency regarding efforts by foreign principals (a term defined
   more broadly than foreign governments or officials) to influence the U.S. government or public
   through public speech, political activities, and lobbying. Accordingly, Section 95 1 is codified in
   Title 18 of the U.S. Code (designated for "Crimes and Criminal Procedure"), while FARA is
   codified in Title 22 (designated for "Foreign Relations"). Section 95 1 is aimed exclusively at
   criminally punishing individuals who violate its terms, and lacks a formal administrative
   registration regime. FARA' in contrast, is predominantly a disclosure statute, under which there
   is an administrative registration regime, and while the Act authorizes criminal penalties for
   willful violations, the primary means of achieving FARA's main purpose of transparency is
   through voluntary disclosure in compliance with the Act. The mistaken conflation of the two
   statutes can lead to undue weight being given to criminal prosecution as the measure of FARA
   enforcement and insufficient recognition of the significance of administrative enforcement
   efforts relating to the FARA registration regime. It is therefore essential to understand the
   distinctions between FARA and Section 951 for purposes of this audit, the scope of which is
   expressly limited to the enforcement and administration of FARA'

           The administrative enforcement efforts undertaken by FARA Unit staff focus on
   identifying foreign agents with an obligation to register and achieving compliance with the Act's
   provisions. Actions undertaken by FARA Unit staff in furtherance of these goals include:
   combing public source information for prospective registrants; reviewing registration materials
   submitted by existing registrants and inspecting registrants' books and records for information
   pertaining to registration obligations for other entities and individuals; analyzing referrals or
   information provided by other government agencies or offices; and reviewing information
   obtained from the public. Based on that work, FARA Unit staff draft and issue letters to

             I To NSD's knowledge, during its audit, OIG did not contact or interview any existing FARA registrants or
   firms that represent FARA registrants, although NSD provided contact information for those groups. Existing
   FARA registrants and firms who represent FARA registrants are significant stakeholders who have extensive
   knowledge of and experience with the adm ini stration and enforcement ofF ARA NSD understands that OIG did
   seek to interview officials at the U.S. House of Representatives and U.S. Senate who are responsible for the
   admin istration of the Lobbying Disclosure Act ("LDA"), a statute which has certain overlaps with FARA, although
   those officials declined to be interviewed. NSD believes those officials also may possess useful insights into
   FARA 's administration and enforcement.

            2 NSD further notes that in the Report, the DIG states that they "were told by FBI that their case coding
   commingles both FARA and Section 951 cases" and therefore the OIG was "unable to isolate cases presented under
   FARA alone." For this reason, among others, NSD believes that many of the references in the Report to FARA
   cases or investigarions were actually references to cases or investigations relating to Section 95/.




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   individuals or entities they identify who may have an obligation to register. In those letters, they
   outline the infonmation potentially giving rise to an obligation to register and seek information to
   make a detenmination regarding that obligation. They analyze the responses to those letters and
   continue to research public information to assess whether a registration obligation does in fact
   exist. The letters they send frequently result in the filing of registrations by the individuals or
   entities, thus achieving FARA's transparency purpose. Once a registration is on file, FARA Unit
   staff carefully reviews registration filings for deficiencies, seeks amendments to correct those
   deficiencies, and conducts inspections (and follow-up inspections) to ensure continued
   compliance. FARA Unit staff also provides advisory opinions regarding the application and
   requirements of the Act.

           In add ition to activities devoted to administrative enforce ment of the Act, FARA Unit
   personnel produce and process a significant volume of registration forms and assoc iated filing
   fees; provide support, guidance, and assistance to registrants, potential registrants, their
   attorneys, and other govenunent agencies concerning FARA issues; produce a semi-annual
   report to Congress; maintain a public office reading room; process a high volume of database
   searches for the FBI, Department of Homeland Security, Senate Foreign Relations Committee,
   and other government agencies; handle frequent media inquiries; and assist numerous members
   of the public with registration and search guidance through in-person meetings, e-mail
   exchanges, and telephone inquiries. They perfonm all of these duties while maintaining and
   enhancing the FARA e-File system and database, and while providing extensive customer
   service to users of the system.

           As noted above and in the Report, FARA contains a criminal penalty provision, and NSD
   approves criminal prosecution as an enforcement mechanism if there is sufficient admissible
   evidence ofa willful violation ofFARA, and the standards applicable to all federal criminal
   prosecutions set forth in the U.S. Attorney's Manual are otherwise satisfied. The high burden of
   proving willfulness, difficulties in proving "direction and control" by a foreign principal, and
   exemptions available under the statute make crimi nal prosecution for FARA violations
   challenging. These challenges are compounded by the government' s current inability to compel
   the production of records from potential and current registrants, a situation NSD is working to
   remedy by proposing legislation for consideration by the Department of Justice (Department).
   Despite these challenges, the Department has brought four FARA criminal cases since 2007, all
   of which resulted in convictions (one conviction at trial for conspiracy to violate FARA and
   other statutes; two guilty pleas for violating FARA; and one guilty plea to related non-FARA
   charges).

           The 010 Report, however, also cites a view that the limited number ofFARA criminal
   prosecutions is indicative of a counterintelligence tool that is underutilized. To demonstrate this,
   the Report refers to a belief by some FBI staff that the prospect of FARA charges might assist in
   obtaining cooperation from FARA violators, presumably in counterintelligence investigations.
   This, agai n, is most likely indicative ofa mistaken conflation of Section 951 with FARA. It
   might be possible to use Section 95 1 in this manner; however, given the considerable challenges
   cited above in developing viable, appropriate prosecutions for FARA-related activity, such a use
   ofFARA to obtain cooperation is unlikely at best. By promoting disclosures that wunask
   foreign political influence and foreign direction of political activities, FARA is an effective




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   counterintelligence tool. In the alternative, a reluctance to register and disclose under FARA
   can, in fact, deter a foreign principal from engaging in political activities in the United States in
   the first place.

            The Report devotes significant emphasis to the timeliness of filings by registrants. NSD
   notes that well over half of the fi lings categorized as late were filed within 30 days after the
   filing deadline. In addition, in a number of filings considered late in the Report, the FARA Unit
   provided an extension to the registrant, which mitigated the lateness. Under FARA's current
   statutory and regulatory authorities, there is no penalty for lateness. Although the Department
   previously has proposed legislation imposing fines for late filing under FARA, NSD' s recent
   assessment is that imposing fines for late filing could act as a disincentive to registration and
   result in less transparency. Many parties who register late do so because they are unaware of the
   existence of FARA. Penali zi ng someone who, when informed about the Act, complies with the
   statute, could serve as a deterrent to registration. NS D believes that encouraging disclosure is
   preferable to fines in furthering the national security mission ofFARA.


   OIG Recommendations

       I. OIG Recommendation - Consider the value of making FARA advisory opinions
          publicly available as an information resource.

          NSD Response - Agree. Prior to thi s audit, NSD determined it was appropriate to
          release, in response to specific FOrA requests, redacted versions of advisory opinions
          issued to persons who subsequently registered based on the decision in the advisory
          opinion. By March 31 , 2017, NSD will review its policy and practices regarding FARA
          advisory opinions and determine how to expand public accessibility of these opinions.

      2. OIG Recommendation - Update its current training for investigators and prosecutors to
         include information about the time it takes and the process used by NSD to approve or
         deny these types of cases for prosecution.

          NSD Response - Agree. NS D will continue to update and provide training for
          investigators and prosecutors regarding FARA, to include information about the time it
          takes and the process used by NS D to approve or deny FARA cases for prosecution.
          NSD already commenced efforts to enhance prosecutors' understanding of FARA with
          multiple presentations to prosecutors and law enforcement partners around the country in
          2016. These presentations delineated the differences between FARA and Section 951,
          and highlighted the types of cases suitable for prosecution under each statute. NSD will
          continue to deli ver such training to prosecutors and agents. In addition, CES has initiated
          preparation of a monograph on FARA and Section 951 for broad dissemination to
          prosecutors and agents. NSD anticipates completion of the monograph by September 30,
          20 17.




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      3. OIG Recommendation - Explore with the FBI the feasibility of distinct classification
         codes for FARA and Section 95 1 in its record keeping system.

         NSU Response - Agree. Although the FBI already has distinct codes, as indicated in
         the Report, FBI personnel often commingle the coding, causing confusion. It is
         imperative that agents are aware of the correct code to use for FARA investigations, and
         NSD wi ll meet with the FBI prior to September 30, 20 16 to explore reso lution of this
         Issue.

      4. OIG Recommendation - Develop a comprehensive strategy for the enforcement and
         admin istration ofFARA that includes the agencies that perform FARA investigations and
         prosecutions and that is integrated with the Department's overall national security efforts.

         NSD Response - Agree. NSD agrees with the importance of having a comprehensive
         strategy regarding FARA that is integrated within the Department's overall national
         security efforts. In fact, in March 2015, NSD conducted its own written internal
         assessment of the existing strategy for enforcement and administration of FARA,
         identifying key current issues and strategies for addressing them, and then took active
         steps to implement those new strategies. The Department has an "all tools" approach to
         addressing national security threats, and NSD currently includes FARA as one of those
         tools. Effort!) tu enforce compliance with FARA include research, identification of
         potential agents, inquiry, investigation, and prosecution if wi ll ful conduct is found.
         FARA fits into the Department's overall national security efforts by promoting detection
         of, discouraging, and neutralizing undisclosed foreign messaging and forcing disclosure
         of foreign efforts to influence United States domestic and foreign policy, as well as
         public opinion. As noted above, CES has initiated preparation of a monograph on FARA
         and Section 95 1 for broad dissemination to prosecutors and agents that it anticipates wi ll
         be completed by September 2017. This "ill clarify for agencies the use of FARA and
         Section 95 1, and NSD also will include discussion of its comprehensive strategy in its
         ongoing training for investigators and prosecutors. NSD's comprehensive strategy wi ll
         include updates to its FARA-related training materials to provide helpful information
         regarding NSD's evaluation of potential criminal cases under FARA. These updates will
         be included in all FARA-related training presentations going forward.

      5. OIG Recommendation - Ensure that it timely informs investigators and prosecutors
         regarding the reasons for decisions not to approve FARA prosecutions.

         NSD Response - Agree. As noted in the OIG Report, CES has taken steps to ensure that
         it timely infonns investigators and prosecutors in individual cases regarding the reasons
         for not approving FARA charges and will continue these efforts in all FARA
         investigations and prosecutions. In addition, as discussed in the response to OIG
         Recommendation 2 and 4, NSD is updating its FARA-related training materials to
         provide helpful information regarding NSD's evaluation of potential criminal cases under
         FARA. These updates wi ll be included in all FARA-related training presentations going
         forward.




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      6. OIG Recommendation - Establish a comprehensive system for tracking the FARA
         cases received for review, including whether cases are approved for further criminal or
         civil action, and the timeline for approval or deniaL

         NSD Response - Agree. NSD will improve tracking of FARA matters through: (I) the
         efforts set forth in Recommendation 3 above regarding working with the FBI to ensure
         FARA matters are coded correctly; and (2) improvements to NSD' s case tracking system
         to ensure ready identification of those FARA matters. Moreover, NSD will ensure the
         case tracking system captures actions that are taken and approved, and, consistent with
         Recommendations 2 and 5, also captures dates the matter was received, as well as dates
         of actions and approvals. As noted above, NSD will meet with FBI on the coding issue
         prior to September 30, 2016. Improvements to the case tracking system to ensure
         identification of FARA matters will take place on an ongoing basis as NSD's new case
         management system is developed and implemented during 20 16 and 2017.

      7. OIG Recommendation - Complete its etTort to standardize a system for batching and
         sending registration delinquency notices at regular intervals, and develop policy and
         procedures that ensure appropriate follow up on them.

         NSD Response - Agree. NSD is committed to completing its current effort to
         standardize a system for batching and sending registration delinquency notices at regular
         intervals, and to develop policy and procedures that ensure appropriate follow-up.
         During the past year, the FARA Unit has standardized a system for batching and sending
         registration delinquency notices at regular intervals. It is currently in the process of
         expanding on thi s system to ensure appropriate tracking of responses, and estimates that
         the enhancement will be completed by September 30, 2017. When the system is
         complete, NSD will ensure that FARA Unit personnel will be able to adequately and
         efficiently track compliance and that they take appropriate measures to address
         delinquency.

      8. OIG Recommendation - Develop a policy and tracking system that ensures that
         registration files are timely closed and that when agents cease meeting their supplemental
         filing obligations for an extended period of time an appropriate investigation is
         conducted.

         NSD Response - Agree. NSD will develop a policy and tracking system that ensures
         that registration files are timel y closed and that appropriate action is taken when
         supplemental filing obligations are not met for an extended period of time. NSD's
         current efforts to update its system for batching and sending registration delinquency
         notices at regular intervals will help to identify candidates for termination. These
         upgrades wi ll help to determine which registrants are no longer active and enable the
         FARA Unit to take appropriate action to terminate the registrations. NSD anticipates this
         policy will be developed by March 3 1, 2017.




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      9. OIG Recommendation - Consider expanding the sources of information beyond those
         currently used by the FARA Unit to help identify potential or delinquent foreign agents,
         currently limited to open source internet and LexisNexis searches.

         NSD Response - Agree. NSD agrees that expansion of sources of information would
         assist in identifying potential or delinquent foreign agents. NSD has already engaged in
         outreach to other government agencies that might have access to additional information
         that would assist the FARA Unit's efforts. NSD will continue to pursue that outreach on
         an ongoing basis and also will work to identify other sources of information that would
         be useful to the Unit in fulfilling its mission.

      10. OIG Recommendation - Either take steps to improve the compliance rates for the filing
          of informational materials to achieve the purposes of the Act or, if the Unit considers the
          current 48-hour standard unreasonable, pursue appropriate modifications.

         NSD Response - Agree. NSD considered this issue and determined that the 48-hour rule
         is out of date and unreasonable. To that end, NSD drafted appropriate modifications to
         address this issue that are being reviewed within the Department.

      II . OIG Recommendation - Ensure appropriate and timely follow-up and resolution of
           findings identified in its inspection reports.

         NSD Response - Agree. Many of the inspections conducted by the FARA Unit are
         conducted to correct deficiencies in registrations, and to bring into compliance untimely
         registrations. NSD notes that OIG viewed most (87.4 percent) inspection follow-up as
         timely. To ensure appropriate and timely follow-up and resolution of inspections, the
         FARA Unit's efforts with respect to Recommendation 7 and 8 above will provide
         benefits here as well. In addition, the FARA Unit will standardize its electronic
         calendaring of inspections and time lines for completion of recommendations after
         inspections. NSD expects enhancements to its inspection practices to be completed by
         September 30, 2017.

      12. OIG Recommendation - Perform a formal assessment of the LDA exemption, along
          with the other current FARA exemptions and determine whether a formal effort to seek
          legislative change on any of these exemptions is warranted.

         NSD Response - Agree. NSD endorses, and will undertake, a formal assessment of the
         LDA and other current FARA exemptions. As noted in the Report, the FARA Unit has
         attributed a decrease in the number of registrants and foreign principals to the enactment
         of the LDA exemption and has also noted that the reporting requirements of LOA are not
         as robust as those under FARA. Prior to the OIG Report, NSO embarked on efforts to
         study the LDA and other FARA exemptions. Those efforts will continue, and NSD will
         determine the need and viability of legislative changes by June 30, 2017.

      13. OIG Recommendation - Conduct a formal cost-benefit analysis to determine whether
         the current fee structure is appropriate.




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          NSD Response - Agree. NSD will conduct a formal cost-benefit analysis to determine
          whether the current fee structure is appropriate by September 30, 2017. Included in this
          analysis will be an assessment of whether the processing of fees takes valuable time and
          resources of the FARA Unit that could be better utilized on enforcement.

      14. OIG Recommendation - Include improvement of timeliness as an objective in the
          development of the eFile system, to include requiring execution dates for all contracts.

          NSD Response - Agree. The FARA Unit has discussed this issue with the FARA eFile
          system development team and has received positive feedback that it is feasible to add a
          field to the eFile system to collect the date of the registrant's agreement with the foreign
          principal. This feature will be included in the roll out of the FARA eFile system, which
          is anticipated by September 30, 2017.

   Conclusion

           NSD appreciates the time and effort of the OIG in conducting its audit. The enforcement
   and administration ofFARA is an important responsibility, and NSD welcomes the opportunity
   to improve efforts to help others better understand FARA's administration and enforcement, as
   well as increase the Act's effectiveness.




                                                        G. Bradley Weinsheimer
                                                        Acting Chief of Staff
                                                        National Security Division




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                                                                      APPENDIX 4

OFFICE OF THE INSPECTOR GENERAL ANALYSIS AND SUMMARY
       OF ACTIONS NECESSARY TO CLOSE THE REPORT

       The Office of the Inspector General (OIG) provided a draft of this audit report
to the National Security Division (NSD). NSD’s response is incorporated in
Appendix 3 of this final report. The following provides the OIG analysis of the
response and summary of actions necessary to close the report.

Analysis of NSD Response

        In its response, NSD agreed with each of our recommendations and
discussed the actions it will implement in response. NSD also provided general
comments on the report. In its general comments, NSD reemphasized what NSD
officials told us during the audit - although 22 U.S.C. § 611, et seq. (FARA) and 18
U.S.C. § 951 (Section 951) have similar terms, they address different types of
conduct. NSD also reemphasized that it generally disagrees with investigators who
believe that FARA can serve as an effective tool to compel the development of
cooperating sources. We acknowledge both of NSD’s points in the report and
continue to believe that these differing understandings among key personnel are
the result of insufficient training on FARA for field investigators and the lack of a
comprehensive FARA enforcement strategy within the Department. As we state in
the report, we believe our recommendations, once implemented, have the potential
to greatly improve the Department’s overall FARA enforcement efforts by helping to
ensure that field personnel and NSD officials are in agreement on their approach to
these important statutes.

       NSD also noted in a footnote to its general comments that the OIG did not
interview any FARA registrants. NSD is correct. The OIG determined that although
FARA registrants might be in a position to offer an opinion about their interactions
with NSD, interviewing these individuals would not significantly advance our
objective to evaluate the monitoring and enforcement actions taken by the
Department to ensure appropriate registration and to identify areas where the
Department might make administrative or seek legislative improvements to its
FARA enforcement efforts. In performing our audit, we ensured that we performed
appropriate analysis and conducted numerous interviews, including discussions with
individuals external to NSD and the Department of Justice, who provided us with an
appropriate and sufficient understanding of FARA administration and enforcement.

       Lastly, in its general comments, NSD addressed our findings with respect to
late submissions by FARA registrants. NSD stated that for a number of filings we
considered to be late in the report, the FARA Unit had provided an extension to the
registrant, which mitigated the lateness. In our review and analysis of registrant
documentation during our audit, we included all extensions that we found within
registrant files in calculating the timeliness of submitted documentation and, as a
result, believe that our calculations accurately reflect the timeliness of submissions.




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Summary of Actions Necessary to Close the Report

1.    Consider the value of making FARA advisory opinions publicly
      available as an informational resource.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated that by March 31, 2017, it would review its policy and practices
      regarding FARA advisory opinions and determine how to expand public
      accessibility.

      This recommendation can be closed when we receive evidence that this
      review was conducted and of the actions taken as a result of the review.

2.    Update its current training for investigators and prosecutors to
      include information about the time it takes and the process used by
      NSD to approve or deny these types of cases for prosecution.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated it would continue to update its FARA training for investigators and
      prosecutors, to include information about the time it takes and the process
      used by NSD to approve or deny FARA cases.

      This recommendation can be closed when we receive evidence that the
      relevant training was updated and provided to prosecutors and agents.

3.    Explore with the FBI the feasibility of distinct classification codes for
      FARA and Section 951 in its record keeping system.

      Resolved. NSD agreed with our recommendation. In its response NSD noted
      that, to its understanding, the FBI already has distinct classification codes for
      these statutes. However, NSD also acknowledged possible confusion and
      commingling of those codes. We note that we asked FBI officials about its
      classification codes for FARA cases both during our audit and subsequent to
      the issuance of our draft report to NSD, and were told by the FBI that both
      statutes are recorded under a single FARA code. NSD stated it intends to
      meet with FBI prior to September 30, 2016, to explore resolution of this
      issue.

      This recommendation can be closed when we receive evidence that NSD
      explored with the FBI the feasibility of distinct classification codes in its
      record keeping system.

4.    Develop a comprehensive strategy for the enforcement and
      administration of FARA that includes the agencies that perform FARA
      investigations and prosecutions and that is integrated with the
      Department’s overall national security efforts.




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      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated that it has conducted an internal assessment of FARA enforcement
      and administration and has begun implementing strategies resulting from
      that assessment. NSD’s response stated that FARA fits into the
      Department’s overall national security efforts by promoting the detection of,
      discouraging, and neutralizing undisclosed foreign messaging, and forcing
      disclosure of foreign efforts to influence United States foreign and domestic
      policy and public opinion. NSD’s comprehensive strategy will include updates
      to FARA training materials to provide helpful information regarding NSD’s
      evaluation of FARA criminal charges.

      This recommendation can be closed when we receive evidence of a
      completed comprehensive strategy that includes the agencies that perform
      FARA investigations and prosecutions and is integrated with the
      Department’s overall national security efforts.

5.    Ensure that it timely informs investigators and prosecutors regarding
      the reasons for decisions not to approve FARA prosecutions.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated it has taken steps to ensure that it timely informs investigators and
      prosecutors in individual cases regarding the reasons for FARA decisions.
      NSD added that it intends to update training materials to provide helpful
      information regarding evaluation of FARA charges.

      This recommendation can be closed when we receive evidence of the steps
      described and of the updated training materials.

6.    Establish a comprehensive system for tracking the FARA cases
      received for review, including whether cases are approved for further
      criminal or civil action, and the timeline for approval or denial.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated it intends to address this recommendation by addressing classification
      coding with FBI as described in recommendation 3 above, and by
      improvements to NSD’s case tracking system to ensure ready identification of
      FARA matters, to include dates of receipt, action, and approval of FARA
      matters. Case tracking improvements are anticipated to take place during
      2016 and 2017.

      This recommendation can be closed when we receive evidence of the
      classification code resolution with FBI, and of a case tracking system that
      includes information about approval for further criminal or civil action, and
      the timeline for approval or denial.

7.    Complete its effort to standardize a system for batching and sending
      registration delinquency notices at regular intervals, and develop
      policy and procedures that ensure appropriate follow up on them.


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      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated that in the past year it has standardized a system for batching and
      sending registration delinquency notices at regular intervals. NSD also noted
      that it is currently in the process of expanding the system, which is
      anticipated to be complete by September 30, 2017. Additionally, NSD stated
      that it is committed to developing policy and procedures that ensure
      appropriate follow-up. NSD stated that upon completion of the delinquency
      notice system, it will ensure FARA Unit staff adequately and efficiently track
      compliance and take appropriate measures to address delinquency.

      This recommendation can be closed when we receive evidence of the
      completion and implementation of the delinquency notice system, and policy
      and procedures to ensure appropriate follow-up.

8.    Develop a policy and tracking system that ensures that registration
      files are timely closed and that when agents cease meeting their
      supplemental filing obligations for an extended period of time an
      appropriate investigation is conducted.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated it intends to address this recommendation through the development of
      the delinquency notice system described in recommendation 7 above, which
      will help identify candidates for termination, and through the development of
      policy to ensure registration files are timely closed and appropriate actions
      are taken when obligations are not met for an extended period of time. NSD
      anticipates this policy will be developed by March 31, 2017.

      This recommendation can be closed when we receive evidence of the
      completion and implementation of the delinquency notice system, a policy is
      implemented to ensure registration files are timely closed, and appropriate
      actions are taken when obligations are not met for an extended period of
      time.

9.    Consider expanding the sources of information beyond those
      currently used by the FARA Unit to help identify potential or
      delinquent foreign agents, currently limited to open source internet
      and LexisNexis searches.

      Resolved. NSD agreed with our recommendation. In its response, NSD
      stated it has already engaged in outreach to other government agencies that
      might have such sources of information. NSD stated it will continue to
      pursue that outreach on an ongoing basis, and additionally will work to
      identify additional sources of information.

      This recommendation can be closed when we receive evidence of such
      outreach and identification.




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10.    Either take steps to improve the compliance rates for the filing of
       informational materials to achieve the purposes of the Act or, if the
       Unit considers the current 48-hour standard unreasonable, pursue
       appropriate modifications.

       Resolved. NSD agreed with our recommendation. In its response, NSD
       stated it has determined the 48-hour standard is out of date and
       unreasonable. NSD has drafted appropriate modifications to address the
       issue which are under review within the Department of Justice.

       This recommendation can be closed when we receive evidence of the
       modifications or steps taken to improve the compliance rates for the filing of
       informational materials.

11.    Ensure appropriate and timely follow-up and resolution of findings
       identified in its inspection reports.

       Resolved. NSD agreed with our recommendation. In its response, NSD
       stated that, in addition to its actions with respect to recommendations 7 and
       8 above, the FARA Unit will standardize its electronic calendaring of
       inspections and timelines for completion, anticipated to be complete by
       September 30, 2017.

       This recommendation can be closed when we receive evidence of appropriate
       and timely follow-up and resolution of findings identified in inspection
       reports.

12.    Perform a formal assessment of the LDA exemption, along with the
       other current FARA exemptions and determine whether a formal
       effort to seek legislative change on any of these exemptions is
       warranted.

       Resolved. NSD agreed with our recommendation. In its response, NSD
       stated that it has already embarked on a study of Lobbying Disclosure Act
       and other exemptions, that these efforts will continue, and that NSD will
       make determinations with respect to need and viability of legislative changes
       by June 30, 2017.

       This recommendation can be closed when we receive evidence of the
       completed LDA assessment and the results of any additional exemption
       assessments performed by NSD.

13.    Conduct a formal cost-benefit analysis to determine whether the
       current FARA fee structure is appropriate.

       Resolved. NSD agreed with our recommendation. In its response,
       NSD stated it will conduct a formal cost benefit analysis of the fee structure
       by September 30, 2017.


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       This recommendation can be closed when we receive evidence of that
       analysis and NSD’s resulting decision about the current fee structure.

14.    Include improvement of timeliness as an objective in the
       development of the e-file system, to include requiring execution
       dates for all contracts.

       Resolved. NSD agreed with our recommendation. In its response, NSD
       stated it has determined it is feasible to add a field to collect execution dates
       for all contracts; however, NSD’s response was silent on the overarching
       issue of incorporating timeliness as an objective in the development of the e-
       file system, beyond the specific contract date issue. We continue to believe
       that e-file presents opportunities to better manage and ultimately improve
       registrant timeliness, and recommend that e-file develop with timeliness as a
       consideration.

       This recommendation can be closed when we receive documentation
       demonstrating that NSD has included the improvement of timeliness as an
       objective in the development of the e-file system, including the requirement
       of execution dates for all contracts.




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                     Exhibit L
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                                     CONGRESSIONAL RECORD-HOUSE                                                                 8021
  The SPEAKER pro tempdre. The Clerk will report the                  the second amendment. Inasmuch as the second amendment has
                                                                      been omitted, these amendments are unnecessary and have been
next amendment in disagreoment.                                       omitted also.
  The Clerk read as follows:                                                                            HATrON W. SUMNERS,
                                                                                                        EMANUEL CELLER,
  Amendment No. 23: Page 11 line 12, strike out "as amended                                               U. S. GUYER,
by the Flood Control Act, apprc 7ed June 15, 1936 (49 Stat. 1508)"                                Managers on the part of the House.
and insert "as amended and su )plemented."
  Mr. SNYDER of Pennsy1h          nia. Mr. Speaker, I move to            Mr. CELLER. Mr. Speaker, this bill was introduced as a
recede and concur in the Si      nate amendment numbered 23           result of recommendations of the special committee that
with an amendment which           send to the desk and ask to         was appointed in the Seventy-third Congress to investigate
have read.                                                            un-American activities in the United States. A very careful
  The Clerk read as follows                                           study was made of the organizations in this country which
                                                                      organizations aimed arbitrarily to group certain American
  In lieu of the matter insert   d by the Senate in place of the
matter proposed by the House,    insert the following: "As at pres-   citizens and persons In the United States and to inculcate
ent or subsequently amended      nd supplemented."                    such principles and teachings in these persons as to influ-
                                                                      ence the internal and external political policies of our
  The SPEAKER pro tempo] -. The question is on agreeing
                                                                      country.
to the motion of the gentlen an from Pennsylvania.
                                                                         Incontrovertible evidence has been submitted to prove that
  The motion was agreed tc
                                                                      there are many persons in the United States representing
  The SPEAKER pro tempo e. Without objection, motions                 foreign governments or foreign political groups who are
to reconsider the several mol ,ons which have been agreed to          supplied by such foreign agencies with funds and other ma-
will be laid on the table.                                            terials to foster un-American activities and to influence the
- There was no objection.                                             external and internal policies of this country, thereby vio-
 REGISTRATION OF CERTAIN PERSONS DISSEMINATING         PROPAGANDA     lating both the letter and the spirit of International law,
                                                                      as well as the democratic basis of our own American institu-
  Mr. CELLER. Mr. Speaker, I call up the conference re-
                                                                      tions of government.
port on the bill (H. R. 1591) to require the registration of
certain persons employed by agencies to disseminate propa-                Evidence before the Special Committee on Un-American
                                                                      Activities disclosed that many of the payments for this
ganda in the United States, and for other purposes, and ask
unanimous consent that the statement be read In lieu of               propaganda service were made in cash by the consul of a
                                                                      foreign nation, clearly giving an unmistakable inference that
the report.
                                                                      the work done was of such a nature as not to stand careful
  The Clerk read the title of the bill.
                                                                      scrutiny.
  The SPEAKER pro tempore. Is there objection to the
                                                                          As a result of such evidence this bill was introduced, the
request of the gentleman from New York that the statement
                                                                      purpose of which is to require all persons who are in the
be read in lieu of the report.
                                                                      United States for political propaganda purposes--propa-
  There was no objection.
                                                                       ganda aimed toward establishing in the United States a for-
  The conference report and statement are as follows:
                                                                      eign system of government, or group action of a nature for-
                        CONFERENCE REPORT                              eign to our institutions of government, or for any other pur-
  The committee of conference on the disagreeing votes of the two      pose of a political propaganda nature-to register with the
Houses on the amendments of the Senate to the bill (H. R. 1591)       State Department and to supply information about their
to require the registration of certain persons employed by agencies    political propaganda activities, their employers, and the
to disseminate propaganda in the United States, and for other pur-    terms of their contracts.
poses, having met, after full and free conference, have agreed to
recommend and do recommend to their respective Houses as follows:         This required registration will publicize the nature of sub-
  That the Senate recede from its amendments numbered 2, 3, and 4.    versive or other similar activities of such foreign propagan-
  That the House recede from its disagreement to the amendment        dists, so that the American people may know those who are
of the Senate numbered 1 and agree to the same.
                                         HATTON W. SUMNERS,           engaged in this country by foreign agencies to spread doc-
                                        EMANUEL. CELLER,               trines alien to our democratic form of government or propa-
                                        U. S. GUYER,                  ganda for the purpose of influencing American public opinion
                             Managers on the part of the House.        on a political question.
                                        KEY PITTMAN,
                                        PAT MCCARRAN,
                                                                          Under the terms of the bill no foreign corporation engaged
                                        WM. E. BORAH,                  In honorable trade relations with this country will find it nec-
                             Managers on the part of the Senate.       essary to register, but whenever representatives are sent here
                                                                       to spread by word of mouth, or by the written word, the
                            STATEMENT
                                                                       ideology, the principle, and the practices of other forms of
   The managers on the part of the House at the conference on
the disagreeing votes of the two Houses on the bill (H. R. 1591) to   government and the things for which they stand, then reg-
require the registration of certain persons employed by agencies      istry must be made. All that Is required is to label the
to disseminate propaganda in the United States and for other pur-     sources of pernicious propaganda.
poses, submit the following statement in explanation of the
effect of the action agreed upon by the conferees and recommended        There is nothing in the bill to offend any nation, group, or
in the accompanying conference report.                                individual. The bill requires no registration of duly accred-
   There were four Senate amendments to the bill, two of which        ited diplomatic or consular officials of a foreign government
were clerical.                                                        who are so recognized by the Department of State of the
   The first amendment of the Senate reworded the definition of
"foreign principal." The amendment is made apparent by print-         United States. Likewise will the provisions of this measure
Ing the House provision in roman with matter stricken out by the      have no reference to nor include any person performing only
Senate amendment enclosed In black brackets, and new matter           private, nonpolitical, financial, mercantile, commercial, or
added by the Senate amendment in italics, as follows:                 other activity in furtherance of bona fide trade or commerce
   "(c) The term 'foreign principal' means the government of a
foreign country, a political party of a foreign country, a person     of a foreign principal.
 [not a resident of the United States, or any foreign business or        This bill does not in any way impair the right of freedom
political organization] domiciled abroad, or any foreign business,    of speech, or of a free press, or other constitutional rights.
partnership, association, corporation, or political organization."
   The House conferees agreed to this amendment.                      On the other hand, this measure does provide that an alien
   The second amendment of the Senate added a new section to          coming to or in the United States for propaganda purposes
the bill authorizing an appropriation of $75,000 for the enforce-     of a political nature, and American citizens who accept for-
ment of the act. The Senate receded and this amendment has been       eign political propaganda employment, shall register; and
omitted.
   The third and fourth amendments of the Senate were merely          this was found necessary, in a number of cases, through the
changes of section numbers made necessary by the adoption of          revelations of the Committee on Un-American Activities,
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8022                                  CONGRESSIONAL RECORD-HOUSE                                                         JUNE 2,
  We believe that the spotlight of pitiless publicity will serve       that the committee shall male a report. Has that always- JoU
as a deterrent to the spread of pernicious propaganda. We              been in these resolutions?
feel that our people are entitled to know the sources of any              Mr. O'CONNOR of New Y rk. I am quite sure it has.
such efforts, and the person or persons or agencies carrying           Whether they actually did rep( rt, I cannot say.
on such work in the United States.                                        Mr. SNELL. It gives them he right to report.
   Such propaganda is not prohibited under the proposed bill.             Mr. O'CONNOR of New Yoi k. The committee should re-
The purpose of this bill is to make .available to the American         port, of course. All committe s should report.
public the sources that promote and pay for the spreading of              Mr. SNELL. As I remember the average committee set up
such foreign propaganda. Our National Food and Drug                    for this purpose investigates      situation when complaint is
Act requires the proper labeling of various articles and safe-         made to them. I wonder, in light of some of the develop-
guards the American public in the field of health. This bill           ments that have taken place uring the past few months, if
seeks only to do the same thing in a different field, that of          this resolution should not be yen broader than it is at the
political propaganda. Propaganda efforts of such a nature              present time. As far as I kn        , the greatest influence that
are usually conducted in secrecy, which is essential to the            has been used to carry electic s and influence the voters is
success of these activities. The passage of this bill will force       propaganda and influence fro various departments here in
propaganda agents representing foreign agencies to come out            Washington, especially the          P. A. Why should not the
in the open in their activities, or to subject themselves to           resolution be broadened to inc de the right to look into and
the penalties provided in said bill.                                   investigate the activities of son e of the governmental depart-
   This bill does not amend or repeal existing law.                    ments in connection with the rimaries and also elections?
   Mr. Speaker, I shall be pleased to yield for questions if              Mr. O'CONNOR of New Y rk. Offhand, my opinion is
there are any.                                                         that the resolution is broad e ough to do that. Personally,
   Mr. Speaker, I move the previous question on the adop-              I think it is broad enough to do it. I sincerely hope com-
tion of the conference report.                                         plaints made to the committe along this line will be inves-
   The previous question was ordered.                                  tigated.
   The conference report was agreed to, and a motion to                   Mr. SNELL. It seems to mi that is of special importance
reconsider was laid on the table.                             _        in the light of the development that have taken place in the
                     CAMPAIGN    EXPENDITURES                          last 2 months here in Washington.
                                                                          Mr. O'CONNOR of New York          I agree with the gentleman.
   Mr. O'CONNOR of New krork. Mr. Speaker, I call up
                                                                          Mr. SNELL. I am glad the Igentleman himself thinks the
House Resolution 291.
                                                                       resolution is broad enough to iiclude any of those cases that
   The Clerk read as follows
                                                                       are especially called to the attention of the committee.
  Resolved, That a special co mittee of seven be appointed by             Mr. BOILEAU. Mr. Speake*, will the gentleman yield?
the Speaker of the House of epresentatives to investigate and                                                            I I
report to the House not later t an January 3, 1939, the campaign          Mr. O'CONNOR of New York. I yield.
expenditures of the various ca didates for the House of Repre-            Mr. BOILEAU. The language of the resolution on page 1,
sentatives in both parties, or candidates of parties other than        line 5, reads:
or independent of the Demo atic or Republican Parties, the
names of persons, firms, associ tions, or corporations subscribing.       The campaign expenditures of 'the various candidates for the
the amount contributed, the methods of collection and expendi-         House of Representatives in both parties.
tures of such sums, and all fac s in relation thereto, not only as
to subscriptions of money and xpenditures thereof but as to the           I suppose "both parties" means the Farmer-Labor Party
use of any other means or i uences, including the promise or           and the Progressive Party. Then follows language stating:
use of patronage, and all oth;r facts in relation thereto that            Or candidates of parties othet than or independent of the
would not only be of public in   erest but would aid the Congress
In necessary legislation or in dpciding any contests which might       Democratic or Republican Partiesi
be instituted involving the right to a seat in the House of               If the interpretation is placd on it that I think properly
Representatives.               |                                       should be placed upon the phrase "both parties" that would
  The investigation hereby pro ided for in all. the respects above
enumerated shall apply to ca didates and contests before pri-          exclude investigation of the Republican and Democratic
maries, conventions, and the ccntests and campaigns of the gen-        Parties. Personally I believe there is a little more need to
eral election in 1938, or any special election held prior to Jan-      investigate these parties and more justification for investi-
uary 3, 1939. Said committee is hereby authorized to act upon its
own initiative and upon such i4formation which in its judgment         gation of these parties than any of the other parties. It
may be reasonable and rellable.1 Upon complaint being made be-         seems to me the gentleman hits gone a long way in using
fore such committee, under oa h. by any person, persons, candi-        unnecessary language in this ;particular clause, because if
dates, or political committee setting forth allegations as to facts    the thought was to investigate ,candidates of all parties why
which, under this resolution, iU would be the duty of said com-
mittee to investigate, said committee shall investigate such charges   does not the resolution read "pf the various candidates for
as fully as though it were actng upon its own motion, unless,          the House of Representatives"?
after hearings on such complal ts, the committee shall find that          Mr. O'CONNOR of New Yo k. I am not the author of
such allegations in said complaints are immaterial or untrue.
  That special committee or ny subcommittee thereof is au-             this resolution.
thorized to sit and act during the adjournment of the Congress,           Mr. BOILEAU. But it has been reported out by the gen-
and that said committee or any subcommittee thereof is hereby          tleman's committee. q am not finding fault with the chair-
empowered to sit and act at sudh time and place as it may deem
necessary; to require by subpela or otherwise the attendance of        man of the Committee on Ru             I am just pointing out a
witnesses, the production of bboks, papers, and documents; to          custom that I think Is preval          here in the House to an
employ stenographers at a cos; of not exceeding 25 cents per           unnecessary and undue degr e of talking about "both
hundred words. The chairman Df the committee or any member             parties." It Is ridiculous. Th e are a lot of people out In
thereof may administer oaths .o witnesses. Subpenas for wit-
nesses shall be issued under the signature of the chairman of the      the Middle West to whom "bot parties" means only Farmer
committee or subcommittee th4reof. Every person who, having            Labor Party and Progressive Party.
been summoned as a witness by authority of said committee or
any subcommittee thereof, wfllflly makes default, or who, hav-            Does not the gentleman think the resolution ought to be
ing appeared, refuses to answef any question pertinent' to the         amended to read "to investigat, and so forth, the campaign
Investigation heretofore authoriled, shall be held to the penalties    expenditures of the various can idates of the House of Rep-
as prescribed by law.                                                  resentatives"?
  Mr. O'CONNOR of New Y ork. Mr. Speaker, this is the                     Mr. O'CONNOR of New Yorl :. It says "both parties or."
usual resolution introduced t( ,ward the end of each session,          I did not think the Farmer-Lab( r Party ever used any money
by whichever party is in the i najority, to appoint a commit-          to elect its representatives.
tee of the House to watch ovi r elections for Representatives             Mr. BOILEAU. I want to b: 'ing out the interpretation I
in Congress. It is in the usui 1 form.                                 place upon it. The only one. who would be investigated
  Mr. SNELL. Mr. Speaker, will the gentleman yield?                    would be the Farmer-Laborites and the Progressives. It is
  Mr. O'CONNOR of New Yo rk. I yield.                                  stated "or candidates of parties Dther than or independent of
  Mr. SNELL. As I glance t arough the resolution It seems              the Democratic or Republican Parties." That clause ex-
to be in the usual form, but *notice It contains a provision           cludes the Republicans and De nocrats.
       Case 1:18-cr-00032-DLF Document 181-13 Filed 08/19/19 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       CRIMINAL NUMBER:
       Plaintiff,
                                                       1:18-cr-00032-DLF
v.

INTERNET RESEARCH AGENCY LLC, et
al.,

       Defendants.



                                   PROPOSED ORDER

       Upon consideration of Defendant Concord Management and Consulting, LLC’s Motion

for a Supplemental Bill of Particulars, it is hereby ORDERED that the motion is GRANTED.

       IT IS FURTHER ORDERED that the government shall provide a supplemental Bill of

Particulars identifying which Defendant(s) were required to file under FECA and register under

FARA and on behalf of whom.

       SO ORDERED.



Dated: ______________________                   ____________________________________
                                                Dabney L. Friedrich
                                                United States District Judge
